Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 1 of 275 PagelD: 2415

Michael J. Canning, Esq. (MJC3060)

GIORDANO, HALLERAN & CIESLA, P.C.

125 Half Mile Road, Suite 300

Red Bank, N.J. 07701-6777

(732) 741-3900

Attorneys for Defendant, Cohen, Weiss and Simon LLP

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY, ! Case No. 2:20-cv-12880-JMV-JSA

Plaintiff,

y Civil Action

CHRISTIAN EXOO a/k/a ANTIFASH SUPPLEMENTAL CERTIFICATION OF

GORDON; ST. LAWRENCE UNIVERSITY: MICHAEL CANNING, ESQ.
NEW YORK DAILY NEWS; VIJAY
GADDE; TWITTER, INC.; COHEN, WEISS | rotion Date:

AND SIMON LLP,

TRIBUNE PUBLISHING COMPANY;
Defendants.

 

MICHAEL J. CANNING, ESQ., by way of certification in lieu of affidavit, hereby states
as follows:

1, I am an attorney at law of the State of New Jersey and an officer and shareholder
in the law firm of Giordano, Halleran & Ciesla, P.C. (““GH&C”), attorneys for Cohen, Weiss and
Simon LLP (“CWS”). I make this supplemental certification in further support of CWS’ motion
for sanctions against Plaintiffs counsel pursuant to Fed.R.Civ. P. 11.

2. On November 17, 2020 our office served Patrick Trainor, Esq., counsel for Plaintiff
Daniel D’Ambly with a Notice of Motion by CWS for sanctions under Rule 11, Certification of

Michael J. Canning, Esq. dated November 17, 2020 (the “Original Canning Cert.”), a brief in
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 2 of 275 PagelD: 2416

support of the Motion for Rule 11 sanctions and a proposed Order. A copy of the November 17,
2020 letter to Mr. Trainor with attachments is attached hereto as Exhibit “A”.

3. Prior to serving Mr. Trainor with the Rule 11 motion on November 17, 2020, our
office had previously served Mr. Trainor with a letter dated September 30, 2020 providing notice
that there was no legal basis for the legal malpractice action pleaded against CWS in Count XIII -
of the Complaint and that the Complaint was filed in violation of Rule 11 (the “Notice Letter’).
Demand was made upon Mr. Trainor to dismiss the Complaint with prejudice as to CWS. Mr.
Trainor was advised that the failure to do so would result in CWS being compelled to file a Motion
to Dismiss the Complaint in which event it would seek sanctions under Rule 11. See Exhibit “C”
to the Original Canning Certification.

4. In the Notice Letter, Mr. Trainor was advised that the decision by the Third Circuit
Court of Appeals in Carino v. Stefan, 76 F.3d 156 (2004) was directly on point and was dispositive
of Plaintiff's claim for legal malpractice. Plaintiffs counsel was advised that in Carino the Third
Circuit unequivocally ruled that Section 301(b) of the Labor Management Relations Act
(“ZMRA”), as broadly interpreted by the United States Supreme Court in Atkinson _v. Sinclair
Refinancing Co., 370 U.S. 238, 82 S.Ct. 1318, 8 L.Ed. 2d 462 (1962) immunizes attorneys hired
by unions to perform services related to a collective bargaining agreement from suit for legal
malpractice. Plaintiff's claim for legal malpractice is predicated upon CWS’ representation of the
Teamsters Union in a grievance filed against his employer. Under the binding precedent of Carino,
and the other cases cited in the Notice Letter, CWS was immune from liability for the legal
malpractice claim asserted in the Complaint.

5. In response to the Notice Letter, Mr. Trainor did not dismiss the Complaint with

prejudice. Instead, he sent a letter to me dated October 1, 2020 advising that the Complaint would
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 3 of 275 PagelD: 2417

not be withdrawn. A copy of the October 1, 2020 letter is attached as Exhibit “D” to the original
Canning Certification. In the October 1, 2020 letter Mr. Trainor stated, “In general, I agree with
your argument that an attorney-client relationship is not formed between a union attorney, such as
CWS, and a union member grievant, such as plaintiff, and, therefore, the union attorney is immune
from suit in cases such as these.” See page 1 of the October 1, 2020 letter attached as Exhibit “D”
to the Original Canning Certification. Despite acknowledging the controlling precedent of Carino
and the other cases cited by CWS in their Notice Letter, Plaintiff nonetheless refused to withdraw
the Complaint.

6. Accordingly, on November 17, 2020 Mr. Trainor was served with the Rule 11
Motion for Sanctions by CWS. See Exhibit “A”. The pleadings were served upon Mr. Trainor
in accordance with the 21-day safe harbor period under Fed.R.Civ. P. 11(c)(4). CWS agreed to
carry its pending Motion to Dismiss the Complaint, which was scheduled for December 7, 2020,
until the next motion date of December 21, 2020 in order to give Plaintiff the full 21-day safe
harbor period in which to dismiss the Complaint with prejudice before the Court ruled on the
Motion to Dismiss.

7. In response to the service of the Rule 11 Motion, Plaintiff did not withdraw the
Complaint. Rather, Plaintiff sought to amend the Complaint.

8. Upon receipt of Plaintiffs Motion to Amend the Complaint, on January 15, 2021 I
wrote a letter to Judge Vazquez requesting that the pending Motion to Dismiss by CWS remain on
the Court’s docket since the Motion to Amend the Complaint did not relate to CWS as it asserted
no new causes of action and no new facts against CWS. A copy of the January 15, 2021 letter is
attached hereto as Exhibit “B”. Judge Vazquez denied the request and the pending Motion to

Dismiss was administratively terminated. See Judge Vazquez Order attached as Exhibit “C”.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 4 of 275 PagelD: 2418

9. On March 25, 2021, the Honorable Jessica S. Allen, U.S.M.J., entered an Order
allowing Plaintiff to file the First Amended Complaint in the form submitted with the Motion. A
copy of Judge Allen’s Order is attached hereto as Exhibit “D”. A copy of the First Amended
Complaint is attached hereto as Exhibit “E”’.

10. As set forth in the January 15, 2021 letter to Judge Vazquez, the Amended
Complaint contains no new causes of action against CWS and states no new facts relating to the
claim against CWS. The single claim against CWS in the First Amended Complaint remained the
single identical claim for legal malpractice set forth in Count XIII of the original Complaint.

11. After the issuance of Judge Allen’s Order, Mr. Trainor served our office with a
copy of the Amended Complaint. Upon receipt of the Amended Complaint, I sent an email to Mr.
Trainor on April 6, 2021. A copy of the email is attached hereto as Exhibit “F”.

12. In the email Mr. Trainor was notified that since the allegations in the Amended
Complaint remained identical as to CWS, the Amended Complaint was filed in violation of Rule
11 for the same reasons the original Complaint was, as set forth in the Notice Letter and in the
Motion for Rule 11 Sanctions delivered to Mr. Trainor on November 17, 2020. Mr. Trainor was
advised that CWS adopted and incorporated as if set forth at length therein, the September 11,
2020 Notice Letter and Motion for Rule 11 Sanctions served on November 17, 2020. Id.

13. | Mr. Trainor was further provided notice that the letter was sent to him as a demand
under Rule 11 that the Amended Complaint be dismissed within the 21-day safe harbor provision
of Rule 11 and that the failure to do so would result in the refiling of the Motion to Dismiss and
the filing of the Motion for Rule 11 Sanctions which had previously been served upon him.

14.‘ Plaintiff did not withdraw the Amended Complaint in response to the demand set

forth in the April 6, 2021 email.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 5 of 275 PagelD: 2419

15. Accordingly, on April 22, 2021 CWS filed a Notice of Motion to Dismiss the
Amended Complaint with the supporting Certification and Memorandum of Law. A copy of the
Motion, Certification and Memorandum of Law are attached hereto as Exhibit “G”.

16. The gravamen of the Motion to Dismiss was, as set forth in the Notice Letter and
the Motion for Rule 11 Sanctions previously served on Plaintiff's counsel, that under controlling
legal precedent, including binding precedent from the Third Circuit Court of Appeals in Carino,
there was no attorney-client relationship between Plaintiff and CWS as CWS represented the union
in the grievance and arbitration, which was fatal to Plaintiff’s legal malpractice claim.

17. On November 1, 2021, the Honorable John Michael Vazquez, U.S.D.J. entered an
Order and accompanying Opinion granting CWS’ Motion to Dismiss the Complaint. A copy of
the Order and Opinion are attached hereto as Exhibit “H”.

18. In the Opinion Judge Vazquez found that Carino “‘is directly on point.” See page 6

of Opinion at Exhibit “H”. Judge Vazquez further found:

Plaintiffs allegations fit squarely into the parameters discussed in
Carino. Namely, plaintiff seeks to hold defendant liable because of
the actions (or inactions) of two attorneys in representing the
grievance related to plaintiff's termination. Because the union
retained defendant to represent plaintiff as to the grievance, Section
301(b) bars plaintiff from asserting. malpractice claims against
defendant.

[See page 7 of Opinion at Exhibit “H”’.]

19. The reasons for the dismissal of the Amended Complaint, that Carino is directly on

 

point and Section 301(b) of the LMRA immunized CWS from any legal malpractice claim since
it was representing the union in the grievance process, were the identical reasons upon which CWS
based its demand that Plaintiff dismiss the Complaint and Amended Complaint as set forth in the

Notice Letter, April 6, 2021 email and Rule 11 Motion previously served on Plaintiffs counsel.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 6 of 275 PagelD: 2420

20. In an article which appeared in the New Jersey Law Journal on November 2, 2021
with regard to the dismissal of Plaintiff's Amended Complaint, Plaintiff's counsel was quoted as
saying, “We were expecting this.” A copy of the Law Journal article is attached as Exhibit “I”.

21. In his Order and Opinion, Judge Vazquez ruled that the Order of Dismissal was
without prejudice. In his Opinion Judge Vazquez found:

Although it appears that any amendment would be futile in light of the

Section 301(b) bar, the court recognizes that D’ Ambly raised potential new

allegations in his opposition brief. As a result, the court will provide

plaintiff with leave to file an amended pleading that remedies the identified

deficiencies. Plaintiff's amended pleading must be filed within thirty (30)

days of the date of this Opinion and the accompanying Order. If plaintiffs

fail to file an appropriate amended pleading within this time, the claim

against Cohen, Weiss and Simon LLP and Cohen, Weiss and Simon LLP
as a defendant will be dismissed with prejudice.”

[See page 10 of Opinion. |

The accompanying Order likewise provided Plaintiffs with leave to file an amended pleading that
remedies the identified deficiencies within 30 days and that the failure to do so will result in the
claim against CWS being dismissed with prejudice.

22. On November 30, 2021, Plaintiff's counsel filed a Second Amended Complaint, a
copy of which is attached hereto as Exhibit “J”.

23. The sole cause of action in the Second Amended Complaint against CWS is set
forth in Count VI. The claim of legal malpractice set forth in Count VI of the Second Amended
Complaint is identical to the claim of legal malpractice set forth in Count XIII of the original
Complaint and First Amended Complaint.

24. Although Plaintiff was granted leave of court to remedy the deficiencies identified
by the Court in its Order and Opinion, Plaintiff did not elect to do so. Instead, he filed the identical

claim of legal malpractice which the Court has already ruled fails as a matter of law.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 7 of 275 PagelD: 2421

25. CWS respectfully requests that the Court enter an Order under Rule 11 issuing
sanctions against Plaintiff's counsel and awarding it the reasonable attorney’s fees incurred in
seeking to dismiss the original and First Amended Complaints. CWS relies upon the Motion for
Rule 11 Sanctions which was served upon Plaintiff's counsel on November 17, 2020 and which is
filed herewith, and which was incorporated into its demand for dismissal as to the Amended
Complaint as set forth in its April 6, 2021 email to Plaintiff’s counsel. CWS further relies upon
the additional facts set forth in this Supplemental Certification which supplements the record from
the time of the service of the Rule 11 Motion upon Plaintiff's counsel on November 17, 2020 as
to the original Complaint and on April 6, 2021 as to the Amended Complaint.

26. On December 3, 2021, I sent another letter to Mr. Trainor demanding that the
Second Amended Complaint be dismissed with prejudice as it does not cure any of the identified
deficiencies set forth in the Court’s Opinion and Order and simply restates the identical claim that
the Court has ruled fails as a matter of law. If the Second Amended Complaint is not dismissed
with prejudice, then CWS will be compelled to file another Motion to Dismiss the Second
Amended Complaint for which it will separately seek Rule 11 sanctions relating to the Second

Amended Complaint.

I certify that the foregoing statements made by me are true. I am aware that if any of the
foregoing statements are willfully false, I am subject to punishment.

VA

sacHaEt J, Fr ING : ESQ.

/y

a

DATED: December 3, 2021

Docs #5426356-v1
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 8 of 275 PagelD: 2422

EXHIBIT “A”
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 9 of 275 PagelD: 2423

GIORDANO, HALLERAN & CIESLA, P.C.

A PROFESSIONAL CORPORATION

ATTORNEYS AT LAW
WWW.GHCLAW.COM

MICHAEL J. CANNING, ES MITE nap

. » ESQ. 125 HALF MILE ROAD
SHAREHOLDER SUITE 300
CERTIFIED CIVIL TRIAL ATTORNEY RED BANK. NJ 07701
MCANNING@GHCLA W.COM 732) 741-3900
DIRECT DIAL: (732) 219-5482 On oon

FAX: (732) 224-6599

November 17, 2020

Client/Matter No. 22826/1

Via email pt@ptesq.com, Fedex and Regular Mail
Patrick Trainor, Esq.

Law Office of Patrick Trainor, Esq., LLC
848 Paterson Avenue
East Rutherford, New Jersey 07073

Re: Daniel D’Ambly v. Christian Exoo a/k/a Antifash Gordon, ef als.
Civil Action No. 2:20-cv-12880-JMV-JAD

Dear Mr. Trainor:

This office represents Cohen, Weiss and Simon LLP (“CWS”). Enclosed for service
upon you and Plaintiff is the notice of motion by CWS for sanctions under Rule 11, Certification
of Michael J. Canning, Esq., brief in support of the motion and proposed Order. These pleadings
are served upon you and Plaintiff in accordance with the 21-day safe harbor period under
Fed.R.Civ.P. 11 (c)(4). The pleadings will not be filed with the Court until after the expiration of
the 21-day safe harbor period.

As the pending motion to dismiss the Complaint is scheduled for December 7, 2020, we
shall request that the Court carry the motion to dismiss until the next motion date of December
21, 2020 so that you and Plaintiff will have the full 21-day safe harbor period in which to dismiss
the Complaint with prejudice before the Court rules on the motion to dismiss.

Very truly yours,

Weel | Carnes

MIJC/cmt MICHAEL J. CANNING
Enclosures

 

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 10 of 275 PagelD: 2424

EXHIBIT “B”
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 11 of 275 PagelD: 2425
Case 2:20-cv-12880-JMV-JAD Document 53 Filed 01/15/21 Page 1 of 2 PagelD: 856

GIORDANO, HALLERAN & CIESLA, P.C.

A PROFESSIONAL CORPORATION

ATTORNEYS AT LAW
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MICHAEL J. CANNING, ESQ Please Reply To:

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MCANNING@GHCLAW.COM RED BANK, NI 07701

DIRECT DIAL: (732) 219-5482 (732) 741-3900

FAX: (732) 224-6599

January 15, 2021

Client/Matter No. 22826/1

Via eCourts

Honorable John Michael Vazquez

United States District Court

District of New Jersey

Frank R. Lautenberg U.S.P.O and Courthouse
2 Federal Square, Room 417

Newark, New Jersey 07102

Re: Daniel D’Ambly v. Christian Exoo a/k/a Antifash Gordon, et als.
Civil Action No. 2:20-cv-12880-JMV-JAD

Dear Judge Vazquez:

This office represents Defendant, Cohen, Weiss and Simon LLP (“CWS”). We have
received the Court’s Text Order administratively terminating the pending motions to dismiss due
to the filing of the motion to amend the Complaint filed by Plaintiff. Plaintiffs motion to amend
the Complaint does not relate to CWS and the proposed Amended Complaint asserts no new causes
of action against CWS and adds no new facts relating to the claim against CWS. The proposed
additional Plaintiffs do not assert any causes of action against CWS. The sole cause of action in
the proposed Amended Complaint against CWS remains Count XIII, which is unchanged from the

original Complaint.

The proposed Amended Complaint does not in any way impact the legal and factual

arguments which have already been fully briefed and submitted to the Court. We respectfully

 

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 12 of 275 PagelD: 2426
Case 2:20-cv-12880-JMV-JAD Document 53 Filed 01/15/21 Page 2 of 2 PagelD: 857

GIORDANO, HALLERAN & CIESLA

A Professional Corporation
ATTORNEYS-AT-LAW

Honorable John Michael Vazquez
January 15, 2021
Page 2

request that the motion to dismiss filed by CWS remain on the Court’s docket for decision. We

thank Your Honor for your consideration of this request.

Respectfully yours,

Yilealy - Comers

MJC/cmt MICHAEL J. CANNING
cc: Patrick Trainor, Esq. (via eCourts)
Lauren James- Weir, Esq. (via eCourts)

Richard Scharlat, Esq. (via eCourts)
Christopher Marlborough, Esq. (via eCourts)

Docs #4850195-v1

 

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 13 of 275 PagelD: 2427

EXHIBIT “C”
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 14 of 275 PagelD: 2428
Case 2:20-cv-12880-JMV-JAD Document 54 Filed 01/19/21 Page 1 of 2 PagelD: 858

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FAX: (732) 224-6599

January 15, 2021

Client/Matter No. 22826/1

Via eCourts

Honorable John Michael Vazquez

United States District Court

District of New Jersey

Frank R. Lautenberg U.S.P.O and Courthouse
2 Federal Square, Room 417

Newark, New Jersey 07102

Re: Daniel D’Ambly vy, Christian Exoo a/k/a Antifash Gordon, ef als.
Civil Action No. 2:20-cv-12880-JMV-JAD

Dear Judge Vazquez:

This office represents Defendant, Cohen, Weiss and Simon LLP (“CWS”). We have
received the Court’s Text Order administratively terminating the pending motions to dismiss due
to the filing of the motion to amend the Complaint filed by Plaintiff. Plaintiff's motion to amend
the Complaint does not relate to CWS and the proposed Amended Complaint asserts no new causes
of action against CWS and adds no new facts relating to the claim against CWS. The proposed
additional Plaintiffs do not assert any causes of action against CWS. The sole cause of action in
the proposed Amended Complaint against CWS remains Count XIII, which is unchanged from the

original Complaint.

The proposed Amended Complaint does not in any way impact the legal and factual

arguments which have already been fully briefed and submitted to the Court. We respectfully

 

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 15 of 275 PagelD: 2429
Case 2:20-cv-12880-JMV-JAD Document 54 Filed 01/19/21 Page 2 of 2 PagelD: 859

GIORDANO, HALLERAN & CIESLA

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ATTORNEYS-AT-LAW

Honorable John Michael Vazquez
January 15, 2021
Page 2

request that the motion to dismiss filed by CWS remain on the Court’s docket for decision. We

thank Your Honor for your consideration of this request.

Respectfully yours,

Yeleab - Covnr’s

MJC/cmt MICHAEL J. CANNING

ce: Patrick Trainor, Esq. (via eCourts)
Lauren James-Weir, Esq. (via eCourts)
Richard Scharlat, Esq. (via eCourts)
Christopher Marlborough, Esq. (via eCourts)

Docs #4850195-v1

Request DENIED.

SO ORDERED.

s/ John Michael Vazquez
John Michael Vazquez, U.S.D.J.

Date: 1/19/2021

 

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 16 of 275 PagelD: 2430

EXHIBIT “D”
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 17 of 275 PagelD: 2431
Case 2:20-cv-12880-JMV-JSA Document 65 Filed 03/25/21 Page 1 of 2 PagelD: 919

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Attorney for Plaintiffs

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY; AARON WOLKIND;
STEVEN HARTLEY; RICHARD

SCHWETZ; JOBEL BARBOSA; CIVIL ACTION NO.: 2:20-cv-12880-JMV-JSA
MATTHEW REIDINGER; JOHN HUGO;

SEAN-MICHAEL DAVID SCOTT; (Filed Electronically)

THOMAS LOUDEN; ZACHARY REHL;

AMANDA REHL; K.R., a minor, by and ORDER GRANTING PLAINTIFF LEAVE

through her father ZACHARY REHL and her | TO FILE FIRST AMENDED COMPLAINT
mother AMANDA REHL, MARK
ANTHONY TUCCI,

Plaintiffs,
VS.

CHRISTIAN EXO0 a/k/a @ANTIFASH
GORDON; ST. LAWRENCE UNIVERSITY;
TRIBUNE PUBLISHING COMPANY, LLC;
NEW YORK DAILY NEWS; VIJAYA
GADDE; TWITTER, INC; COHEN, WEISS
AND SIMON, LLP; UNNAMED
ASSOCIATES 1 — 100,

Defendants.

 

 

 

THIS MATTER having been opened to the Court by the Law Office of Patrick Trainor,

attorney for Plaintiff(s), seeking leave to file an amended complaint pursuant to Fed. R. Civ. P.
15(a); and the Court having considered the moving papers; and no opposition having been filed;

and for good cause shown,
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 18 of 275 PagelD: 2432
Case 2:20-cv-12880-JMV-JSA Document 65 Filed 03/25/21 Page 2 of 2 PagelD: 920

IT IS, on this 25th day of March, 2021, ORDERED as follows:
1. Plaintiffs motion to file a First Amended Complaint (ECF 47) is GRANTED.
2. Plaintiff shall file the First Amended Complaint consistent with the red-lined
version of the proposed First Amended Complaint filed by Plaintiff on the Court
docket on January 13, 2021 (ECF 49-1), pursuant to Local Civil Rule 15.1(a)(2).

3. Plaintiff shall file the First Amended Complaint with this Court within three (3)
days from the date hereof.

s/Jessica §. Allen
Honorable Jessica S. Allen, U.S.M.J.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 19 of 275 PagelD: 2433

EXHIBIT “E”
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 20 of 275 PagelD: 2434
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 1 of 46 PagelD: 921

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Attorney for Plaintiffs

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY; AARON WOLKIND;
STEVE HARTLEY; RICHARD SCHWETZ;
JOBEL BARBOSA; MATTHEW CIVIL ACTION NO.: 2:20-cv-12880-JMV-JSA
REIDINGER; JOHN HUGO; SEAN-

MICHAEL DAVID SCOTT; THOMAS
LOUDEN; ZACHARY REHL; AMANDA FIRST AMENDED COMPLAINT TO ADD

REHL; K.R., a minor, by and through her PLAINTIFFS INJURED BEFORE
father ZACHARY REHL and her mother COMPLAINT WAS FILED ON
AMANDA REHL, MARK ANTHONY SEPTEMBER 21, 2020, AND
TUCCI, SUPPLMENTED COMPLAINT TO ADD
PLAINTIFF INJURED AFTER THE
Plaintiffs, COMPLAINT WAS FILED
vs. JURY TRIAL DEMAND

CHRISTIAN EXO0 a/k/a ANTIFASH
GORDON; ST. LAWRENCE UNIVERSITY;
TRIBUNE PUBLISHING COMPANY, LLC;
NEW YORK DAILY NEWS; VIJAYA
GADDE; TWITTER, INC; COHEN, WEISS
AND SIMON, LLP; UNNAMED
ASSOCIATES 1 — 100,

 

Defendants.

 

Plaintiffs, Daniel DDAmbly, Aaron Wolkind; Steven Hartley; Richard Schwetz; Jobel
Barbosa; Matthew Reidinger; John Hugo; Sean-Michael David Scott; Dean David Van Zandt,
Jr.; Thomas Louden; Steven Rosati; Zachary Reh]; Amanda Rehl; K.R. a minor, by and through
her father Zachary Rehl and her mother Amanda Rehl (hereinafter collectively referred to as

“Plaintiffs”) by and through their attorney the Law Office of Patrick Trainor, as and for their
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 21 of 275 PagelD: 2435
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 2 of 46 PagelD: 922

Complaint against defendants Christian Exoo a/k/a @AntifashGordon, St. Lawrence University,
Tribune Publishing Company, LLC, New York Daily News, Vijaya Gadde, Twitter, Inc., and
Cohen, Weiss, and Simon, LLP, hereby alleges as follows:
STATEMENT OF THE CASE

This action arises out of the repugnant conduct of defendant Christian Exoo (Hereinafter
“Exoo”), an extortionist, known habitual doxer, and member of Antifa, who associates with
others to conduct patterns of racketeering activities. Exoo under the Twitter username
“@AntiFashGordon” directs his associates in the “Exoo Enterprise” to conduct violent and
extortionate patterns of racketeering activities devoted to “doxing” complete strangers that the
Exoo Enterprise has labeled “fascists” and/or “white supremacists.” To “dox” someone means to
publicly disclose a person’s identity, employer, school, home address, etc., for the purpose of
causing harm to that person. Once the target has been doxed, Exoo directs enterprise associates
to commence a pattern of violent and threatening emails, Tweets, and phone calls to the target’s
employers, professional clients, schools, prospective employers, or schools to extort the target’s
termination from employment, expulsion from school, and compel the targets exit from society.

To execute their plan, enterprise associates engage in a practice referred to as
“dogpiling,” which is to conduct an all-out attack on both their target’s employer and co-workers
by flooding them with emails and phone calls and plastering negative messages and comments
throughout their entire online footprint, including Google reviews, Facebook posts, LinkedIn
posts, Twitter, etc., to label the employer a fascist, white supremacist company and the target’s
co-workers as the same. Associates conspire to ruin the target’s employer’s existing business
relationships and/or shame prospective clients from conducting business with them until their

target is terminated.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 22 of 275 PagelD: 2436
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 3 of 46 PagelD: 923

Exoo is aware of the potential illegality of his directives, because he instructs his
associates to use telephone *67 feature to block their phone numbers when making threatening
calls.

On varied dates and times beginning in 2017, Exoo identified Plaintiffs as fascists and
white supremacists. Thereafter, Exoo directed enterprise associates to stalk Plaintiffs in order to
learn their true identity. Upon discovering Plaintiffs identity, Exoo directed associates to deluge
Plaintiffs’ employers with violent Tweets, phone calls, emails that threatened personal and
physical harm to the employer’s property and co-workers, in order to extort Plaintiffs’
terminations. Exoo unmistakably directs the enterprise’s patterns of racketeering activities
through interstate communications.

One-person hellbent on destroying the lives of other persons, conspires with, participates
in, and directs an enterprise that engages in patterns of racketeering activities every day by using
interstate communications to threaten physical violence to extort and cause harm to their target.
The enterprise’s associates and co-conspirators include, a major religious university, top lawyer
of a publicly traded corporation and the publicly traded corporation. Enterprise associates are
motivated by a shared disdain of people labeled fascists and white supremacists.

THE PARTIES

1. Daniel D’Ambly (Hereinafter “D’ Ambly”), is a twenty-seven (27) year member
of Local One-L, Graphic Communications Conference of the International Brotherhood of
Teamsters, who was employed as a was a plate maker for the New York Daily News in Jersey
City, New Jersey until January 18, 2019. D’Ambly was doxed by Exoo on October 29, 2018. In
the dox D’Ambly was labeled a ‘fascist’ and/or a ‘white supremacist.’ D’Ambly is a member of

the New Jersey European Heritage Association (“EHA”), a non-violent, pro-domestic policy
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 23 of 275 PagelD: 2437
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 4 of 46 PagelD: 924

organization that the Exoo Enterprise labeled a white supremacist hate group. D’Ambly, who
the Exoo Enterprise identifies as the leader of EHA, actively participates with other EHA
members in political rallies, peaceful political protests, pamphleteering, and speech that is
protected by U.S. Const. amend. I and N.J. Const. art. I, § 6. D’Ambly is an individual
domiciled in the State of New Jersey and a “person” as defined under 18 U.S.C. § 1961(3).

2. Zachary Rehl (“Rehl”’) was employed by New York Life Insurance Company in
Philadelphia when he was doxed by Exoo in or about August 2017, and labeled a fascist and
white supremacist. Rehl is an individual domiciled in the Commonwealth of Pennsylvania and a
“person” as defined under 18 U.S.C. § 1961(3).

3. Amanda Rehl (“AmRehl”) is the spouse of Zachary Rehl. AmRehl is an
individual domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18
USS.C. § 1961(3).

4, K.R. (“K.R.”), is the minor child of Zachary Rehl and Amanda Rehl. K.R. is an
individual domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18
U.S.C. § 1961(3).

5. Aaron Wolkind (“Wolkind”) was a Technical Support Specialist for Aerzen USA
Corporation (“Aerzen”) when he was doxed by Exoo on or about June 2019, and labeled a
fascist, white supremacist, and a neo-Nazi. Wolkind is an individual domiciled in the State of
Delaware and a “person” as defined under 18 U.S.C. § 1961(3).

6. Steven Hartley (“Hartley”), is a logistics manager for American Expediting
located in Folcroft, Pa. On November 29, 2018, he was doxed by Exoo and labeled a Nazi, racist

and white supremacist who was a threat to women and minorities. Hartley is an individual
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 24 of 275 PagelD: 2438
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 5 of 46 PagelD: 925

domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18 U.S.C. §
1961(3).

7. Mark Anthony Tucci (“Tucci”) was employed at Aldo’s Pizzarama in
Philadelphia when he was doxed by Exoo on December 10, 2018, and labeled a fascist, racist,
and white supremacist. Tucci is an individual domiciled in the Commonwealth of Pennsylvania
and a “person” as defined under 18 U.S.C. § 1961(3).

8. Richard Schwetz (“Schwetz”) was employed at Inova Payroll in Lancaster, Pa.,
when he was doxed by Exoo in or about June 2020, and labeled a fascist, racist, and white
supremacist. Schwetz is an individual domiciled in the Commonwealth of Pennsylvania and a
“person” as defined under 18 U.S.C. § 1961(3).

9. Jobel Barbosa (““Barbosa’’) is Puerto Rican and a permanently disabled veteran,
who was employed as a Detail Department Manager at Jaguar Land Rover Willow Grove, in
Willow Grove, Pa., when he was doxed by Exoo on June 22, 2019, and labeled a fascist, racist,
and white supremacist. Barbosa is an individual domiciled in the Commonwealth of
Pennsylvania and a “person” as defined under 18 U.S.C. § 1961(3).

10. Matthew Reidinger (“Reidinger’’) was employed in Coal Township, Pa. On
November 27, 2018, he was doxed by Exoo and labeled a fascist and white supremacist.
Reidinger is an individual domiciled in the Commonwealth of Pennsylvania and a “person” as
defined under 18 U.S.C. § 1961(3).

11. John Hugo (“Hugo”) was employed as a dispatch manager for Green and Yellow
Cab in Somerville, Massachusetts when he was doxed by Exoo on January 2, 2020, and labeled a
fascist and white supremacist. Hugo is an individual domiciled in the Commonwealth of

Massachusetts and a “person” as defined under 18 U.S.C. § 1961(3).
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 25 of 275 PagelD: 2439
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 6 of 46 PagelD: 926

12. Sean-Michael David Scott (“Scott”) was employed in Seattle, Washington when
he was doxed by Exoo on September 16, 2019, and labeled a fascist, white supremacist, and anti-
Semite. Scott is an individual domiciled in the State of Florida and a “person” as defined under
18 U.S.C. § 1961(3).

13. Thomas Louden (“Louden”) is a 30-year volunteer firefighter and the appointed
Deputy Emergency Management Coordinator for Hilltown Township, Pennsylvania and was
employed as the Director of Managed Care at Thomas Jefferson University Hospital in
Philadelphia for twenty-three (23) years when he was doxed by Exoo on November 2, 2020.
Louden is an individual domiciled in the Commonwealth of Pennsylvania and a “person” as
defined under 18 U.S.C. § 1961(3).

14. Plaintiffs Wolkind, Hartley, Schwetz, Rehl, Barbosa, and Tucci are members of
the Philadelphia chapter of the Proud Boys (hereinafter “PPB” or “Proud Boys”). Plaintiff
Reidinger is a member of the Harrisburg chapter of the Proud Boys (“HPB”). The Proud Boys
are a diverse, multi-racial, multi-ethnic, fraternal, males-only drinking club, who consider
themselves “western chauvinists.”

15. Hugo is the President of Super Happy Fun America, a right of center civil rights
organization focusing on defending the American Constitution, opposing gender madness, and
defeating cultural Marxism. Super Happy Fun America is best known for organizing the 2019
Boston Straight Pride Parade. Hugo was the 2018 Republican Candidate for Massachusetts’ 5"
Congressional District.

16. Defendant Christian Exoo (“Exoo” or “@AntiFashGordon”) is a library building
supervisor and lecturer at St. Lawrence University. Exoo is a self-described anti-fascist,

notorious doxer, and leader of Antifa, who by doxing others has acquired a great deal of
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 26 of 275 PagelD: 2440
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 7 of 46 PagelD: 927

notoriety and infamy.! Exoo currently publishes Tweets under Twitter username
“@AntiFashGordon.” Exoo is an individual domiciled in the State of New York and a “person”
as defined under 18 U.S.C. § 1961(3).

17. St, Lawrence University (“St. Lawrence” or “STL”) is a private four-year
university with its principal place of business located at 116 Vilas Hall, 23 Romoda Drive,
Canton, New York 13617, and a “person” as defined under 18 U.S.C. § 1961(3).

18. Tribune Publishing Company (“Tribune”) is a media company organized under
the laws of the State of Delaware with its principal place of business located at 160 N. Stetson
Avenue, Chicago, Illinois 60601 that conducts its business throughout the United States, and is a
“person” as defined under 18 U.S.C. § 1961(3).

19. | New York Daily News Company (“Daily News”) is owned by the Tribune
Publishing Company (Tribune and Daily News are sometimes hereinafter referred to collectively
as “Daily News”) with a place of business located at 125 Theodore Conrad Drive, Jersey City,
New Jersey 07305, and 4 New York Plaza, New York, NY 10004. The Daily News is a
“person” as defined under 18 U.S.C. § 1961(3). At all times relevant, the Tribune Publishing

Company had the right and did exercise control over the actions of the New York Daily News.

 

' Anti-Fascists Are Waging A Cyber War — And They’re Winning, Medium.com (Sep. 9, 2019)
https://gen.medium.com/antifas-keyboard-warriors-254f62be2a95 (last accessed Sep. 15, 2020);
Comcast fires employee with alleged ties to Proud Boys, We the People Rally, Philly Voice.com
(November 15, 2018) https://www.phillyvoice.com/comcast-fires-employee-proud-boys-alt-
right-philadelphia-rally/ (last accessed Sep. 15, 2020); The Right Wing Is Trying to Make It a
Crime to Oppose Fascism, Truthout.org (Aug. 9, 2019) https://truthout.org/articles/the-right-
wing-is-trying-to-make-it-a-crime-to-oppose-fascism/ (last accessed Sep. 15, 2020); How to Spot
An Abuser, Featuring Antifash Gordon, In His Own Words: A Step By Step Guide, and Also
F*** That Guy, Medium.com (Jun. 25, 2020)
https://medium.com/@abuse_isnt_revolutionary/how-to-spot-an-abuser-featuring-antifash-
gordon-in-his-own-abuser-words-7b39f4657b19 (last accessed Sep. 15, 2020).

7
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 27 of 275 PagelD: 2441
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 8 of 46 PagelD: 928

20. Vijaya Gadde (“Gadde”) is the Head of Legal, Public Policy, and Trust and Safety
Lead at Twitter, Inc. At all times relevant, Vijaya Gadde was the sole decision maker and person
authorized to permanently ban Twitter users who violated Twitter’s Terms of Service and Rules.
She is a “person” as defined under 18 U.S.C. § 1961(3). Gadde is believed to be domiciled in
the State of California.

21. Twitter, Inc. (“Twitter’’), is a company organized under the laws of the State of
Delaware with its principal place of business located at 1355 Market Street, San Francisco, CA
94103, that conducts its business globally and a “person” as defined under 18 U.S.C. § 1961(3).

22. The Exoo Enterprise is a criminal enterprise as defined under 18 U.S.C. §
1961(4), consisting of Defendant Christian Exoo a/k/a “AntiFashGordon,” who directs the Exoo
Enterprise, St. Lawrence University, Vijaya Gadde, Twitter, Inc., and unidentified associates.

23. Cohen, Weiss, and Simon, LLP (“CWS”) is a law firm with its principal place of
business located at 900 3 Avenue, #2100, New York, New York 10022 anda “person” as
defined under 18 U.S.C. § 1961(3).

JURISDICTION AND VENUE

24. — Jurisdiction of this Court is proper because this litigation arises under federal law,
namely 18 U.S.C. §§ 1961 to 1968. This Court has jurisdiction over this matter under 28 U.S.C.
§ 1331.

25. The Court has supplemental jurisdiction over the state law claims asserted in this
case under 28 U.S.C. § 1367(a).

26. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred in this District, and
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 28 of 275 PagelD: 2442
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 9 of 46 PagelD: 929

the threatened and actual harm occurred in this District by reason of Defendants’ conduct as
alleged below.
FACTS PERTINENT TO ALL PLAINTIFFS

27. Defendant Exoo publishes Tweets and doxes other persons private and
undisclosed information under Twitter username “@AntiFashGordon” the leading Antifa Twitter
account that as of December 30, 2020, has 46,140 followers. The headline of
@AntiFashGordon’s public profile states “I expose fascists via #OSINT, get them fired, de-
homed, kicked out of school, etc.” Exoo’s definition of fascists and white supremacists is
indiscernible, because he uses the terms broadly and interchangeably. Based on the substance of
@AntiFashGordon’s Tweets he broadly identifies all persons who do not share his radical far left
political ideology as fascists and/or white supremacists.

28. | Upon information and belief, Exoo is known to Twitter’s Trust & Safety Council
(“TSC”) as a habitual doxer and ban evader. A ban evader is a person who creates a new Twitter
account after receiving a permanent ban. The ban evader’s new account is called a “ban evasion
account,” and is prohibited by Twitter rules.?, A permanent ban means a lifetime ban.

29. Doxing is prohibited by Twitter’s Private Information Policy within their Terms
of Service and Rules (“TOS”).?

30. | Upon information and belief, in addition to Twitter’s agreement to allow Exoo to

change username @DoxSavage to @AntiFashGordon, Exoo has had two Twitter accounts

 

* https://help.twitter.com/en/rules-and-policies/enforcement-options “Permanent suspension: This
is our most severe enforcement action. Permanently suspending an account will remove it from
global view, and the violator will not be allowed to create new accounts.”

> https://help.twitter.com/en/rules-and-policies/personal-information “You may not publish or
post other people’s private information without their express authorization and permission. We
also prohibit threatening to expose private information or incentivizing others to do so.”

9
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 29 of 275 PagelD: 2443
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 10 of 46 PagelD: 930

permanently banned for doxing. Twitter has previously permanently banned @ChrisExoo,*
@ChristianExoo.°

31. Exoo directs associates in an enterprise that uses interstate communications to
conduct patterns of racketeering activities.

32. Of their own volition, Exoo and associates identify persons as Nazis, fascists, and
white supremacists, which also includes any person Exoo and/or associates label homophobic,
transphobic, etc. Once a target has been identified Exoo and associates set about to learn the
personal identity of their unknown targets.

33. Once their targets’ identity is discovered, Exoo and associates commence patterns
of racketeering activities to extort employment terminations and compel school expulsions, by
directing waves of threatening phone calls, emails, Twitter messages, social media comments at
the target’s employers, co-workers, and school administrators.

34. Enterprise associates “dogpile” their target’s employers and co-workers with calls
to their direct work phone number and email address with continual calls and emails to every
employee and co-worker to extort the target’s termination. The practice eliminates a company’s
ability to conduct business.

35. To extort their target’s termination, enterprise associates harm his employer’s
existing and prospective business relationships by posting a flood of negative comments and
reviews to the employer’s social media and internet sites to use as leverage to extort their target’s

termination.

 

* https://twitter.com/ChrisExoo (last accessed Sep. 15, 2020)
> https://twitter.com/ChristianExoo (last accessed Sep. 15, 2020)

10
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 30 of 275 PagelD: 2444
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 11 of 46 PagelD: 931

36. | When an employer does not immediately terminate their target, Enterprise
associates directly contact and threaten their target’s employers’ customers to shame them from
continuing to do business with the target’s employer.

37. | As aresult of Exoo’s dox and direction of an enterprise engaged in threatening
patterns of racketeering activities as described above, every Plaintiff has received explicitly
violent threats against their life and the lives of their family, several Plaintiffs were physically
attacked about their person, sustained damage to their homes and property, and all Plaintiffs were
terminated from employment due to the enterprise’s patterns of racketeering activities.

DANIEL D’ AMBLY

38. | D’Ambly repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

39. | Upon information and belief, the Exoo Enterprise targeted D’ Ambly as a fascist
and white supremacist at some point in or about January 2018. Thereafter, enterprise associates
stalked D’Ambly to uncover his true identity, for the sole purpose of doxing him.

40. | Upon information and belief, by September 2018, Twitter received dozens of
complaints directly Tweeted to Twitter Support and Twitter Trust and Safety informing them
that Exoo’s former Twitter account @DoxSavage was aggressively doxing, which forced Twitter
to investigate the accounts activities. Under Twitter’s normal protocol, accounts being
investigated for violating the TOS are prevented from Tweeting during the investigation. °
41. | Twitter ignored their TOS and allowed @DoxSavage to continue Tweeting during

their investigation.

 

6 https://help.twitter.com/en/rules-and-policies/enforcement-options (last accessed Sep. 15, 2020)

11
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 31 of 275 PagelD: 2445
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 12 of 46 PagelD: 932

42. Upon information and belief, at some point on or about October 1, 2018, Gadde
and Twitter agreed to allow @DoxSavage to undergo a name change in lieu of a third permanent.
The unprecedented agreement to allow Exoo’s username change to @AntiFashGordon under
these circumstances was done to ensure he kept his approximate 15,000 @DoxSavage followers.

43. On October 11, 2018, @DoxSavage Tweeted a farewell announcement to his
followers: “Hey folks—I just underwent a name change from @DoxSavage to @AntiFash
Gordon. I'll be back tomorrow to expose more violent fascists who were on the ground in
Providence on 10/6.” The name change kept the Exoo Enterprise intact, and their ability to
effectively conduct its patterns of racketeering activities was not harmed.

44, On October 29, 2018, at 11:49 a.m., @AntiFashGordon published a massive
twenty-two count Tweet thread (a thread is a series of related Tweets) that doxed D’Ambly to his
estimated 20,000 followers. The dox publicly disclosed for the first time D’ Ambly’s name,
hometown, photograph, employer, occupation, employer’s location, multiple telephone numbers
for his employer, a labor union Referendum Board he chaired, and the names of the other
Referendum Board members.

45. In the dox, @AntiFashGordon labeled D’ Ambly a “Nazi” and directed the Exoo
Enterprise associates to send harassing, intimidating, and threatening phone calls, and Tweets to
the Daily News’s Twitter username @NYDailyNews, to extort D’Ambly’s termination. Exoo’s
dox directed:

a. Inthe 19" Tweet, @AntiFashGordon directed his associates “stay on top of this,
too. If you don’t hear back from @NYDailyNews, keep tweeting at them.” Call
their printing facilities in Jersey City at (201) ***-**** (number provided in

original Tweet) and warn them about Daniel D’Ambly...”

12
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 32 of 275 PagelD: 2446
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 13 of 46 PagelD: 933

b. A follow up Tweet included a second telephone number for the New York Daily
News and a subsequent Tweet included the direct telephone number to
D’Ambly’s print shop.

c. Within minutes the Exoo Enterprise obeyed Exoo’s directive and flooded
@NYDailyNews and @Teamsters with Tweets and phone calls that threatened
the Daily News with violent attacks if D’ Ambly was not terminated.

d. Upon information and belief, from October 29, 2018, to January 11, 2019, the
Exoo Enterprise directed no less than fifty-four (54) threatening Tweets to
@Daily News plus an unknown number of threatening phone calls.

e. D’Ambly was never told of the threats or warned to take safety precautions by
anyone from the Daily News or Tribune.

46. On October 30, 2018, without warning D’Ambly of the dangerous threats,
Tribune engaged Insite Risk Management (“Insite”) to investigate D’Ambly. At the conclusion
of their investigation, Insite produced the “Private Investigation Report” (“Report”) and provided
it to the Tribune on December 4, 2018. The Report acknowledged @AntiFashGordon’s doxing
was the impetus for the investigation and confirmed D’Ambly’s association with EHA. The
Report included videos of D’ Ambly and others using imprudent language during political rallies.

47. On or before January 8, 2019, EHA posted flyers on public bulletin boards in
Princeton, New Jersey that announced an “It’s okay to be white” protest march purportedly
scheduled for January 12, 2019.

48. On January 9, 2019, @AntiFashGordon re-Tweeted the “It’s okay to be white”
march to his associates and again doxed D’Ambly by Tweeting, “If anyone wants their leaders

name, it’s Dan D’Ambly.”

13
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 33 of 275 PagelD: 2447
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 14 of 46 PagelD: 934

49, On January 10, 2019, @AntiFashGordon published a second Tweet that
referenced EHA’s purported march and directed his associates to “show up and shut down” the
purported march “And please say hi to their leader, Dan D’Ambly for me.”

50. On January 10, 2019, D’Ambly was called to an interview with Jean Nechvatal
(“Nechvatal), Tribune’s Vice President, Talent Management & Learning and James R. Brill
(“Brill”), Daily News’s Sr. Vice President of Operations. D’Ambly was accompanied at the
meeting by Union Steward Pete Cairnie. During the meeting, D’Ambly was confronted with
content of the Report, but not informed of the report’s existence. D’Ambly acknowledged using
imprudent language in a private conversation during a protest.

51. On January 11, 2019, at 10:14 a.m., @AntiFashGordon again directed his
associates to shut down EHA’s purported January 12, 2019 “It’s okay to be white” march and
exhorted his associates “if you can, show up and show these pricks that we don’t tolerate hate in
our streets.” The Tweet included @NYDailyNews and doxed D’Ambly’s hometown again.
Exoo encouraged violence to shut down the purported protest, but warned “Remember that the
police won’t protect us here.”

52. | Upon information and belief, at some point before 10:21 a.m. on January 11,
2019, Edward Bushey, Sr. Vice President, General Manager, Manufacturing and Distribution at
Tribune delivered recordings of the death threats to the Daily News. The callers threatened
D’Ambly and stated the Daily News was responsible for “any violence or blood spilled is also on
your hands.” One threatening caller’s phone number was captured.

53. On January 11, 2019, from 9:30 a.m. to 10:14 a.m., Twitter usernames
@hubcityantifa, @NYCAntifa, and @Nstricklanded replied via Tweet to @AntiFashGordon’s

instructions with coded messages that confirmed they followed his instructions and made threats.

14
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 34 of 275 PagelD: 2448
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 15 of 46 PagelD: 935

54. Upon reason and belief, one of the death threat phone numbers is owned by a
person who Tweeted mission confirmation to @AntiFashGordon on January 11, 2019.

55. On January 11, 2019, at 2:20 p.m., EHA Tweeted that the “It’s okay to be white”
protest was a prank.

56. On January 11, 2019, at 3:30 p.m., D’Ambly was called to a second meeting with
James Brill, Sr. Vice President of Operations for the Daily News to recap the previous days
meeting. In the meeting, Brill issued D’Ambly a “Last and Final Warning” that stated the
“ONLY reason that you are not being terminated immediately is because, thus far, we have not
determined that your activities with NJEHA has occurred at work and/or derogatory comments
were made about any co-workers.” The warning continued “should we learn that you engaged in
any inappropriate speech or behavior in the workplace or with regard to any other employee, or
if the Company or any of its employees suffer any backlash as a result of your association with
the NJEHA, your conduct will be considered “work-related” and you will be terminated
immediately.”

57. This meeting with Brill was a pre-text for D’Ambly’s termination. The meeting
occurred five (5) hours after death threats were received, but Brill did not inform D’Ambly,
because the Daily News intended to use the threats as evidence the company received “backlash”
from D’Ambly’s conduct and was the “cause” of D’Ambly’s termination.

58. = At 4:34 p.m. on January 11, 2019, @AntiFashGordon replied to EHA’s Tweet by
threatening D’ Ambly whereby @AntiFashGordon threatened “Regardless, I’m gonna spend the
next week wrecking your fucking life, Dan D’Ambly.”

59. In the evening of January 11, 2019, the Exoo Enterprise’s extended campaign of

violent Tweets and threats of physical violence to D’Ambly came to fruition and D’Ambly’s

15
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 35 of 275 PagelD: 2449
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 16 of 46 PagelD: 936

vehicle was “keyed” (scratched) and tires slashed while parked outside of his home on private
property. An investigation report for a bias incident, criminal mischief, and harassment was filed
with the South Brunswick Police Department.

60. | _D’Ambly reported to work the following day on January 12, 2019, but was not
informed of the death threats received the day before.

61. On Sunday, January 13, 2019, at 10:16 a.m., five (5) days before D’Ambly’s
official termination date @AntiFashGordon Tweeted to four of his associates that he “got a
pretty reliable tip this morning that he’s not at the @NYDailyNews anymore...” in reference to
D’Ambly.

62. On Monday, January 14, 2019, the Daily News called D’Ambly and told him not
to report to work until informed otherwise.

63. On January 16, 2019, during a phone conference with Brill, Nechvatal, and a
Union representative, D’ Ambly was played the recorded death threats and asked to identify the
caller. D’Ambly was unable to identify the caller, but said it was the behavior of “Antifa types.”
Brill was scornful of D’ Ambly’s inability to identify the caller and blamed him for the threats.
D’Ambly was terminated during this phone conference.

64. On January 23, 2019, Patrick LoPresti, President of Local One-L informed the
Daily News that they were appealing D’ Ambly’s termination pursuant to terms of the Contract.

65. On or about January 25, 2019, D’Ambly received his “Termination of
Employment” letter, signed by Brill, and dated January 22, 2019. The letter informed D’Ambly
his termination was effective January 18, 2019. The termination letter is imbued with Brill’s
animus for D’Ambly. In the letter, Brill stated “your choice to take these repulsive actions has

now put our workplace and employees at risk of counter attacks by Antifa.”

16
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 36 of 275 PagelD: 2450
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 17 of 46 PagelD: 937

66. The termination letter falsely stated the Daily News learned of the death threats
on January 14, 2019, contrary to emails that confirm the Daily News learned of the threats on
January 11, 2019.

67. In the termination letter, Brill claimed the death threats received on January 11,
2019, were the “cause” of D’Ambly’s termination, because the death threats meant D’ Ambly
“brought his activities” into the workplace, therefore, “we deem your actions to be work related
and are terminating your employment for cause.”

68. Atsome point after January 23, 2019, the Union on behalf of D’Ambly filed a
grievance with the American Arbitration Association, case number 01-19-0000-7178. The
Union retained attorneys Thomas Kennedy (“Kennedy”) and Kate M. Swearengen
(“Swearengen”) of Cohen, Weiss, and Simon, LLP (collectively Kennedy, Swearengen and
Cohen. Weiss and Simon, LLP shall be referred to as “CWS”) to represent D’Ambly.

69. Thereafter, D’ Ambly had a phone conference with Kennedy to discuss the case.
D’Ambly was acquainted with Kennedy for approximately twenty years due to his Union
activities. D’Ambly explained the threats he received, property damage, and that his tires were
slashed. D’Ambly stated “Tom, this Antifa are terrorists...” Kennedy angrily responded, “I do
not consider Antifa to be terrorists and if you are going to continue referring to them (Antifa) as
terrorists we are going to end this call.” Kennedy scoffed at D’Ambly’s desire to have his
employment reinstated at the Daily News.

70. At some point thereafter, D’ Ambly had his first case discussion phone
conference with Kate Swearengen, who assumed representation. Without prompting,

Swearengen explicitly informed D’ Ambly that “she doesn’t agree with his politics and she

17
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 37 of 275 PagelD: 2451
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 18 of 46 PagelD: 938

doesn’t want to discuss them any further.” Like Kennedy, Swearengen dismissed D’ Ambly’s
wish to have his employment reinstated.

71. Kennedy and Swearengen’s revulsion of D’ Ambly directed their representation
and they failed to adequately research basic facts favorable to D’ Ambly’s wish to be reinstated.
CWS ignored Brill’s misrepresentation and veracity of the claimed “cause” of their client’s
termination.

72. CWS failed to adequately investigate the sources of the doxing campaign. Had
CWS engaged in reasonable investigation of the source of the dox they would have discovered
@AntiFashGordon’s January 13, 2019, announcement that D’ Ambly was terminated, which was
one day before the Daily News claimed they learned of the “cause” of D’Ambly’s termination.

73. Onor about July 15, 2019, D’Ambly dejectedly executed the “Separation
Agreement and Mutual General Release” negotiated by CWS that paid D’Ambly a lump sum
payment in exchange the Union would withdraw the pending arbitration case with prejudice.

74. Asaresult of Defendants’ misconduct D’Ambly has suffered substantial personal
and property damage and been severely financially harmed.

ZACHARY REHL

75.  Rehl repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

76. Exoo doxed Rehl for the first time on or about August 2, 2017, and labeled him a
fascist and a white supremacist because Rehl organized a “Back the Blue” march to support
police officers and first responders in Philadelphia.

77. Exoo directed enterprise associates to contact Rehl’s former employer New York

Life Insurance Company to extort Rehl’s termination. As in all cases, enterprise associates

18
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 38 of 275 PagelD: 2452
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 19 of 46 PagelD: 939

complied with Exoo’s directions and placed threatening calls, emails, and Tweets to New York
Life Insurance Company.

78.  Rehl was terminated from New York Life Insurance Company in September
2017.

79, On or about October 1, 2018, Rehl was doxed a second time, when he organized
the “We the People” event that occurred in Philadelphia on November 17, 2018.

80. On November 14, 2018, Exoo followed up his October 1, 2018 dox with
directions to his associates to counter protest the We the People event. Exoo directed enterprise
associates to disrupt the event because “fascism is coming and only we can stop it.”

81. On November 16, 2018, Exoo decided his community was being attacked,
because “the city granted rally permits to fascists, and the cops will be there to protect them.”
Exoo then Tweeted the phrase “Who protects us? We protect us” a battle cry to get his associates
to attack ““We the People” event organizers.

82. At12:41 am. on November 17, 2018, Rehl’s safety was endangered when he was
attacked by an Exoo associate who threw a brick through the front window of Rehl’s home and
spray painted the word “Nazi” on the front of his home.

AMANDA REHL

83. | AmRehl repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

84. On or about August 2, 2017, Exoo doxed AmRehl’s home address when he doxed

her husband Zachary Rehl.

19
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 39 of 275 PagelD: 2453
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 20 of 46 PagelD: 940

85. On or about October 1, 2018, AmRehl’s home address was doxed a second time
when Exoo doxed her husband Zachary Rehl, because he organized the “We the People” march
in Philadelphia that occurred on November 17, 2018.

86. On November 14, 2018, Exoo directed his associates to counter protest and
disrupt the We the People the event, because “fascism is coming and only we can stop it.”

87. | On November 16, 2018, Exoo decided his community was being attacked,
because “the city granted rally permits to fascists, and the cops will be there to protect them.”
Exoo then Tweeted the phrase “Who protects us? We protect us” as a battle cry to get his
associates to attack “We the People” event organizers.

88. At 12:41 a.m. on November 17, 2018, AmRehl’s safety was endangered when she
was assaulted by an Exoo associate who threw a brick through the front window of AmRehl’s
home and spray painted the word “Nazi” on the front of her home.

K.R., a minor, by and through her father ZACHARY REHL and mother AMANDA
REHL

89. K.R. repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

90. On or about August 2, 2017, Exoo doxed K.R.’s home address when he doxed her
father Zachary Rehl.

91. On or about October 1, 2018, K.R.’s home address was doxed a second time when
Exoo doxed K.R.’s father Zachary Rehl, because he organized the “We the People” march in
Philadelphia that occurred on November 17, 2018.

92. On November 14, 2018, Exoo directed his associates to counter protest and

disrupt the We the People event, because “fascism is coming and only we can stop it.”

20
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 40 of 275 PagelD: 2454
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 21 of 46 PagelD: 941

93. On November 16, 2018, Exoo decided his community was being attacked,
because “the city granted rally permits to fascists, and the cops will be there to protect them.”
Exoo then Tweeted the phrase “Who protects us? We protect us” as a battle cry to get his
associates to attack “We the People” event organizers.

94. At 12:41 a.m. on November 17, 2018, K.R.’s safety was endangered when she
was assaulted by an Exoo associate who threw a brick through the front window of her home and
spray painted the word Nazi on the front of her home.

AARON WOLKIND

95. | Wolkind repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

96. Wolkind was doxed in or about June 2019 and called a fascist, white supremacist,
and Nazi, which is an idiotic assertion, because Aaron’s a Jew.

97. On July 3, 2019, Exoo re-posted Exoo’s dox and directed his associates to contact
Wolkind’s employer Aerzen USA (“Aerzen”) to extort his termination. Immediately enterprise
associates directed hundreds of phone calls and emails to Wolkind’s employer and his co-
workers. Aerzen’s social media accounts and internet profiles were flooded with messages
demanding his termination.

98. On November 28, 2019, Exoo re-doxed Wolkind with Aerzen’s direct phone
number and the reminder to associates to “Use *67 to block your number.”

99. The November 28, 2019, dox dramatically increased the volume of messages
posted to Aerzen’s social media and internet profiles so much so that it created a network
security concern and caused Aerzen to temporarily shut down their social media and internet

profiles.

21
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 41 of 275 PagelD: 2455
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 22 of 46 PagelD: 942

100. The enterprise’s threatening and harassing messages also caused Aerzen’s
management to close the Coatesville, Pa. building out of fear for employee safety.

101. To their credit, Aerzen did not immediately terminate Wolkind, but when
enterprise associates discovered Wolkind was not terminated, they directed threats at Aerzen’s
clients demanding they stop doing business Aerzen or face consequences, and harassed and
intimidated Aerzen’s foreign subsidiaries.

102. Wolkind continues to receive threatening and harassing phone calls and the dox
has prohibited Wolkind from obtaining new employment in his field. Prospective employers
have cancelled scheduled interviews and pulled job offers when they perform an internet
background search for Wolkind’s name, because the first listing is Exoo’s dox, which identifies
him as a fascist, white supremacist, and a Nazi, but as stated above Aaron’s a Jew.

STEVE HARTLEY

103. Hartley repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

104. Hartley was doxed on November 29, 2018, and labeled a Nazi, racist, terrorist and
a threat to women and minorities. The dox included directives to dogpile Hartley’s employer
with calls, emails, and Tweets to demand his termination. In the dox, Hartley was identified as
the president of the Philadelphia Proud Boys.

105. As is the pattern, enterprise associates complied with Exoo’s directives and in
December 2018, associates inundated Hartley’s employer and co-workers with hundreds of
phone calls and emails and flooded their social media and internet profiles with negative posts
and reviews. Enterprise associates still contact Hartley’s employer and co-workers with

threatening and harassing phone calls and emails.

22
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 42 of 275 PagelD: 2456
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 23 of 46 PagelD: 943

106. Hartley’s home address and personal cell phone were also doxed, and he has
received hundreds of threatening and harassing phone calls from enterprise associates, including
direct threats on his life. The threatening and harassing communications continue to this day.

MARK ANTONY TUCCI

107. Tucci repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

108. Exoo doxed Tucci on December 10, 2018, and associates directed harassing and
threatening phone calls, emails, and Twitter messages to his employer. Enterprise associates
called his employer more than 600 times on that first night, which effectively shut down the
restaurant. Tucci’s employer realized what was happening and told callers he was terminated.

109. In real time you can see the enterprise’s conspiracy play out in their Tweets.

a. Exoo doxed Tucci with directions to harass, threaten and intimidate his employer.

b. Enterprise associates who called Tucci’s employer, Tweeted confirmation to
Exoo.

c. When Tucci’s employer stated Tucci was terminated, enterprise associates relayed
that information to Exoo.

110. Exoo replied “Thanks for calling in the meantime it’s very likely they’re just
hoping this blows over, so keep calling, folks!”

111. The following day Exoo directed his associates to “keep calling folks” and the
enterprise continued the assault.

RICHARD SCHWETZ
112. Schwetz repeats and realleges the facts pertinent to all plaintiffs as alleged above

in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

23
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 43 of 275 PagelD: 2457
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 24 of 46 PagelD: 944

113. The enterprise targeted Schwetz after he volunteered to clean up debris and litter
at a Scott Presler Clean Up America event that occurred in Philadelphia on May 23, 2020.

114. As aresult of participating in the cleanup event and being photographed with
other Proud Boys that participated in the cleanup event, Schwetz was doxed in June 2020.

115. Enterprise associates directed harassing and threatening phone calls, emails,
Twitter messages, and social media posts to Schwetz’s co-workers located at the varied locations
of his then employer Inova Payroll.

116. Amidst the initial wave of incoming harassing and threatening phone calls,
emails, and Twitter messages, an enterprise associate threatened one specific Inova Payroll
employee by posting a photograph of the employee with her young son.

117. The employee had no relationship with Schwetz whatsoever, caused Inova
Payroll to reasonably fear for its employees’ safety.

118. Exoo doxed Schwetz a second time on September 21, 2020, with further
instructions to enterprise associates to conduct a second round of harassing and threatening
messages. The threats are still visible on Twitter.

MATTHEW REIDINGER

119. Reidinger repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

120. Exoo doxed Reidinger on November 27, 2018, and instructed his associates to
direct threatening, harassing, and intimidating phone calls, Tweets, to his employer to demand

his termination.

24
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 44 of 275 PagelD: 2458
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 25 of 46 PagelD: 945

121. As is the case with all victims, Exoo directed associates to dogpile Reidinger’s
employer’s social media sites with negative reviews. In his instructions Exoo admits that they
recently successfully dogpiled Comcast to extort a termination.

JOBEL BARBOSA

122. Barbosa repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

123. Exoo doxed Barbosa on June 22, 2019, as trans-phobic, because he was
photographed at Philadelphia’s gay pride parade. As always, Exoo’s directed enterprise
associates to contact Barbosa’s employer to demand his termination. Associates immediately
followed Exoo’s directions, including one enterprise associate who left her name and telephone
number.

124. Barbosa’s home address and cell phone numbers for him and his wife were posted
to a webpage phonezapp.noblog.org (no longer available) and Barbosa’s wife received
threatening calls on her personal cell phone.

125. The number of contacts his former employer received is unknown at this point,
but the volume was substantial, and Barbosa was immediately called into a meeting with a
company executive and a human resources representative.

126. Barbosa was terminated on June 27, 2019.

SEAN-MICHAEL DAVID SCOTT

127. Scott repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

128. Exoo doxed Scott on September 16, 2019 and his employer publicly confirmed

his employment termination on September 17, 2019.

25
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 45 of 275 PagelD: 2459
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 26 of 46 PagelD: 946

129. Exoo associates threatened and intimidated the property manager for Scott’s
apartment. The property manager was fearful of repercussions and demanded Scott vacate the
premises.

130. On September 17, 2019, Scott’s home was attacked with graffiti and vandalized.

131. On April 16, 2020, Scott was attacked at his home for the second time and his
car’s tires were slashed and windows broken.

JOHN HUGO

132. Hugo repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

133. Hugo was doxed by Exoo on January 2, 2020, and as with all of his doxes, Exoo
labeled Hugo a fascist and white supremacist. Exoo’s dox and call to action to his associates was
re-Tweeted over 100,000 times.

134. Enterprise associates immediately followed Exoo’s directives and made hundreds
of threatening and harassing phone calls and over 1,000 harassing emails to Hugo’s employer
demanding Hugo’s termination. As in all cases, the volume of phone calls prevented Hugo and
his co-workers from performing their jobs. Hugo was terminated in March 2020.

135. Hugo continues to receive threatening and harassing phone calls from enterprise
associates who threaten Hugo that they will never let him work again and will force him to live
in a box.

SUPPLEMENTAL PLEADING TO ADD PLAINTIFF THOMAS LOUDEN WHO WAS
INJURED BY THE ENTERPRISE AFTER THE COMPLAINT WAS FILED

136. Louden repeats and realleges the facts pertinent to all plaintiffs as alleged above

in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

26
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 46 of 275 PagelD: 2460
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 27 of 46 PagelD: 947

137. The original Complaint in this action was filed on September 21, 2020, and
Louden was injured after the Complaint was filed in the same series of occurrences or
transactions after the Complaint was filed. Louden was employed as the Director of Managed
Care at Thomas Jefferson University Hospital in Philadelphia.

138. During a global health emergency and pandemic Exoo doxed Louden’s hospital
employer on November 2, 2020, and as in all cases associates immediately flooded Louden’s
employer and co-workers with harassing and threatening phone calls, emails, social media posts.

139. Louden who does not have a Twitter account was unaware of Exoo’s dox until he
was called to a Zoom meeting with his hospital’s Vice-President and a human resources
representative on November 2, 2020. Louden was quizzed about his membership in a right-wing
extremist group. Louden is not a member of a right-wing extremist group, he is a 30-year
volunteer firefighter and the appointed Deputy Emergency Management Coordinator for
Hilltown Township, Pa.

140. On November 3, 2020, Louden learned that Exoo posted photos of his home with
his car parked in his driveway.

141. On November 10, 2020, Exoo re-posted Louden’s personal information with
explicit directions, including photographs of his home and local street signs, the name of the city,
and even the longitude and latitude coordinates. Louden, obviously remains fearful for his
family’s safety. Louden was terminated on December 7, 2020.

CLAIMS FOR RELIEF
COUNT I

Violation of New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 to — 49
(as to D’Ambly against Tribune Publishing Company and the New York Daily News)

27
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 47 of 275 PagelD: 2461
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 28 of 46 PagelD: 948

142. D’Ambly realleges and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 141 with the same force and effect as if set forth in
detail herein again.

143. Defendants Tribune and Daily News are employers as defined in N.J.S.A. 10:5-5.

144. D’Ambly is older than forty years (40) old and was an employee as defined in
N.J.S.A. 10:5-5.

145. Defendants Tribune and Daily News discharged D’Ambly due to their enmity
towards D’Ambly’s racially identifiable associations, whereas, non-white Tribune and Daily
News employees who participate in racially identifiable associations, are not punished, or
terminated, violated N.J.S.A. 10:5-12.

146. Defendants Tribune and Daily News undertook several pre-textual steps to mask
D’Ambly’s discriminatory termination:

a. Tribune hired a private investigation firm to invade D’Ambly’s privacy in an
unsuccessful effort to catch D’ Ambly engaged in unlawful activity.

b. Inthe morning of January 11, 2019, the Daily News received death threats
intended to extort D’Ambly’s termination that they did not immediately disclose,
because they intended to use the threats pre-textually as the “cause” of D’Ambly’s
termination.

c. Inthe afternoon of January 11, 2019, the Daily News issued D’Ambly a “Last and
Final Warning,” that warned D’Ambly he would be immediately terminated if it
were discovered he brought his political activities into the workplace, but they did
not inform or warn D’Ambly of the death threats earlier received.

d. D’Ambly was informed he was terminated on January 16, 2019.

28
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 48 of 275 PagelD: 2462
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 29 of 46 PagelD: 949

e. Subsequently, D’Ambly received a “Termination of Employment” letter dated
January 22, 2019, whereby, the Daily News falsely stated they discovered the
death threats on January 14, 2019, contrary to indisputable evidence they received
the death threats on January 11, 2019, which meant he “brought his activities into
the workplace” after he was warned. Daily News cited this fabrication as the
“cause” of D’Ambly’s termination.

147. As a direct and proximate result of defendants Tribune Publishing Company and
the New York Daily News racially discriminatory termination, D’Ambly has suffered adverse
consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,
equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an
amount to be determined at trial, but which is in excess of $75,000.00.

COUNT II

Tortious Interference with Prospective Economic Benefit
(as to all Plaintiffs except K.R. against defendant Christian Exoo a/k/a “AntiFashGordon”)

148. Plaintiffs reallege and incorporate herein by reference each and every one of the
allegations contained in paragraphs 1 through 147 with the same force and effect as if set forth in
detail herein again.

149. Plaintiffs were rightfully entitled to pursue lawful employment.

150. Plaintiffs reasonably expected their employment to continue into the future and to
benefit economically from his employment.

151. Defendant Exoo knew Plaintiffs were employed and intentionally interfered with
their prospective economic benefits to be gained from continued employment.

152. Defendant Exoo intentionally and unjustifiably interfered with Plaintiffs rights to

pursue lawful business.

29
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 49 of 275 PagelD: 2463
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 30 of 46 PagelD: 950

153. Defendant Exoo’s interference caused Plaintiffs employer to terminate their
employment.

154. Plaintiffs have suffered and will continue to suffer irreparable harm in the form of
damage to his reputation, loss of income and financial hardship as a result of Exoo’s
interference.

155. As adirect and proximate result of defendant Exoo’s interference with Plaintiffs
prospective economic benefits, Plaintiffs have suffered adverse consequences and continue to be
damaged. Plaintiffs are entitled to compensatory damages, equitable and declaratory relief,
punitive damages, costs, and reasonable attorneys’ fees in an amount to be determined at trial,
but which is in excess of $75,000.00.

COUNT Il

Intrusion Upon Seclusion — Public Disclosure of Private Personal Information
(as to all Plaintiffs except for K.R. against Christian Exoo a/k/a “AntiFashGordon”)

156. Plaintiffs reallege and incorporate herein by reference each and every one of the
allegations contained in paragraphs 1 through 155 with the same force and effect as if set forth in
detail herein again.

157. In directing and carrying out a sustained effort to embarrass, defame and publicize
private facts, including Plaintiffs’ home address and familial relations without their consent,

Exoo intentionally intruded upon Plaintiffs’ solitude and seclusion.

158. By conducting a sustained effort to embarrass, defame and publicize private facts
including D’Ambly’s home address and familial relations without Plaintiffs’ consent, Exoo
intentionally intruded upon Plaintiffs’ solitude and seclusion.

159. Defendant intentionally intruded on Plaintiffs’ solitude and seclusion in a manner

that is highly offensive to a reasonable person.

30
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 50 of 275 PagelD: 2464
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 31 of 46 PagelD: 951

160. Asa direct and proximate result of Exoo’s intrusion upon his seclusion, Plaintiffs
have suffered adverse consequences and continue to be damaged. Plaintiffs are entitled to
compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable
attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

COUNT IV

Violation of N.J.S.A. 2C:33-4.1 and N.J.S.A. 2C:30-31(a) Cyber-Harassment and Stalking
(as to D’Ambly against defendant Christian Exoo a/k/a “AntiFashGordon”)

161. D’Ambly realleges and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 160 with the same force and effect as if set forth in
detail herein again.

162. Defendant Exoo encouraged and incited others to violence against D’Ambly and
conducted an ongoing campaign that intruded D’Ambly’s life.

163. Defendant Exoo intentionally and knowingly sent, commented, and posted
D’Ambly’s private and involuntarily disclosed personal information to social media networking
sites to purposely harass, intimidate, and threaten D’Ambly.

164. By encouraging others to inflict physical harm to D’ Ambly’s person and property.

165. By encouraging others to commit crimes against D’ Ambly that resulted in
D’Ambly receiving death threats and sustaining physical damage to his personal property

166. Asadirect and proximate result of Defendant Exoo’s cyber-harassment and
stalking D’Ambly has suffered adverse consequences and continues to be damaged. D’Ambly is
entitled to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of
$75,000.00.

COUNT V

31
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 51 of 275 PagelD: 2465
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 32 of 46 PagelD: 952

Violation of 18 U.S.C. § 875(c) — Interstate Communications
(as to all Plaintiffs against defendant Christian Exoo a/k/a “AntiFashGordon”)

167. Plaintiffs reallege and incorporate herein by reference each and every one of the
allegations contained in paragraphs | through 166 with the same force and effect as if set forth in
detail herein again.

168. By using an interactive computer service to intentionally transmit threats of
physical violence at Plaintiffs via interstate communications.

169. By directing an enterprise is engaged in an interstate campaign of violent threats
against Plaintiffs for the purpose of injuring and endangering Plaintiffs’ personal safety.

170. By explicitly threatening Plaintiffs via an interactive computer service Exoo
transmitted threats in interstate commerce.

171. As adirect and proximate result of defendant Exoo’s use of interstate
communications to threaten and harm Plaintiffs they have suffered adverse consequences and
continue to suffer adverse consequences. Plaintiffs are entitled to compensatory damages,
equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an
amount to be determined at trial, but which is in excess of $75,000.00.

COUNT VI

Violation of 18 U.S.C. 2261 A(2) -Stalking
(as to all Plaintiffs against defendant Christian Exoo a/k/a “AntiFashGordon”)

172. Plaintiffs reallege and incorporate herein by reference each and every one of the
allegations contained in paragraphs | through 171 with the same force and effect as if set forth in
detail herein again.

173. Exoo used an interactive computer service to surveil and stalk Plaintiffs with the

intent to harass, intimidate, threaten, and harm Plaintiffs.

32
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 52 of 275 PagelD: 2466
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 33 of 46 PagelD: 953

174. Exoo stalked Plaintiffs to discover their personal identity and then disseminated
the information using an interactive computer service with instructions to enterprise associates
with directions to harass, intimidate, and endanger Plaintiffs personal safety.

175. _Exoo used an interactive computer service to direct an enterprise to harass,
intimidate, and threaten others in order to extort Plaintiffs termination from lawful employment.

176. Exoo’s conduct caused Plaintiffs to reasonably fear for the safety of themselves
and their family and caused Plaintiffs to suffer severe emotional and financial distress.

177. Asa direct and proximate result of defendant Exoo’s stalking in violation of 18
U.S.C. § 2261A(2) Plaintiffs have has suffered adverse consequences and continue to suffer
adverse consequences. Plaintiffs are entitled to compensatory damages, equitable and
declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an amount to be
determined at trial, but which is in excess of $75,000.00.

COUNT VII
Employer’s Breach of its Duty to Warn
(as to D’Ambly against defendants Tribune Publishing Company and the New York Daily
News)

178. D’Ambly realleges and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 177 with the same force and effect as if set forth in
detail herein again.

179. Defendants Tribune and Daily News received a stream of death threats directed at
D’ Ambly over a two and one-half month period, but they never warned D’ Ambly.

180. Defendants Tribune and Daily News never warned D’Ambly to take

precautionary measures as he entered or exited the workplace.

33
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 53 of 275 PagelD: 2467
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 34 of 46 PagelD: 954

181. Defendants Tribune and Daily News did not take steps to increase the safety of
D’Ambly and other employees as they entered and exited the workplace.

182. Defendants Tribune and Daily News did not secure the workplace in order to
protect D’Ambly and others.

183. As he was not aware of the threats, D’ Ambly could not take steps to protect
himself and his property and as a result his property was damaged on January 11, 2019.

184. Defendants Tribune and Daily News had a duty to warn their employee he was
the direct target of the death threats they received.

185. Asa direct and proximate result of defendants Tribune and Daily News’ failure to
warn D’Ambly has suffered adverse consequences and continues to be damaged. D’Ambly is
entitled to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of
$75,000.00.

COUNT VIII
Violations of N.J.S.A 2C:41-1 to —2C:41-6.2 (Racketeering)
(as to D’Ambly against defendants Christian Exoo a/k/a “AntiFashGordon,” St. Lawrence
University, Vijaya Gadde, and Twitter, Inc., the “Exoo Enterprise’)

186. D’Ambly realleges and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 185 with the same force and effect as if set forth in
detail herein again.

187. The “Exoo Enterprise” is directed by defendant Christian Exoo a/k/a
“@AntiFashGordon,” and consists of associates St. Lawrence University, including their
employees and agents, Vijaya Gadde, and Twitter, Inc., including their employees and agents,

and unknown associates.

34
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 54 of 275 PagelD: 2468
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 35 of 46 PagelD: 955

188. Defendant Exoo used an interactive computer service to direct the Exoo
Enterprise’s patterns of racketeering activities as defined by N.J.S.A. 2C:41(a)(1) to extort
D’Ambly’s termination from the Daily News.

a. The Exoo Enterprise threatened the Daily News via Tweets and phone calls and
related activities prohibited by N.J.S.A. 2C:41-2.

b. Exoo Enterprise committed multiple prohibited by N.J.S.A. 2C:41(a)(1)(h).

c. Exoo Enterprise committed multiple prohibited by N.J.S.A. 2C:41(a)(1)(bb)

189. Asa direct result of the Exoo Enterprises patterns of racketeering activities,
D’Ambly was terminated from his employment.

190. As a direct and proximate result of Defendants’ patterns of racketeering activities
D’Ambly has suffered adverse consequences and continues to be damaged. D’Ambly is entitled
to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of
$75,000.00.

COUNT IX
Violations of 18 U.S.C. §§ 1962(c) — Racketeering
Multiple violations of RICO predicates 18 U.S.C. §§ 1951 and 1952
(as to all Plaintiffs against defendants Christian Exoo a/k/a “AntiFashGordon,” St.
Lawrence University, Vijaya Gadde, and Twitter, Inc., the “Exoo Enterprise”)

191. Plaintiffs reallege and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 190 with the same force and effect as if set forth in
detail herein again.

192. Each of the individuals and entities is a “person” within the meaning of 18 U.S.C.

§ 1961(3) who conducted the affairs of the enterprise, through a pattern of racketeering activity

in violation of 18 U.S.C. § 1962(c).

35
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 55 of 275 PagelD: 2469
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 36 of 46 PagelD: 956

193. The Exoo Enterprise is an enterprise within the meaning of 18 U.S.C. 1961(4),
directed by defendant Christian Exoo a/k/a “@AntiFashGordon,” and consisting of St. Lawrence
University, including their employees and agents, Vijaya Gadde, and Twitter, Inc., including
their employees and agents, and unknown associates. The Exoo Enterprise was created to dox
fascists and white supremacists in order to use the doxed information to conduct patterns of
racketeering activities to threaten violence, intimidate, harass, and extort others to achieve the
enterprises mission of causing employment terminations, educational expulsions, physical injury,
and personal harm to the persons doxed. The Exoo Enterprise functions as an organization and
continuing unit to effectuate patterns of racketeering activity.

194. Upon information and belief, multiple generations of Exoo’s family are or were
employed by St. Lawrence University and Exoo’s activities are well known to St. Lawrence
faculty and administrators, who allow Exoo to direct the enterprise from St. Lawrence property,
from his place of employment, during his normal work hours using St. Lawrence equipment and
information technology. St. Lawrence consents to Exoo’s use of St. Lawrence property to direct
the enterprise, and participates in the Exoo Enterprise, because they believe the patterns of
racketeering activities helps St. Lawrence’s achieve their global mission.

195. Exoo uses his employment, teaching, and lecturing at St. Lawrence with the
consent and approval of St. Lawrence to recruit students to join the Exoo Enterprise as
associates. In concert with other associates, the Exoo Enterprise, directed by Exoo created and
maintained systematic links for the common purpose of doxing targeted fascists and white

supremacists, and then threaten, harass, and extort others to cause harm to their targets.

36
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 56 of 275 PagelD: 2470
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 37 of 46 PagelD: 957

196. Atall times relevant, Gadde was the only Twitter employee authorized to
permanently ban Twitter users.’

197. Exoo is and was well known to Gadde and Twitter, because Gadde and Twitter
have twice before permanently banned Exoo due to habitual doxing.

198. Gadde and Twitter agreed to associate with the Exoo Enterprise when they
breached their own TOS to conspire with a recidivist ban evader, and permitted the enterprise
leader to create ban evasion account “@AntiFashGordon,” which Gadde and Twitter knew was
purposely created to dox unsuspecting persons, in order to direct associates in patterns of
racketeering activities.

199. Gadde and Twitter associate and participate in the Exoo Enterprise’s patterns of
racketeering, by virtue of their affirmative decision to allow Exoo, a three-time ban evader and
known habitual doxer, create a ban evasion account in direct contradiction of their TOS and
enforcement rules, through which, the Exoo Enterprise conducts its patterns of racketeering.

200. Upon information and belief Gadde and Twitter have received hundreds and
likely thousands of complaints directly to their individual Twitter accounts and through Twitter’s
TSC regarding the Exoo Enterprise’s doxing. But Gadde and Twitter choose to ignore the

avalanche of doxing and abusive behavior complaints and refuse to enforce their own policies in

 

1 Meet Vijaya Gadde, an Indian-born Twitter head who decides on blocking tweets, users, The
Economic Times, (Jan. 16, 2020) https://economictimes.indiatimes.com/tech/internet/meet-
vijaya-gadde-an-indian-born-twitter-head-who-decides-on-blocking-
tweets/articleshow/73281445.cms, last accessed September 12, 2020. See also, Twitter’s Top
Lawyer Is Final Word On Blocking Tweets — Even Donald Trump’s, Bloomberg.com,(Jan. 15,
2020) https://www.bloomberg.com/news/articles/2020-01-15/twitter-s-gadde-is-final-word-on-
blocking-tweets-even-trump-s, last accessed September 12, 2020; Meet Twitter’s top lawyer,
who has the final word on blocking tweets — including Donald Trump’s, Fortune.com, (Jan. 15,
2020) https://fortune.com/2020/01/15/twitter-top-lawyer-vijaya-gadde-blocks-tweets-donald-
trump/, last accessed September 12, 2020.

37
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 57 of 275 PagelD: 2471
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 38 of 46 PagelD: 958

order to facilitate the patterns of racketeering activities directed by known ban evasion account,
@AntiFashGordon.

201. Gadde personally participates in, and benefits from the Exoo Enterprise’s patterns
of racketeering activities, because she has publicly stated her personal disdain for fascists and
white supremacists, and she is “very, very focused on that...the KKK, the American Nazi Party,”
because that “was what my parents had to deal with” where she grew up on the Texas-Louisiana
border. Gadde participates in the Exoo Enterprise, because of an Oresteian desire to avenge her
parents perceived mistreatment. Gadde and Twitter are the lynchpin of the Exoo Enterprise.
Without Gadde and Twitter’s consent and participation, the Exoo Enterprise could not conduct
its patterns of racketeering activities.

202. Twitter benefits economically from the Exoo Enterprise’s patterns of racketeering
activities, because @AntiFashGordon has an extremely large Twitter following, one of the
largest follower bases of all Twitter users, and the account drives a tremendous amount of
internet traffic to Twitter. Greater traffic to their site increases Twitter’s ad revenue.

203. Twitter benefits socially from the Exoo Enterprise’s patterns of racketeering
activities because the Exoo Enterprise’s doxing of fascists and white supremacists imparts a
social benefit on Twitter as it is seen as a defender of “marginalized communities” and provides
cover for their stated business goal of creating what Twitter describes as “safer” conversations.

204. The Exoo Enterprise engages in and affects interstate commerce, because, inter

alia, it threatens violence to persons and property of others throughout the United States in

 

8 Twitter ’s Kayvon Beykpour and Vijaya Gadde: the Code Conference interview (transcript),
Vox.com (June 27, 2019) https://www.vox.com/recode/2019/6/27/18760444/twitter-kayvon-
beykpour-vijaya-gadde-kara-swisher-peter-kafka-code-conference-interview-transcript, last
accessed September 12, 2020.

38
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 58 of 275 PagelD: 2472
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 39 of 46 PagelD: 959

furtherance of a plan that reaches into the several states to disrupt economic activity. The Exoo
Enterprise has caused severe economic hardship to Plaintiffs and negatively impacted local
economies throughout the United States.

205. Pursuant to and in furtherance of their violent doxing campaign, Defendants
directed and participated in the affairs of the Exoo Enterprise through patterns of racketeering
activity, including multiple acts indictable under 18 U.S.C. §§ 1951 (Interference with commerce
by threats or violence) and 1952 (use of interstate facilities to conduct unlawful activity).

206. The conduct of the Exoo Enterprise described above constitutes “racketeering
activity” within the meaning of 18 U.S.C. § 1961(1). Defendants’ decisions and activity in
connection with the Exoo Enterprise to routinely conduct its transactions in such a manner
constitutes “patterns of racketeering activity” within the meaning of 18 U.S.C. § 1961(5).

207. By virtue of these violations of 18 U.S.C. § 1962(c), Defendants are liable to
Plaintiffs for three times the damages sustained, plus the costs of this suit, including reasonable
attorneys’ fees.

208. Asa direct and proximate result of Defendants patterns of racketeering activity
Plaintiffs have suffered adverse consequences and continue to suffer adverse consequences in an
amount to be determined at trial, but which is in excess of $75,000.00. Plaintiffs are entitled to
compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable
attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

COUNT X
Violation of 18 U.S.C. § 1962(d) (Conspiracy)

(as to all Plaintiffs against defendants Christian Exoo a/k/a “AntiFashGordon,” St.
Lawrence University, Vijaya Gadde, and Twitter, Inc., the “Exoo Enterprise”)

39
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 59 of 275 PagelD: 2473
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 40 of 46 PagelD: 960

209. Plaintiffs reallege and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 208 with the same force and effect as if set forth in
detail herein again.

210. Section 1962(d) of RICO provides “shall be unlawful for any person to conspire
to violate any provisions of subsection (a), (b), or (c) of this section.”

211. Defendants have violated 18 U.S.C. § 1962(d) by conspiring to associate and
participate in the Exoo Enterprise’s patterns of racketeering activities as defined in 18 U.S.C.
1962(c). The object of this conspiracy is to conduct, direct and participate in, directly or
indirectly, the Exoo Enterprise’s patterns of racketeering activity.

212. Defendants’ have engaged in numerous overt and predicate racketeering acts in
furtherance of the conspiracy, including threatening, intimidating, and extorting others to cause
harm to their targets.

213. The nature of the above-described acts of Defendants’ and co-conspirators acts in
furtherance of the conspiracy gives rise to an inference that they not only agreed to the objective
of an 18 U.S.C. 1962(d) violation, but they were aware that their ongoing extortionate acts have
been, and are part of an overall pattern of racketeering activity demonstrated through related and
continuous acts.

214. Defendants sought to and have engaged in the commission of, and continue to
commit overt acts, including the following unlawful racketeering predicate acts:

a. Multiple instances of interference with commerce by threats of violence in
violation of 18 U.S.C. § 1951; and
b. Multiple instances of use of interstate facilities to conduct unlawful activity

violations of 18 U.S.C. § 1952.

40
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 60 of 275 PagelD: 2474
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 41 of 46 PagelD: 961

215. Asa direct and proximate result of Defendants’ multiple overt acts and predicate
acts in furtherance of the Exoo Enterprise, in violation of 18 U.S.C. § 1962(d), by conspiring to
violate 18 U.S.C. 1962(c), D’Ambly has been and continues to be injured by Defendants’
conduct.

216. By virtue of these violations of 18 U.S.C. § 1962(d), Defendants are liable to
D’Ambly for three times the damages sustained, plus the costs of this suit, including reasonable
attorneys’ fees.

217. Asadirect and proximate result of Defendants patterns of racketeering activity
Plaintiffs have suffered adverse consequences and continue to suffer adverse consequences in an
amount to be determined at trial, but which is in excess of $75,000.00. Plaintiffs are entitled to
compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable
attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

COUNT XI
Negligent Entrustment
(as to all Plaintiffs against defendants Vijaya Gadde and Twitter, Inc.)

218. Plaintiffs reallege and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 217 with the same force and effect as if set forth in
detail herein again.

219. Exoo is a notorious and infamous doxer, who relies on Twitter to dox
unsuspecting people and direct his enterprise.

220. Due to habitual doxing and abusive behavior, Twitter has previously permanently

banned two accounts controlled by Exoo, @ChrisExoo and @ChristianExoo.

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 61 of 275 PagelD: 2475
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 42 of 46 PagelD: 962

221. Upon information and belief, Twitter received hundreds of complaints that Exoo
was habitually doxing under Twitter username @DoxSavage.

222. In lieu of a third permanent ban Twitter agreed to allow Exoo to undergo a
username change from @DoxSavage to @AntifashGordon, contrary to Twitter’s TOS.

223. Subsequent to Twitter’s agreement to allow Exoo to change his Twitter username
to @AntiFashGordon, Vijaya Gadde and Twitter’s Safety Council have received numerous
doxing complaints.

224. Gadde was the only person at Twitter with authority to decide permanent bans
and she knew Exoo is a habitual doxer, but she ignored that knowledge and agreed to allow him
to change his username and continue doxing.

225. Gadde recklessly ignored Twitter’s TOS against ban evasion accounts and
allowed Exoo to change his name from @DoxSavage to @AntiFashGordon, thereby, entrusting
Exoo with the instrumentality to direct the Exoo Enterprise’s patterns of racketeering activities.

226. Asa direct and proximate result of defendant Gadde and Twitter’s negligent

entrustment Plaintiffs have suffered adverse consequences and continue to suffer adverse
consequences. Plaintiffs are entitled to compensatory damages, equitable and declaratory relief,
punitive damages, costs, and reasonable attorneys’ fees in an amount to be determined at trial,
but which is in excess of $75,000.00.

COUNT XII

Breach of Implied Covenant of Good Faith — Promissory Estoppel
(as to all Plaintiffs against defendants Vijaya Gadde and Twitter, Inc.)

227. Plaintiffs reallege and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 226 with the same force and effect as if set forth in

detail herein again.

42
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 62 of 275 PagelD: 2476
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 43 of 46 PagelD: 963

228. Defendant Twitter’s TOS prohibit doxing and ban evasion accounts.

229. Defendant Twitter created a Trust and Safety Council department to investigate
TOS violations to remove abusive content and protect others from abusive behaviors of others.

230. Twitter created the Trust and Safety Council to prohibit abusive behavior by
Twitter users and promised victims of abusive behavior would be protected.

231. Gadde is the executive in charge of Twitter’s Trust and Safety council, and the
only person at Twitter with authority to allow Exoo to create a ban evasion account.

232. Twitter allowed Exoo to create a ban evasion account fully aware he was a
habitual doxer, who used Twitter to harm others.

233. Exoo as @AntiFashGordon doxed Plaintiffs and violently threatened others with
violence, including employers and former co-workers in order to extort Plaintiffs’ termination.

234, Gadde, Twitter Support and Twitter Trust and Safety received contemporaneous
complaints that @AntiFashGordon doxed Plaintiffs, but took no action.

235. Twitter refused to protect Plaintiffs the Exoo Enterprise’s abusive behavior and
have not removed Plaintiffs doxed information or banned the Exoo Enterprise, who continue to
abuse and dox.

236. Twitter assumed liability for the harm that flows from defendant Exoo’s doxing
when they neglected to remove Plaintiffs’ doxed information in violation of their TOS.

237. Asadirect and proximate result of defendant Gadde and Twitter’s breach of their
assumed duty to remove Plaintiffs doxed private information Plaintiffs have suffered adverse
consequences and continue to suffer adverse consequences. Plaintiffs are entitled to
compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable

attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

43
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 63 of 275 PagelD: 2477
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 44 of 46 PagelD: 964

COUNT XIII
Legal Malpractice

(as to D’Ambly against defendant Cohen, Weiss, and Simon, L.L.P.)

238. D’Ambly repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 237 with the same force and effect as if set forth in
detail herein again.

239. Asa result of their personal revulsion of D’Ambly and his political beliefs CWS
failed to adequately represent and protect D’ Ambly’s rights.

240. Defendant CWS neglected to perform necessary case research, legal research, and
investigation of the accusations against D’ Ambly.

241. As aresult of CWS’s inadequate legal research and investigation they failed to
protect D’Ambly from the extortionate and criminal conduct of others.

242. As aresult of CWS’s failure to adequately investigate D’ Ambly’s doxing they
failed to learn that @AntiFashGordon publicly announced D’ Ambly’s termination on January
13, 2019, which occurred five days before his official termination date, and one day before the
purported “cause” of his termination was discovered.

243. CWS failed to challenge Brill’s blatant misrepresentations regarding the timing of
the alleged ‘cause’ of D’ Ambly’s termination.

244. CWS’s revulsion of D’Ambly and his political beliefs caused them to ignore an
obvious racially discriminatory pre-textual termination spotlighted by the private investigation,
last and final warning, and falsely claimed cause of D’Ambly’s termination.

245. Asa direct and proximate result of CWS’s legal malpractice that flowed from
their firmwide enmity of D’Ambly’s political beliefs D’ Ambly has suffered adverse

consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,

44
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 64 of 275 PagelD: 2478
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 45 of 46 PagelD: 965

equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an
amount to be determined at trial, but which is in excess of $75,000.00.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray for relief as follows:

1. Demands judgment against Defendants, jointly and severally, in an amount to be
determined at trial plus interest, including, but not limited to, all emotional distress, back pay,
punitive damages, liquidated damages, statutory damages, attorneys’ fees, costs, and
disbursements, and for such relief as the Court deems just and proper.

2. On Plaintiffs’ RICO claims: compensatory damages and enhancement of damages
Plaintiffs have sustained as a result of Defendants’ conduct as may be permitted under the
relevant statutes, such amount to be determined at trial, plus Plaintiffs costs in this suit, including
reasonable attorneys’ fees.

3. On Plaintiffs’ tortious interference, intrusion upon seclusion, stalking and
harassment claims: compensatory and punitive damages in an amount to be determined at trial.

4, On D’Ambly’s State claims against the Tribune and Daily News: compensatory
damages and enhancement of damages he sustained as a result of the Tribune and Daily News’
conduct as may be permitted under the relevant statutes, such amount to be determined at trial,
plus Plaintiffs costs in this suit, including reasonable attorneys’ fees.

5. On D’Ambly’s legal malpractice claim: compensatory damages to be determined
at trial.

JURY DEMAND
Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand trial by

jury on all issues so triable.

45
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 65 of 275 PagelD: 2479
Case 2:20-cv-12880-JMV-JSA Document 66 Filed 03/25/21 Page 46 of 46 PagelD: 966

Respectfully Submitted,
LAW OFFICE OF PATRICK TRAINOR
Attornepyjfor D’Ambly

 

 

Dated: March 25, 2021 Patrick Trainor
848 Paterson Avenue
East Rutherford, New Jersey 07073
(201) 777-3327

pt@ptesq.com

46
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 66 of 275 PagelD: 2480

EXHIBIT “F”
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 67 of 275 PagelD: 2481

 

 

 

Clare Thompson
Sea eae ea Meee nee ee erence ee enna acne TET
From: Michael J. Canning
Subject: FW: D'Ambly v Exoo, et.al., Civil Action No. 2:20-cv-12880-JMV-JAD,
Giorda no Clare Thompson website

Legal Assistant
Halleran & ww ghclaw.com
CiesI Direct Dial: (732) 219-5482 - F: (732) 224-6599
lesia 125 Half Mile Road - Suite 300 - Red Bank, NJ 07701-6777
Attorneys at Law

 

 

 

From: Michael J. Canning

Sent: Tuesday, April 06, 2021 2:33 PM

To: ‘Patrick Trainor, Esq.' <pt@PTESQ.COM>

Subject: D'Ambly v Exoo, et.al., Civil Action No. 2:20-cv-12880-JMV-JAD,

Dear Mr Trainor,

As you know, this office represents defendant Cohen, Weiss and Simon L.L.P. (CWS). We have received a copy of the
Amended Complaint you have filed on behalf of plaintiff Daniel D’Ambly. The Amended Complaint contains no new or
different allegations against CWS from the original Complaint. On September 11,2020, we sent you a notice letter
advising that the original complaint violated Fed. R.Civ.P. 11. On November 17, 2020 we sent you a letter enclosing a
motion for sanctions under Rule 11 on behalf of CWS, and provided you with a 21 day safe harbor period in which to
dismiss the complaint as to CWS. We filed a motion to dismiss the Complaint which was returnable on December
7,2020.

You did not dismiss the Complaint but rather filed a motion to amend the Complaint. The court advised that in light of
the motion to amend the Complaint, the motion to dismiss would not be heard and would have to be refiled. The
motion to amend the Complaint was granted.

The allegations in the Amended Complaint remain identical as to CWS and the Amended Complaint has been filed in
violation of Rule 11 for the same reasons the original Complaint was, as set forth in our notice letter to you on
September 11,2020 and in the motion for sanctions delivered to you on November 17,2020. We adopt, and incorporate
as if set forth at length herein, the September 11,2020 notice letter and motion for sanctions served on November 17,
2020. This letter is sent to you as a demand under Rule 11 that the Amended Complaint be dismissed within the 21 safe
harbor provision of Rule 11. The failure to do so will result in the refiling of the motions to dismiss and for sanctions
which have previously been served upon you.

 

= Michael J. Canning, Esq. website | biography | vcard
Giorda no Shareholder
Co-Chair of the Litigation Department
Halleran & certiied civit Trial Attorney
= www.ghclaw.com
Ciesla Direct Dial: (732) 219-5482 - F: (732) 224-6599
Attornevs at 125 Half Mile Road - Suite 300 - Red Bank, NJ 07701-6777
VS ¢

LAW

 

 

 
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 68 of 275 PagelD: 2482

EXHIBIT “G”
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 69 of 275 PagelD: 2483
Case 2:20-cv-12880-JMV-JSA Document 74 Filed 04/22/21 Page 1 of 2 PagelD: 984

Michael J. Canning, Esq. (MJC3060)

GIORDANO, HALLERAN & CIESLA, P.C.

125 Half Mile Road, Suite 300

Red Bank, N.J. 07701-6777

(732) 741-3900

Attorneys for Defendant, Cohen, Weiss and Simon LLP

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY, Case No. 2:20-cv-12880-JMV-JSA

Plaintiff,
v. Civil Action
CHRISTIAN EXO0 a/k/a ANTIFASH COHEN, WEISS AND SIMON LLP’S
_| NOTICE OF MOTION TO DISMISS
GORDON; ST. LAWRENCE UNIVERSITY: COUNT XII OF PLUINiiRes
TRIBUNE PUBLISHING COMPANY: FP F

NEW YORK DAILY NEWS; VIJAY AMENDED COMPLAINT

GADDE; TWITTER, INC.; COHEN, WEISS
AND SIMON LLP,

MOTION DATE: July 6, 2021
Defendants.

 

 

PLEASE TAKE NOTICE that Giordano, Halleran & Ciesla, P.C.,
counsel for Defendant, Cohen, Weiss and Simon LLP (“CWS”), shall
move before the United States District Court for the District of
New Jersey, located at Clarkson S. Fisher Building & U.S.
Courthouse, 402 East State Street, Trenton, New Jersey, on July 6,
2021 at 9:00 a.m. or as soon thereafter as counsel may be heard,
for the entry of an Order dismissing Count XIII of the Plaintiff,
Daniel D’Ambly’s Amended Complaint with prejudice pursuant to

Federal Rule of Civil Procedure 12(c).
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 70 of 275 PagelD: 2484
Case 2:20-cv-12880-JMV-JSA Document 74 Filed 04/22/21 Page 2 of 2 PagelD: 985

PLEASE TAKE FURTHER NOTICE that in support of the application,
CWS shall rely upon the Certification of Michael J. Canning, Esq.
and Memorandum of Law.

PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

submitted herewith.

GIORDANO, HALLERAN & CIESLA, P.C.
Attorneys for Defendant, Cohen,
Weiss and Simon LLP

7 Yell p Corr

Michael J. Canning, Esq.

 

Dated: April 22, 2021

Docs #5037122-v1
 
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 72 of 275 PagelD: 2486
Case 2:20-cv-12880-JMV-JSA Document 74-2 Filed 04/22/21 Page 1 of 105 PagelD: 1004

Michael J. Canning, Esq. (MJC3060)

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(732) 741-3900

Attorneys for Defendant, Cohen, Weiss and Simon LLP

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY, Case No. 2:20-cv-12880-JMV-JSA

Plaintiff,

V. Civil Action
CERTIFICATION OF MICHAEL

CHRISTIAN EXO0 a/k/a ANTIFASH CANNING, ESQ.

GORDON; ST. LAWRENCE UNIVERSITY;
TRIBUNE PUBLISHING COMPANY;
NEW YORK DAILY NEWS; VIJAY

AND SIMON LLP,

Defendants.

 

 

MICHAEL J. CANNING, ESQ., by way of certification in lieu of affidavit, hereby states
as follows:

1. I am an attorney at law of the State of New Jersey and an officer and shareholder
in the law firm of Giordano, Halleran & Ciesla, P.C., attorneys for Cohen, Weiss and Simon LLP.
In this capacity I am familiar with the facts set forth herein.

2. Attached hereto as Exhibit “A” is a true and accurate copy of the September 21,
2020 Complaint and Jury Trial Demand filed by Plaintiff.

3. Attached hereto as Exhibit “B” is a true and accurate copy of the October 22, 2020

Answer to Plaintiff's Complaint filed by Cohen, Weiss and Simon LLP.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 73 of 275 PagelD: 2487
Case 2:20-cv-12880-JMV-JSA Document 74-2 Filed 04/22/21 Page 2 of 105 PagelD: 1005

4, Attached hereto as Exhibit “C” is a true and accurate copy of the March 25, 2021

First Amended Complaint filed by Plaintiff.

I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements are willfully false, I am subject to punishment.

Yokel b Corre

MICHAEL J. CANNING, ESQ.

 

DATED: APRIL 22, 2021

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 74 of 275 PagelD: 2488
Case 2:20-cv-12880-JMV-JSA Document 74-2 Filed 04/22/21 Page 3 of 105 PagelD: 1006

EXHIBIT “A”
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 75 of 275 PagelD: 2489
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Patrick Trainor, Esquire (Attorney ID 242682019)
LAW OFFICE OF PATRICK TRAINOR, EsQ., LILC
848 Paterson Avenue

Fast Rutherford, New Jersey 07073

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pt@ptesq.com

Attorney for Plaintiff Daniel D’Ambly

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY,
Plaintiff, CIVIL ACTION NO.:

VS.
COMPLAINT
CHRISTIAN EXO0O a/k/a ANTIFASH
GORDON; ST. LAWRENCE UNIVERSITY; JURY TRIAL DEMAND
TRIBUNE PUBLISHING COMPANY; NEW
YORK DAILY NEWS; VIJAYA GADDE;
TWITTER, INC; COHEN, WEISS AND
SIMON, LLP;

 

Defendants.

Plaintiff, Daniel D’Ambly by and through his attorney the Law Office of Patrick Trainor,
Esq., LLC, as and for its Complaint against defendants Christian Exoo a/k/a @AntifashGordon,
St. Lawrence University, Tribune Publishing Company, LLC, New York Daily News, Vijaya
Gadde, Twitter, Inc., and Cohen, Weiss, and Simon, LLP, hereby alleges as follows:

STATEMENT OF THE CASE

1. This action arises out of the repugnant conduct of defendant Christian Exoo, an
extortionist, known habitual doxer, and member of Antifa, associates with others to conduct
patterns of racketeering activities. Defendant Exoo under the Twitter username

“AntiFashGordon” directs his associates in the “Exoo Enterprise” to conduct violent and
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extortionate patterns of racketeering activities devoted to “doxing” complete strangers that the
Exoo Enterprise has labeled “fascists” and/or “white supremacists.” To “dox” someone means to
publicly disclose a person’s identity, employer, school, home address, etc., for the purpose of
causing harm to that person. Once the target has been doxed, Exoo directs the Enterprise to
commence a pattern of violent and threatening emails, Tweets, and phone calls to the target’s
employers, professional clients, schools, prospective employers or schools to extort the target’s
termination from employment, expulsion from school, and compel the targets exit from society.
Exoo is aware of the potential illegality of his directives, because he instructs his associates to
use the telephone *67 feature to block their phone numbers when making threatening calls.

Defendant Exoo identified D’Ambly as a white supremacist and thereafter, directed the
Exoo Enterprise to stalk him in order to learn his true identity. Upon discovering D’Ambly’s
identity, Exoo directed the enterprise to deluge D’ Ambly’s employer, the New York Daily News
their parent Tribune Publishing Company and D’Ambly’s labor union the Teamsters, with
violent and threatening Tweets, and phone calls threatening death and personal and physical
harm to their employees and property, in order to extort D’ Ambly’s termination. Defendant
Exoo unmistakably directs the Exoo Enterprise’s patterns of racketeering activities through
interstate communications.

One-person hellbent on destroying the lives of other persons, conspires with, participates
in, and directs an enterprise that engages in patterns of racketeering activities every day by using
interstate communications to threaten physical violence to extort and cause harm to their target.
The enterprise’s associates and co-conspirators include, a major religious university, top lawyer
of a publicly traded corporation and the publicly traded corporation. The Exoo Enterprise’s

associates are motivated by a shared disdain of people labeled fascists and white supremacists.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 77 of 275 PagelD: 2491
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THE PARTIES

2. Plaintiff Daniel D’Ambly (Hereinafter “Plaintiff” or “D’Ambly”), is a twenty-
seven (27) year member of Local One-L, Graphic Communications Conference of the
International Brotherhood of Teamsters, who was employed as a was a plate maker for the New
York Daily News in Jersey City, New Jersey until January 18, 2019. D’Ambly was labeled a
‘fascist’ and/or a ‘white supremacist.’ Plaintiff is an individual domiciled in the State of New
Jersey and a “person” as defined under 18 U.S.C. § 1961(3).

3. Defendant Christian Exoo (“Exoo” or “@AntiFashGordon”) is a library building
supervisor and lecturer at St. Lawrence University. Exoo is a self-described anti-fascist,
notorious doxer, and leader of Antifa, who by doxing others has acquired a great deal of
notoriety and infamy.! Exoo currently publishes Tweets under Twitter username
“@AntiFashGordon.” Exoo is an individual domiciled in the State of New York and a “person”
as defined under 18 U.S.C. § 1961(3).

4. St, Lawrence University (“St. Lawrence” or “STL”) is a private four-year
university with its principal place of business located at 116 Vilas Hall, 23 Romoda Drive,

Canton, New York 13617, and a “person” as defined under 18 U.S.C. § 1961(3).

 

| Anti-Fascists Are Waging A Cyber War — And They’re Winning, Medium.com (Sep. 9, 2019)
hitps://gen.medium.com/antifas-keyboard-warriors-254{62be2a95 (last accessed Sep. 15, 2020);
Comcast fires employee with alleged ties to Proud Boys, We the People Rally, PhillyVoice.com
(November 15, 2018) bttps://www.phillyvoice.com/comeast-fires-emplovee-proud-bovs-alt-
right-philadelphia-rally/ (last accessed Sep. 15, 2020); The Right Wing Is Trying to Make It a
Crime to Oppose Fascism, Truthout.org (Aug. 9, 2019) hitns://iruthout.org/articles/the-right-
wint-is-trving-to-make-it-a-crime-io-oppose-fascism/ (last accessed Sep. 15, 2020); How to Spot
An Abuser, Featuring Antifash Gordon, In His Own Words: A Step By Step Guide, and Also
F*** That Guy, Medium.com (Jun. 25, 2020)

hitosv/:nedium.com/@abuse isnt revolutionary/nuw-to-spot-an-abuser-featurin
gordon-in-his-own-abuser-words-7b3914657019 (last accessed Sep. 15, 2020).

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5. Tribune Publishing Company (“Tribune”) is a media company organized under
the laws of the State of Delaware with its principal place of business located at 160 N. Stetson
Avenue, Chicago, Illinois 60601 that conducts its business throughout the United States, and is a
“person” as defined under 18 U.S.C. § 1961(3).

6. New York Daily News Company (“Daily News”) is owned by the Tribune
Publishing Company (Tribune and Daily News are sometimes hereinafter referred to collectively
00000as Daily News) with a place of business located at 125 Theodore Conrad Drive, Jersey
City, New Jersey 07305, and 4 New York Plaza, New York, NY 10004. The Daily News is a
“person” as defined under 18 U.S.C. § 1961(3). At all times relevant, the Tribune Publishing
Company had the right and did exercise control over the actions of the New York Daily News.

7. Vijaya Gadde (“Gadde”) is the Head of Legal, Public Policy, and Trust and Safety
Lead at Twitter, Inc. At all times relevant, Vijaya Gadde was the sole decision maker and person
authorized to permanently ban Twitter users Owho violated Twitter’s Terms of Service and
Rules. She is a “person” as defined under 18 U.S.C. § 1961(3). Gadde is believed to be
domiciled in the State of California.

8. Twitter, Inc. (“Twitter”), is a company organized under the laws of the State of
Delaware with its principal place of business located at 1355 Market Street, San Francisco, CA
94103, that conducts its business globally and a “person” as defined under 18 U.S.C. § 1961(3).

9. The Exoo Enterprise is a criminal enterprise as defined under 18 U.S.C. §
1961(4), consisting of Defendant Christian Exoo a/k/a “AntiF ashGordon,” who directs the Exoo

Enterprise, St. Lawrence University, Vijaya Gadde, Twitter, Inc., and unidentified associates.
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10. Cohen, Weiss, and Simon, LLP (“CWS”) is a law firm with its principal place of
business located at 900 3" Avenue, #2100, New York, New York 10022 anda “person” as
defined under 18 U.S.C. § 1961(3).

JURISDICTION AND VENUE

11. Jurisdiction of this Court is proper because this litigation arises under federal law,
namely 18 U.S.C, §§ 1961 to 1968. This Court has jurisdiction over this matter under 28 U.S.C.
§ 1331.

12. The Court has supplemental jurisdiction over the state law claims asserted in this
case under 28 U.S.C. § 1367(a).

13. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) because a
substantial part of the events or omissions giving rise to the claims occurred in this District, and
the threatened and actual harm to Plaintiff occurred in this District by reason of Defendants’
conduct as alleged below.

FACTUAL ALLEGATIONS

14. In addition to being a Teamster, D’Ambly is a member of the New Jersey
European Heritage Association (“EHA”), a non-violent, pro-domestic policy organization that
the Exoo Enterprise has labeled a white supremacist hate group. D’Ambly, who the Exoo
Enterprise identifies as the leader of EHA, actively participates with other EHA members in
political rallies, peaceful political protests, pamphleteering, and speech that is protected by U.S.
Const. amend. J and N.J. Const. art. I, J 6.

15. Defendant Exoo publishes Tweets and doxes others using Twitter username
“@AntiFashGordon” the leading Antifa Twitter account that as of September 16, 2020, has

37,518 followers. The headline of @AntiFashGordon’s public profile states “I expose fascists
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via #OSINT, get thern fired, de-homed, kicked out of school, etc.” Based on the substance of
@AntiFashGordon’s Tweets he broadly identifies persons who do not share his radical far left
political ideology as fascists and/or white supremacists. Exoo’s definition of fascists and white
supremacists is indiscernible, because he uses the terms broadly and interchangeably.

16. | Upon information and belief, Exoo is known to Twitter’s Trust & Safety Council
(“TSC”) as a habitual doxer and ban evader. A ban evader is a person who creates a new Twitter
account after receiving a permanent ban. The ban evader’s new account is called a “ban evasion
account.”

17. Doxing is prohibited by Twitter’s Private Information Policy within their Terms
of Service and Rules (“TOS”).? Twitter’s TOS do not permit permanently banned persons to
create new accounts,’ a permanent ban means a lifetime ban.

18. | Upon information and belief, Exoo has had two Twitter accounts permanently
banned for doxing. Twitter has previously permanently banned @ChrisExoo,‘
@ChristianExoo,° in addition, Twitter allowed @DoxSavage to change its name
@AntiFashGordon.

19. | Upon information and belief, the Exoo Enterprise targeted D’ Ambly as a white
supremacist at some point in or about January 2018. Thereafter, Exoo directed his associates via

Twitter to uncover D’Ambly’s true identity, for the sole purpose of doxing him.

 

 

.twitter.com/en/rules-ang-policies/personal-information “You may not publish or
post other people’s private information without their express authorization and permission. We
also prohibit threatening to expose private information or incentivizing others to do so.”
 https://help.twitter.com/en/rules-and-policies/enforcement-options “Permanent suspension:
This is our most severe enforcement action. Permanently suspending an account will remove it
from global view, and the violator will not be allowed to create new accounts.”

* htwps://witter.com/ChrisEixeo (last accessed Sep. 15, 2020)
> httns://twitter.com/ChristianExoo (last accessed Sep. 15, 2020)

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20. Upon information and belief, by September 2018, Twitter received dozens of
complaints directly Tweeted to Twitter Support and Twitter Trust and Safety informing them
that Exoo’s previous Twitter account @DoxSavage was aggressively doxing, which forced
Twitter to investigate the accounts activities. Under Twitter’s normal protocol, accounts being
investigated for violating the TOS are prevented from Tweeting during the investigation. °

21. Twitter ignored their TOS and allowed @DoxSavage to continue Tweeting during
their investigation.

22. Upon information and belief, at some point on or about October 1, 2018, Gadde
and Twitter agreed to allow @DoxSavage to undergo a name change in lieu of a permanent ban.
Instead of receiving his third permanent ban, Twitter agreed to change Exoo’s usermame to
@AntiFashGordon. The unprecedented agreement to allow the name change under these
circumstances was done to ensure the approximate 20,000 @DoxSavage followers were not lost.

23. On October 11, 2018, @DoxSavage Tweeted a farewell announcement to his
followers: “Hey folks—I just underwent a name change from @DoxSavage to @AntiFash
Gordon. I'll be back tomorrow to expose more violent fascists who were on the ground in
Providence on 10/6.” The name change kept the Exoo Enterprise intact, and their ability to
effectively conduct its patterns of racketeering activities was not harmed.

24, On October 29, 2018, at 11:49 a.m., @AntiFashGordon published a massive
twenty-two count Tweet thread (a thread is a series of related Tweets) that doxed D’ Ambly to his
estimated 20,000 followers. The dox publicly disclosed for the first time D’ Ambly’s name,

hometown, photograph, employer, occupation, employer’s location, multiple telephone numbers

 

* hitns://help.twitter.com/en/rules-and-policies/enforcement-options (last accessed Sep. 15, 2020)
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for his employer, a labor union Referendum Board he chaired, and the names of the other
Referendum Board members.

25. Inthe dox, @AntiFashGordon labeled D’Ambly a “Nazi” and directed the Exoo
Enterprise associates to send harassing, intimidating, and threatening phone calls and Tweets to
the Daily News’s Twitter username @NYDailyNews, to extort D’Ambly’s termination. Exoo’s
dox directed:

a. Inthe 19" Tweet, @AntiFashGordon directed his associates “stay on top of this,

too. If you don’t hear back from @NYDailyNews, keep tweeting at them.” Call
their printing facilities in Jersey City at (201) ***-**** (gumber provided in
original Tweet) and warn them about Daniel D’Ambly...”

b. A follow up Tweet included a second telephone number for the New York Daily
News and a subsequent Tweet included the direct telephone number to
D’Ambly’s print shop.

c. Within minutes the Exoo Enterprise obeyed Exoo’s directive and flooded
@NYDailyNews and @Teamsters with Tweets and phone calls that threatened
the Daily News with violent attacks if D’Ambly was not terminated.

d. Upon information and belief, from October 29, 2018, to January 11, 2019, the
Exoo Enterprise directed no less than fifty-four (54) threatening Tweets to
@Daily News plus an unknown number of threatening phone calls.

e. D’Ambly was never told of the threats or warned to take safety precautions by
anyone from the Daily News or Tribune.

26. On October 30, 2018, without warning D’Ambly of the dangerous threats,

Tribune engaged Insite Risk Management (“Insite”) to investigate D’Ambly. At the conclusion
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Case 2;20-cv;12880-JMV-JSA Document 106 Filed 12/06/21 Page 83 of 275 PagelD:
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of their investigation, Insite produced the “Private Investigation Report” (“Report”) and provided
it to the Tribune on December 4, 2018. The Report acknowledged @AntiFashGordon’s doxing
was the impetus for the investigation and confirmed D’Ambly’s association with EHA. The
Report included videos of D’Ambly and others using imprudent language during political rallies.

27. On or before January 8, 2019, EHA posted flyers on public bulletin boards in
Princeton, New Jersey that announced an “It’s okay to be white” protest march purportedly
scheduled for January 12, 2019.

28. On January 9, 2019, @AntiFashGordon re-Tweeted the “It’s okay to be white”
march to his associates and again doxed D’Ambly by Tweeting, “If anyone wants their leaders
name, it’s Dan D’Ambly.”

29. On January 10, 2019, @AntiFashGordon published a second Tweet that
referenced EHA’s purported march and directed his associates to “show up and shut down” the
purported march “And please say hi to their leader, Dan D’Ambly for me.”

30, On January 10, 2019, D’Ambly was called to an interview with Jean Nechvatal
(“Nechvatal), Tribune’s Vice President, Talent Management & Learning and James R. Brill
(“Brill”), Daily News’s Sr. Vice President of Operations. D’Ambly was accompanied at the
meeting by Union Steward Pete Cairnie. During the meeting, D’Ambly was confronted with
content of the Report, but not informed of the report’s existence. D’Ambly acknowledged using
imprudent language in a private conversation during a protest.

31. On January 11, 2019, at 10:14 a.m., @AntiFashGordon again directed his
associates to shut down EHA’s purported January 12, 2019 “It’s okay to be white” march and
exhorted his associates “if you can, show up and show these pricks that we don’t tolerate hate in

our streets.” The Tweet included @NYDailyNews and doxed D’Ambly’s hometown again.
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Exoo encouraged violence to shut down the purported protest, but wamed “Remember that the
police won’t protect us here.”

32. Upon information and belief, at some point before 10:21 a.m. on January 11,
2019, Edward Bushey, Sr. Vice President, General Manager, Manufacturing and Distribution at
Tribune delivered recordings of the death threats to the Daily News. The callers threatened
D’Ambly and stated the Daily News was responsible for “any violence or blood spilled is also on
your hands.” One threatening caller’s phone number was captured.

33. On January 11, 2019, from 9:30 a.m. to 10:14 a.m., Twitter usernames
@hubcityantifa, @NYCAntifa, and @Nstricklanded replied via Tweet to @AntiFashGordon’s
instructions with coded messages that confirmed they followed his instructions and made threats.

34. | Upon reason and belief, one of the death threat phone numbers is owned by a
person who Tweeted mission confirmation to @AntiFashGordon on January 11, 2019.

35. On January 11, 2019, at 2:20 p.m., EHA Tweeted that the “It’s okay to be white”
protest was a prank.

36. On January 11, 2019, at 3:30 p.m., D’Ambly was called to a second meeting with
James Brill, Sr. Vice President of Operations for the Daily News to recap the previous days
meeting. In the meeting, Brill issued D’Ambly a “Last and Final Warning” that stated the
“ONLY reason that you are not being terminated immediately is because, thus far, we have not
determined that your activities with NJEHA has occurred at work and/or derogatory comments
were made about any co-workers.” The warning continued “should we learn that you engaged in
any inappropriate speech or behavior in the workplace or with regard to any other employee, or

if the Company or any of its employees suffer any backlash as a result of your association with

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the NJEHA, your conduct will be considered “work-related” and you will be terminated
immediately.”

37. This meeting with Brill was a pre-text for D’Ambly’s termination. The meeting
occurred five (5) hours after death threats were received, but Brill did not inform Plaintiff,
because the Daily News intended to use the threats as evidence the company received “backlash”
from D’Ambly’s conduct and was the “cause” of his termination.

38. At 4:34 p.m. on January 11, 2019, @AntiFashGordon replied to EHA’s Tweet by
threatening D’ Ambly whereby @AntiFashGordon threatened “Regardless, I’m gonna spend the
next week wrecking your fucking life, Dan D’Ambly.”

39. In the evening of January 11, 2019, the Exoo Enterprise’s extended campaign of
violent Tweets and threats of physical violence to D’Ambly came to fruition and his vehicle was
“keyed” (scratched) and tires slashed while parked outside of his home on private property. An
investigation report for a bias incident, criminal mischief, and harassment was filed with the
South Brunswick Police Department.

40. Plaintiff reported to work the following day on January 12, 2019, but was not
informed of the death threats received the day before.

Al. On Sunday, January 13, 2019, at 10:16 a.m., five (5) days before D’Ambly’s
official termination date @AntiFashGordon Tweeted to four of his associates that he “got a
preity reliable tip this morning that he’s not at the @NYDailyNews anymore...” in reference to
Plaintiff.

42. On Monday, January 14, 2019, the Daily News called D’Ambly and told him not

to report to work until informed otherwise.

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43. On January 16, 2019, during a phone conference with Brill, Nechvatal, and a
Union representative, D’ Ambly was played the recorded death threats and asked to identify the
caller. D’Ambly was unable to identify the caller, but said it was the behavior of “Antifa types.”
Brill was scomful of D’Ambly’s inability to identify the caller and blamed him for the threats.
D’Ambly was terminated during this phone conference.

44. On January 23, 2019, Patrick LoPresti, President of Local One-L informed the
Daily News that they were appealing D’Ambly’s termination pursuant to terms of the Contract.

45. On or about January 25, 2019, D’Ambly received his “Termination of
Employment” letter, , signed by Brill and dated January 22, 2019. The letter informed Plaintiff
his termination was effective January 18, 2019. The termination letter is imbued with Brill’s
animus for D’Ambly. In the letter, Brill stated “your choice to take these repulsive actions has
now put our workplace and employees at risk of counter attacks by Antifa.”

46. The termination letter falsely stated the Daily News learned of the death threats
on January 14, 2019, contrary to emails that confirm the Daily News learned of the threats on
January 11, 2019.

47. In the termination letter, Brill claimed the death threats received on J anuary 11,
2019, were the “cause” of D’Ambly’s termination, because the death threats meant D’Ambly
“brought his activities” into the workplace, therefore, “we deem your actions to be work related
and are terminating your employment for cause.”

48. At some point after January 23, 2019, the Union on behalf of D’Ambly filed a
grievance with the American Arbitration Association, case number 01-19-0000-7178. The

Union retained attorneys Thomas Kennedy (“Kennedy”) and Kate M. Swearengen

12
87 of 275 PagelD: 2501
Case 2:20-cy-12880-JMV-JSA Document 106 Filed 12/06/21 Page
Case 2°20-Cv12860-NVJSRCHetineht Fala! Gied/eay2FIage Pagé 15 Oh4OHPagelD: 1019

(“Swearengen”) of Cohen, Weiss, and Simon, LLP (collectively Kennedy, Swearengen and
Cohen. Weiss and Simon, LLP shall be referred to as “CWS”) to represent Plaintiff.

49. Thereafter, D’Ambly had a phone conference with Kennedy to discuss the case.
D’Ambly was acquainted with Kennedy for approximately twenty years due to his Union
activities. D’Ambly explained the threats he received, property damage, and that his tires were
slashed. D’Ambly stated “Tom, this Antifa are terrorists...” Kennedy angrily responded, “I do
not consider Antifa to be terrorists and if you are going to continue referring to them (Antifa) as
terrorists we are going to end this call.” Kennedy scoffed at D’Ambly’s desire to have his
employment reinstated at the Daily News.

50. At some point thereafter, D’Ambly had his first case discussion phone
conference with Kate Swearengen, who assumed representation. Without prompting,
Swearengen explicitly informed D’ Ambly that “she doesn’t agree with his politics and she
doesn’t want to discuss them any further.” Like Kennedy, Swearengen dismissed D’Ambly’s
wish to have his employment reinstated.

51. Kennedy and Swearengen’s revulsion of D’Ambly directed their representation
and they failed to adequately research basic facts favorable to D’Ambly’s wish to be reinstated.
CWS ignored Brill’s misrepresentation and veracity of the claimed “cause” of their client’s
termination.

52. CWS failed to adequately investigate the sources of the doxing campaign. Had
CWS engaged in reasonable investigation of the source of the dox they would have discovered
@AntiFashGordon’s January 13, 2019, announcement that D’Ambly was terminated, which was

one day before the Daily News claimed they learned of the “cause” of D’Ambly’s termination.

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 88 of 275 Pagel
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53. Qn or about July 15, 2019, D’Ambly dejectedly executed the “Separation
Agreement and Mutual General Release” negotiated by CWS that paid him a lump sum payment
in exchange the Union would withdraw the pending arbitration case with prejudice.

54. As aresult of Defendants’ misconduct D’Ambly has suffered substantial personal
and property damage and been severely financially harmed.

CLAIMS FOR RELIEF

 

COUNT I

Violation of New Jersey Law Against Discrimimation, N.J.S.A. 10:5-1 te — 49
(as to Defendants Tribune Publishing Company and the New York Daily News)

55. Plaintiff repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 54 with the same force and effect as if set forth in
detail herein again.

56. Defendants Tribune and Daily News are employers as defined in N.J.S.A. 10:5-5,

57. Plaintiff is older than forty years (40) old and was an employee as defined in
N.J.S.A. 10:5-5.

58. Defendants Tribune and Daily News discharged D’Ambly due to their ennity
towards his racially identifiable associations, whereas non-white Tribune and Daily News
employees who participate in racially identifiable associations are not punished or terminated,
violated N.J.S.A. 10:5-12.

59. Defendants Tribune and Daily News undertook several pre-textual steps to mask
D’Ambly’s discriminatory termination:

a. Tribune hired a private investigation firm to invade D’Ambly’s privacy in an

unsuccessful effort to catch D’Ambly engaged in unlawful activity.

14
Case 2:20-Cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 89 of 275 PagelD: 2503
Case 23600: P2886 SMV SAP Boh ant 7 Hed Aiea dab 2Pecerayet HS dtaosPageID: 1021

b. In the moming of January 11, 2019, the Daily News received death threats
intended to extort D’Ambly’s termination that they did not immediately disclose,
because they intended to use the threats pre-textually as the “cause” of Plaintiff's
termination.

c. In the afternoon of January 11, 2019, the Daily News issued D’Ambly a “Last and
Final Warming,” that warned him he would be immediately terminated if it were
discovered he brought his political activities into the workplace, but they did not
inform or warn D’Ambly of the death threats earlier received.

d. D’Ambly was informed he was terminated on January 16, 2019.

e. Subsequently, D’Ambly received a “Termination of Employment” letter dated
January 22, 2019, whereby, the Daily News falsely stated they discovered the
death threats on January 14, 2019, contrary to indisputable evidence they received
the death threats on January 11, 2019, which meant he “brought his activities into
the workplace” after he was warned. Daily News cited this fabrication as the
“cause” of D’Ambly’s termination.

60. Asa direct and proximate result of defendants Tribune Publishing Company and
the New York Daily News racially discriminatory termination, D’ Ambly has suffered adverse
consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,
equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an
amount to be determined at trial, but which is in excess of $75,000.00.

COUNT
Tortious Interference with Prospective Economic Benefit

(as to defendant Christian Exeo a/k/a “AntiFashGordon”)

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 90 of 275 PagelD: 2504
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61. Plaintiff repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 60 with the same force and effect as if set forth in

detail herein again.

62. D’Ambly was rightfully entitled to pursue lawful employment with the Daily
News as a plate maker and dues paying member of the Union.

63. | _D’Ambly reasonably expected his employment to continue into the future and to
benefit economically from his employment.

64. Defendant Exoo knew D’Ambly was employed by the Daily News and
intentionally interfered with D’ Ambly’s prospective economic benefits to be gained from
continued employment.

65. Defendant Exoo intentionally and unjustifiably interfered with D’Ambly’s rights
to pursue a lawful business.

66. Defendant Exoo’s interference caused D’Ambly’s employer to terminate his
employment.

67. D’Ambly has suffered and will continue to suffer irreparable harm in the form of
damage to his reputation, loss of income and financial hardship as a result of Exoo’s
interference.

68. Asa direct and proximate result of defendant Exoo’s interference with
D’Ambly’s prospective economic benefits, D’Ambly has suffered adverse consequences and
continues to be damaged. D’Ambly is entitled to compensatory damages, equitable and
declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an amount to be
determined at trial, but which is in excess of $75,000.00.

COUNT HI

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Intrusion Upon Seclusion — Public Disclosure of Private Personal Information
(as to defendant Christian Exoe a/k/a “AutifashGorden”)

69. Plaintiff repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 68 with the same force and effect as if set forth in
detail herein again.

70. ‘In directing and carrying out a sustained effort to embarrass, defame and publicize
private facts, including D’Ambly’s home address and familial relations without his consent,
Defendant Exoo intentionally intruded upon the D’Ambly’s solitude and seclusion.

71. By conducting a sustained effort to embarrass, defame and publicize private facts
without the consent of the D’Ambly, including D’ Ambly’s home address and familial relations,
defendants intentionally intruded upon the D’Ambly’s solitude and seclusion.

72. Defendant Exoo intentionally intruded on D’Ambly’s solitude and seclusion in a
manner that is highly offensive to a reasonable person.

73. _D’Ambly did not consent to Defendants intrusion.

74. —_As a direct and proximate result of defendant Exoo’s intrusion upon his seclusion,
D’Ambly has suffered adverse consequences and continues to be damaged. D’Ambly is entitled
to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attormeys’ fees in an amount to be determined at trial, but which is in excess of
$75,000.00.

COUNT IV
Violation of N.J.S.A. 2C:33-4.1 and N.J.S.A. 2C:30-31(a) Cyber-Harassment and Stalking

(as to defendant Christian Exeo a/k/a “AntifashGordon”)

17
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 92 of 275 PagelD: 2506
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75. Plaintiff repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 74 with the same force and effect as if set forth in
detail herein again.

76. Defendant Exoo encouraged and incited others to violence against D’Ambly and
conducted an ongoing campaign that intruded D’Ambly’s life.

77. Defendant Exoo intentionally and knowingly sent, commented, and posted
D’Ambly’s private and involuntarily disclosed personal information to social media networking
sites to purposely harass, intimidate, and threaten D’Ambly.

78. By encouraging others to inflict physical harm to D’Ambly’s person and property.

79. By encouraging others to commit crimes against D’Ambly that resulted in
D’Ambly receiving death threats and sustaining physical damage to his personal property

80. Asa direct and proximate result of Defendant Exoo’s cyber-harassment and
stalking D’Ambly has suffered adverse consequences and continues to be damaged. D’ Ambly is
entitled to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of
575,000.00.

COUNT V
Violation of 18 U.S.C. § 875(c) ~ Interstate Communications
(as te defendant Christian Exoo a/k/a “AntiFashGeordon”)

81. Plaintiff repeats and incorporates herein by reference each and every one of the

allegations contained in paragraphs 1 through 80 with the same force and effect as if set forth in

detail herein again.

18
Page 93 of 275 PagelD: 2507
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21
Case 2°20: WAZBEO-SIMV.-ISRCWRiient Mlod GIGd.OA/22ane Pagé 22 Oh4@EPagelD: 1025

 

82. By using an interactive computer service to intentionally transmit threats of
physical violence to Plaintiff via interstate communications.

83. By directing an enterprise that is engaged in an interstate campaign of violent
threats to Plaintiff for the purpose of injuring and endangering D’Ambly’s personal safety.

84. By directing associates to “stay on top of this, too. If you don’t hear back from
@NYDailyNews, keep tweeting at them” Exoo transmitted threats in interstate commerce.

85. By explicitly threatening D’Ambly via an interactive computer service, by
Tweeting “Regardless, I’m gonna spend the next week wrecking your fucking life, Dan
D’Ambly” Exoo transmitted threats in interstate commerce.

86. Asa direct and proximate result of defendant Exoo’s use of interstate
communications to threaten and harm D’Ambly he suffered adverse consequences and continues
to be damaged. D’Ambly is entitled to compensatory damages, equitable and declaratory relief,
punitive damages, costs, and reasonable attorneys’ fees in an amount to be determined at trial,
but which is in excess of $75,000.00.

COUNT VI
Violation of 18 U.S.C. 2261A(2) Stalking
(as te defendant Christian Exoo a/k/a “AntiFashGordon”)

87. Plaintiff repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 86 with the same force and effect as if set forth in
detail herein again.

88. Beginning in or about January 2018, Defendant Exoo used an interactive
computer service to surveil and stalk D’Ambly with the intent to harass, intimidate, threaten, and

injure D’Ambly.

19
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 94 of 275 PagelD: 2508

Case 2:20-6v-T2880-IMV ISR Data crit: 74-2 Oe 040 2 PaowPagebSoPagslPagaD: 1026

89. As arresult of stalking D’Ambly, Defendant discovered D’Ambly’s true personal
identity and then disseminated the information using an interactive computer service with
instructions to associates to harass, intimidate, and endanger D’Ambly’s personal safety.

90. Defendant Exoo used an interactive computer service to direct others to harass,
intimidate, and threaten others in order to extort D’Ambly’s termination from lawful
employment.

91. Defendant Exoo’s conduct caused D’Ambly to reasonably fear for the safety of
himself and his family, and caused him to suffer severe emotional and financial distress.

92. As a direct and proximate result of defendant Exoo’s stalking in violation of 18
U.S.C. § 2261A(2) D’Ambly has suffered adverse consequences and continues to be damaged.
D*Ambly is entitled to compensatory damages, equitable and declaratory relief, punitive
damages, costs, and reasonable attorneys’ fees in an amount to be determined at trial, but which
is in excess of $75,000.00.

COUNT Vii
Employer’s Breach of its Duty to Warn
(as to Defendants Tribune Publishing Company and the New York Daily News)

93. Plaintiff repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 92 with the same force and effect as if set forth in
detail herein again.

94. Defendants Tribune and Daily News received a stream of death threats directed at
Plaintiff over a two and one-half month period, but they never wamed D’Ambly.

95. Defendants Tribune and Daily News never warmed D’ Ambly to take

precautionary measures as he entered or exited the workplace.

20
5 of 275 PagelD: 2509
Case 2:20-cv-12880-JMV-JSA_ Document 106 Filed 12/06/21 Page 9 ;
Case 2:°30-6V512880-IM VISA Bd aainent!7 4EDEE (247 Page aged ROPLORPAgalD: 1027

 

96. Defendants Tribune and Daily News did not take steps to increase the safety of
D’Ambly and other employees as they entered and exited the workplace.

97. Defendants Tribune and Daily News did not secure the workplace in order to
protect D’Ambly and others.

98. As he was not aware of the threats, D’Ambly could not take steps to protect
himself and his property and as a result his property was damaged on January 11, 2019.

99. Defendants Tribune and Daily News had a duty to warn their employee he was
the direct target of the death threats they received.

100. Asa direct and proximate result of defendants Tribune and Daily News’ failure to
warn D’Ambly has suffered adverse consequences and continues to be damaged. D’Ambly is
entitled to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of
$75,000.00.

COUNT VI
Violations of N.J.S.A 2C:41-1 to —-2C:41-6,2 (Racketeering)

{as to defendant Christian Exoo a/k/a “AntiFashGordon,” St, Lawrence University, Vijaya
Gadde, and Twitter, Inc., the “Exoo Enterprise”)

101. Plaintiff repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 100 with the same force and effect as if set forth in
detail herein again.

102. The “Exoo Enterprise” is directed by defendant Christian Exoo a/k/a
“AntiFashGordon,” and consists of associates St. Lawrence University, including their
employees and agents, Vijaya Gadde, and Twitter, Inc., including their employees and agents,

and unknown associates.

21
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 96 of 275 PagelD: 2510

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103. Defendant Exoo used an interactive computer service to direct the Exoo
Enterprise’s patterns of racketeering activities as defined by N.J.S.A. 2C:41(a)(1) to extort
D’Ambly’s termination from the Daily News.

a. The Exoo Enterprise threatened the Daily News via Tweets and phone calls and
related activities prohibited by N.J.S.A. 2C:41-2.

b. Exoo Enterprise committed multiple prohibited by N.J.S.A. 2C:41(a)(1)(h).

c. Exoo Enterprise committed multiple prohibited by N.J.S.A. 2C:41(a)(1)(bb)

104. As a direct result of the Exoo Enterprises patterns of racketeering activities,
D’Ambly was terminated from his employment.

105. As a direct and proximate result of Defendants’ patterns of racketeering activities
D’Ambly has suffered adverse consequences and continues to be damaged. D’Ambly is entitled
to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of
$75,000.00.

COUNT Ix
Violations of 18 U.S.C. §§ 1962(c) — Racketeering
Multiple violations of RICO predicates 18 U.S.C. §§ 1951 and 1952

(as to defendamt Christian Exoo a/k/a “AntiFashGordon,” St. Lawrence University, Vijaya
Gadde, and Twitter, Inc., the “Exoo Enterprise”)

106. Plaintiffrepeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 105 with the same force and effect as if set forth in

detail herein again.

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107. Each of the individuals and entities is a “person” within the meaning of 18 U.S.C.
§ 1961(3) who conducted the affairs of the enterprise, through a pattern of racketeering activity
in violation of 18 U.S.C. § 1962(c).

108. The Exoo Enterprise is an enterprise within the meaning of 18 U.S.C. 1961 (4),
directed by defendant Christian Exoo a/k/a “AntiFashGordon,” and consisting of St. Lawrence
University, including their employees and agents, Vijaya Gadde, and Twitter, Inc., including
their employees and agents, and unknown associates. The Exoo Enterprise was created to dox
fascists and white supremacists in order to use the doxed information to conduct patterns of
racketeering activities to threaten violence, intimidate, harass, and extort others to achieve the
enterprises mission of causing employment terminations, educational expulsions, physical injury,
and personal harm to the persons doxed. The Exoo Enterprise functions as an organization and
continuing unit to effectuate patterns of racketeering activity.

109. Upon information and belief, multiple generations of Exoo’s family are or were
employed by St. Lawrence University. Exoo’s activities are well known to St. Lawrence faculty
and administrators, who allow Exoo to direct the enterprise from St. Lawrence property, from his
place of employment, during his normal work hours using St. Lawrence equipment and
information technology. St. Lawrence consents to Exoo’s use of St. Lawrence property to direct
the enterprise, and participates in the Exoo Enterprise, because they believe the patterns of
racketeering activities helps St. Lawrence’s achieve their global mission.

110. Defendant Exoo uses his employment, teaching, and lecturing at St. Lawrence
with the consent and approval of St. Lawrence to recruit students to join the Exoo Enterprise as

associates. In concert with other associates, the Exoo Enterprise, directed by defendant Exoo

23
Case 2:20-Cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 98 of 275 PagelD: 2512
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created and maintained systematic links for the common purpose of doxing targeted fascists and
white supremacists, and then threaten, harass, and extort others to cause harm to their targets.

111. Atal times relevant, Gadde was the only Twitter employee authorized to
permanently ban Twitter users.7

112. Defendant Exoo is and was well known to Gadde and Twitter, because Gadde and
Twitter have twice before permanently banned Exoo due to habitual doxing.

113. Gadde and Twitter agreed to associate with the Exoo Enterprise when they
breached their own TOS to conspire with a recidivist ban evader, and permitted the enterprise
leader to create ban evasion account “@AntiFashGordon,” which Gadde and Twitter knew was
purposely created to dox unsuspecting persons, in order to direct associates in patterns of
racketeering activities.

114, Gadde and Twitter associate and participate in the Exoo Enterprise’s patterns of
racketeering, by virtue of their affirmative decision to allow Exoo, a three-time ban evader and
known habitual doxer, create a ban evasion account in direct contradiction of their TOS and
enforcement rules, through which, the Exoo Enterprise conducts its patterns of racketeering.

115. Upon information and belief Gadde and Twitter have received hundreds and

likely thousands of complaints directly to their individual Twitter accounts and through Twitter’s

 

” Meet Vijaya Gadde, an Indian-born T: witter head who decides on blocking tweets, users, The
Economic Times, (Jan. 16, 2020) htips://economictimes. indiatimes. com/tech/internet/meet-
vijava-gadde-an-indian-bom-twitter-head-wh. -decides-on-blocking-
tweets/articleshow/73281445.cms, last accessed September 12, 2020. See also, Twitter’s Top
Lawyer Is Final Word On Blocking Tweets — Even Donald T; rump 's, Bloomberg.com,(Jan. 15,
2020) httns:/Avww.bloombers.com/news/articles/?020-0 1-1 S/twitter-s-gadde-is-final-word-on-
blocking-tweets-sven-trump-s, last accessed September 12, 2020; Meet Twitter’s top lawyer,
who has the final word on blocking tweets — including Donald Trump’s, Fortune.com, (Jan. 15,
2020) https://fortune.com/2020/01/1 s/twitter-top-lawyer-vijava-gadde-blocks-twests-donald-
irump/, last accessed September 12, 2020.

 

   

 

24
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TSC regarding the Exoo Enterprise’s doxing. But Gadde and Twitter choose to ignore the
avalanche of doxing and abusive behavior complaints and refuse to enforce their own policies in
order to facilitate the patterns of racketeering activities directed by known ban evasion account,
@AntiFashGordon.

116. Gadde personally participates in, and benefits from the Exoo Enterprise’s patterns
of racketeering activities, because she has publicly stated her personal disdain for fascists and
white supremacists, and she is “very, very focused on that...the KKK, the American Nazi Party,”
because that “was what my parents had to deal with” where she grew up on the Texas-Louisiana
border.* Gadde participates in the Exoo Enterprise, because of an Oresteian desire to avenge her
parents perceived mistreatment. Gadde and Twitter are the lynchpin of the Exoo Enterprise.
Without Gadde and Twitter’s consent and participation, the Exoo Enterprise could not conduct
its patterns of racketeering activities.

117. Twitter benefits economically from the Exoo Enterprise’s patterns of racketeering
activities, because @AntiFashGordon has an extremely large Twitter following, one of the
largest follower bases of all Twitter users, and the account drives a tremendous amount of
intemet traffic to Twitter, which potentially increases Twitter’s ad revenue.

118. Twitter benefits socially from the Exoo Enterprise’s patterns of racketeering
activities because the Exoo Enterprise’s doxing of fascists and white supremacists imparts a
social benefit on Twitter as it is seen as a defender of “marginalized communities” and provides

cover for their stated business goal of creating what Twitter describes as “safer” conversations.

 

8 Twitter’s Kayvon Beykpour and Vijaya Gadde: the Code Conference interview (transcript),
Vox.com (June 27, 2019) hitps://wrww.vox.com/recode/2019/6/27/ 18760444/pwitter-kavvon-
bevkpour-vijaya-gadde-kara-swisher- eter-kafkca-code-conference-interview-transcrint, last
accessed September 12, 2020.

     

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2:20-Cv-12880-JMV-JSA_ Document 106 Filed 12/06/21 Page
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119. The Exoo Enterprise engages in and affects interstate commerce, because, inter
alta, it threatens violence to persons and property of others throughout the United States in
furtherance of a plan that reaches into the several states to disrupt economic activity. The Exoo
Enterprise has caused severe economic hardship to targeted persons, such as D’Ambly and
negatively impacted local economies throughout the United States.

120. Pursuant to and in furtherance of their violent doxing campaign, Defendants
directed and participated in the affairs of the Exoo Enterprise through patterns of racketeering
activity, including multiple acts indictable under 18 U.S.C. §§ 1951 Unterference with commerce
by threats or violence) and 1952 (use of interstate facilities to conduct unlawful activity),

121. The conduct of the Exoo Enterprise described above constitutes “racketeering
activity” within the meaning of 18 U.S.C. § 1961(1). Defendants’ decisions and activity in
connection with the Exoo Enterprise to routinely conduct its transactions in such a manner
constitutes “patterns of racketeering activity” within the meaning of 18 U.S.C. § 1961(5).

122. By virtue of these violations of 18 U.S.C. § 1962(c), Defendants are liable to
D’Ambly for three times the damages sustained, plus the costs of this suit, including reasonable
attorneys’ fees.

123. Asa direct and proximate result of Defendants patterns of racketeering activity
D’Ambly has suffered adverse consequences and continues to be damaged in an amount to be
determined at trial, but which is in excess of $75,000.00.

124. As a direct and proximate result of the Exoo Enterprise’s patterns of racketeering
activities D’Ambly has suffered adverse consequences and continues to be damaged. D’Ambly

is entitled to compensatory damages, equitable and declaratory relief, punitive damages, costs,

26
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 101 of 275 PagelD: 2515
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and reasonable attomeys’ fees in an amount to be determined at trial, but which is in excess of

$75,000.00.

COUNT X

 

Violation of 18 U.S.C. § 1962(d) (Conspiracy)

(as to defendant Christian Exeo a/k/a “AntifashGordon,” St. Lawrence University, Vijaya
Gadde, and Twitter, Inc., the “Exoo Huterprise”)

125. Plaintiff repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 124 with the same force and effect as if set forth in
detail herein again.

126. Section 1962(d) of RICO provides “shall be unlawful for any person to conspire
to violate any provisions of subsection (a), (b), or (c) of this section.”

127. Defendants have violated 18 U.S.C. § 1962(d) by conspiring to associate and
participate in the Exoo Enterprise’s patterns of racketeering activities as defined in 18 U.S.C.
1962(c). The object of this conspiracy is to conduct, direct and participate in, directly or
indirectly, the Exoo Enterprise’s patterns of racketeering activity.

128. Defendants have engaged in numerous overt and predicate racketeering acts in
furtherance of the conspiracy, including threatening, intimidating, and extorting others to cause
harm to their targets.

129. The nature of the above-described acts of Defendants and co-conspirators acts in
furtherance of the conspiracy gives rise to an inference that they not only agreed to the objective
of an 18 U.S.C. 1962(d) violation, but they were aware that their ongoing extortionate acts have
been, and are part of an overall pattern of racketeering activity demonstrated through related and

continuous acts.

27
Case 2:20-cv- 12880- x MN JSA Document 106 Filed 12/06/21 Page 102 of 275 PagelD: 2516
Case S38 GADAEI-ARRP Fdlod (Hi8dCA/2Faue Pagé 34 BRLOMPAGelD: 1034

   

130. Defendants sought to and have engaged in the commission of, and continue to
commit overt acts, including the following unlawful racketeering predicate acts:

a. Multiple instances of interference with commerce by threats of violence in
violation of 18 U.S.C. § 1951; and

b. Multiple instances of use of interstate facilities to conduct unlawful activity
violations of 18 U.S.C. § 1952.

131. Asa direct and proximate result of Defendants’ multiple overt acts and predicate
acts in furtherance of the Exoo Enterprise, in violation of 18 U.S.C. § 1962(d), by conspiring to
violate 18 U.S.C. 1962(c), Plaintiff has been and continues to be injured by Defendants’ conduct.

132. By virtue of these violations of 18 U.S.C. § 1962(d), Defendants are liable to
D’Ambly for three times the damages sustained, plus the costs of this suit, including reasonable
attorneys’ fees.

133. Asa direct and proximate result of Defendants patterns of racketeering activity
D’Ambly has suffered adverse consequences and continues to be damaged. D’Ambly is entitled
to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of
$75,000.00.

COUNT XI
Negligent Entrustment
(as to defendants Vijaya Gadde and Twitter, Inc.)

134, Plaintiff repeats and incorporates herein by reference each and every one of the

allegations contained in paragraphs 1 through 133 with the same force and effect as if set forth in

detail herein again.

28
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135. Defendant Exoo is a notorious and infamous doxer, who relies on Twitter to dox
unsuspecting people and direct his enterprise.

136. Due to habitual doxing and abusive behavior, Twitter has previously permanently
banned two accounts controlled by defendant Exoo, @ChrisExoo and @ChristianExoo.

137. Upon information and belief, Twitter received hundreds of complaints that
defendant Exoo was habitually doxing under Twitter usemame @DoxSavage.

138. In lieu of a third permanent ban Twitter agreed to allow defendant Exoo to
undergo a name change from @DoxSavage to @AntifashGordon, contrary to Twitter’s TOS.

139. Subsequent to Twitter’s agreement to allow defendant Exoo to change his Twitter
username to @AntiFashGordon, Vijaya Gadde and Twitter’s Safety Council have received
numerous doxing complaints.

140. Gadde was the only person at Twitter with authority to decide permanent bans
and she knew Exoo is a habitual doxer, but she ignored that knowledge and agreed to allow him
to change his username and continue doxing.

141, Gadde recklessly ignored Twitter’s TOS against ban evasion accounts and
allowed Exoo to change his name from @DoxSavage to @AntiF ashGordon, thereby, entrusting
Exoo with the instrumentality to direct the Exoo Enterprise’s patterns of racketeering activities.

142. Asa direct and proximate result of defendant Gadde and Twitter’s negligent
entrustment D’Ambly has suffered adverse consequences and continues to be damaged.

D’Ambly is entitled to compensatory damages, equitable and declaratory relief, punitive
damages, costs, and reasonable attorneys’ fees in an amount to be determined at trial, but which is

in excess of $75,000.00.

COUNT XU

29
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 104 of 275 PagelD: 2518
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Breach of Implied Covenant of Good Faith — Promissory Estoppel
(as to defendants Vijaya Gadde and Twitter, Ine.)

143. Plaintiff repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 142 with the same force and effect as if set forth in
detail herein again.

144. Defendant Twitter’s TOS prohibit doxing and ban evasion accounts,

145. Defendant Twitter created a Trust and Safety Council department to investigate
violations of their TOS to remove abusive content and protect others from abusive behaviors of
others.

146. Twitter’s created the Trust and Safety Council to prohibit abusive behavior by
Twitter users and promised victims of abusive behavior would be protected.

147, Gadde is the executive in charge of Twitter’s Trust and Safety council, and the
only person at Twitter with authority to allow Exoo to create a ban evasion account.

148. Defendant Twitter allowed defendant Exoo to create a ban evasion account fully
aware he was a habitual doxer, who used Twitter to harm others.

149. Defendant Exoo as @AntiFashGordon doxed D’Ambly, threatened violence to
D’Ambly and his employer to extort his termination.

150. Gadde, Twitter Support and Twitter Trust and Safety received contemporaneous
complaints that @AntiFashGordon doxed D’ Ambly, but took no action.

151. Twitter refused to protect Plaintiff from the Exoo Enterprise’s abusive behavior
and has not removed Plaintiff's doxed information or banned the Exoo Enterprise, who continues

to abuse and habitually dox.

30
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 105 of 275 PagelD: 2519
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152. Twitter assumed liability for the harm that flows from defendant Exoo’s doxing
when they neglected to remove D’Ambly’s doxed information in violation of their TOS.

153. As a direct and proximate result of defendant Gadde and Twitter’s breach of their
assumed duty to remove D’Ambly’s doxed private information D’ Ambly has suffered adverse
consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,
equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an
amount to be determined at trial, but which is in excess of $75,000.00.

COUNT Xi
Legal Malpractice
(as to defendant Cohen, Weiss, and Simon, LLP.)

154. Plaintiff repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 153 with the same force and effect as if set forth in
detail herein again.

155. As a result of their personal revulsion of D’Ambly and his political beliefs CWS
failed to adequately represent and protect D’Ambly’s rights.

156. Defendant CWS neglected to perform necessary case research, legal research, and
investigation of the accusations against D’Ambly.

157. As aresult of CWS’s inadequate legal research and investigation they failed to
protect D’Ambly from the extortionate and criminal conduct of others.

158. As a result of CWS’s failure to adequately investigate D’Ambly’s doxing they
failed to learn that @AntiFashGordon publicly announced D’Ambly’s termination on January
13, 2019, which occurred five days before his official termination date, and one day before the

purported “cause” of his termination was discovered.

31
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 106 of 275 PagelID: 2520
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159. CWS failed to challenge Brill’s blatant misrepresentations regarding the timing of
the alleged ‘cause’ of D’ Ambly’s termination.

160. CWS’s revulsion of D’Ambly and his political beliefs caused them to ignore an
obvious racially discriminatory pre-textual termination spotlighted by the private investigation,
last and final warning, and falsely claimed cause of D’ Ambly’s termination.

161. As a direct and proximate result of CWS’s legal malpractice that flowed from
their firmwide enmity of D’ Ambly’s political beliefs D’Ambly has suffered adverse
consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,
equitable and declaratory relief, punitive damages, costs, and reasonable attomeys’ fees in an ,
amount to be determined at trial, but which is in excess of $75,000.00.

FRAYER FOR RELIEF
WHEREFORE, Plaintiff pray for relief as follows:

1. Demands judgment against Defendants, jointly and severally, in an amount to be
determined at trial plus interest, including, but not limited to, all emotional distress, back pay,
punitive damages, liquidated damages, statutory damages, attorneys’ fees, costs, and
disbursements, and for such relief as the Court deems just and proper.

2. On Plaintiff's RICO claims: compensatory damages and enhancement of damages
Plaintiff has sustained as a result of Defendants’ conduct as may be permitted under the relevant
statutes, such amount to be determined at trial, plus Plaintiff's costs in this suit, including
reasonable attorneys’ fees;

3. On Plaintiff's tortious interference, legal malpractice, intrusion upon seclusion,
stalking and harassment claims: compensatory and punitive damages in an amount to be

determined at trial.

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 107 of 275 PagelD: 2521
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JURY DEMAND

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues so triable.

Dated: September 21, 2020

Respectfully Submitted,
LAW OFFICE OF PATRICK TRAINOR, Esq., LLC
Jor Plaintiff

 

48 Paterson Avenue
East Rutherford, New Jersey 07073
(201) 777-3327

pt@ptesq.com

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Case 2:20-cv-12880-JMV-JSA Document 106: F

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provided by local rules of court. This form,
purpose of initiating the civil docket sheet.

bAR EE AMES

approved by the Judicial C:

(b) County of Residence of First Listed Plaintiff MIDDLESEX
(EXCEPT IN U.S. PLAINTIFF CASES)

2} Ato: 5 (Firm Name, Address, and Telephone Number)
LAW OFFICE OF PATRICK TRAINOR

848 PATERSON AVENUE
EAST RUTHERFORD, NEW JERSEY 07073

WARS

The JS 44 civil cover sheet and the information contained herein neither replace nor supprement the filing
erence of the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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Attomeys (if Known)

 

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nD and service of pleadings or other papers as required
nited States in September 1974, is required for the use of the Clerk of Court for the

by law, except as

a//a AntiFashGordon; ST. LAWRENCE

UNIVERSITY; TRIBUNE PUBLISHING COMPANY, LLC; NEW YORK
DAILY NEWS; VIJAYA GADDE; TWITTER, INC., JOHN BOE 1-10
County of Residence of First Listed Defendant

(IN US. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

if. BASIS OF JURISDICTION (Ptace an “X" in One Box Only)

 

 

iL. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plainsiff

 

 

 

 

 

  

 

 

 

 

    

 

(Por Diversity Cases Only) and One Box for Defendant)
1 UWS. Government Ee 3 Federal Question PIF DEF PIF DEF
Plaimiff (U.S. Government Not a Party) Citizen of This Sinte G 1 © 1 Incorporated or Principal Place G4 04
of Business In This State
12 U.S. Government G4 Diversity Citizen of Another State O 2 G 2 Incorporated and Principal Place o5 a5
Defendant (indicate Citizenship of Parties in Itam HD of Business In Another State
Citizen or Subject ofa 683 GO 3 Foreign Nation O6 O86
Foreign Country
IV. NATURE OF SUIT (lace an “X" in One Box Only) Click here for: Nature of S 8.
Lome CONTRACT TORTS PORFETTURE/PENALTY BANKRUPT CY G TATU]
110 Insurance PERSONAL INJURY PERSONAL INJURY |G 625 Drug Related Seizure CF 422 Appeal 28 USC 158 €) 375 False Claims Act
OG 120 Marine © 310 Airplane © 365 Personal Injury ~ of Property 21 USC 881 [C3 423 Withdrawal O 376 Qui Tam (31 USC
0 130 Miller Act 0 315 Aimplane Product Product Liability & 690 Other 28 USC 157 3729{2))
OF 140 Negotiable Instument Liability © 367 Health Care/ G 400 State Reapportionment
150 Recovery of Overpayment (7 320 Assault, Libel & Pharmaceutical OFER' HTS Gi 410 Antitrust
& Enforcement of Judgment! Slander Personal Injury O 820 Copyrights € 430 Banks and Banking
& 151 Medicare Act © 330 Federal Employers’ Product Liability 830 Patent & 450 Commerce
G 152 Recovery of Defaulted Liability {9 368 Asbestos Personal G 835 Patent - Abbreviated 0 $60 Deportation
Student Loans G 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) G 345 Marine Product Liability G 840 Trademark Corrupt Organizations
Ci 153 Recovery of Overpayment Linbility PERSONAL PROPERTY LABOR SOC ry 6 480 Consumer Credit
of Veteran's Benefits (7 350 Motor Vehicle O 370 Other Fraud € 710 Fair Labor Standards O 86! HIA (1395 490 Cable/Sat TV
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© 490 Other Contract Product Liability © 380 Other Personal O 720 Labor/Management & 863 DIWC/DIWW (405(g)) Exchange
G 195 Contract Product Liability | 360 Other Personal Property Damage Relations G 864 SSID Title XVI CG 890 Other Statutory Actions
& 196 Franchise Injury © 385 Property Damage G 740 Railway Labor Act © 865 RSI (403(g)) O 893 Agricultural Acts
© 362 Personal Injury - Product Liability OG 75} Pamily and Medical & 893 Environmental Matters
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L REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 790 Other Labor Litigation FEDERAL TAXSDITS | Act
210 Land Condemnation C) 440 Other Civil Rights Habeas Corpus: 79] Employee Retirement C) 870 Taxes (U.S. Plaintift © 896 Arbitration
CG 220 Foreclosure C441 Voting G 463 Alien Detainee Income Security Act or Defendant) G 899 Administrative Procedure
G 230 Rent Lease & Ejectment G 442 Employment €3 510 Motions to Vacate © 871 IRS—Third Party Act/Review or Appeal of
& 240 Torts to Land CG 443 Honusing/ Sentence 26 USC 7609 Agency Decision
G 245 Tore Product Liability Accommodations © 530 General CG 950 Constitutionality of
290 Ail Other Real Property Gi 445 Amer, w/Disabilities -| 535 Death Penalty IMMIGRATION State Statutes
Employment Other: GF 462 Naturalization Application
Ci 446 Amer. w/Disabilities -]( $40 Mandamus & Other [C3 465 Otber Immigration
Other G 550 Civil Rights Actions
CG 448 Education C1 555 Prison Condition
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V., ORIGIN (Place an °X” in One Box Onty)

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Proceeding State Court Appellate Court Reopened Another District Litigation ~ Litigation -
(specify) Transfer Direct File

 

18 U.S.C. § 1962, 18 U.S.C. § 1964

Brief description of cause:

VL CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filin

@ (Be not cite jurisdictional statutes unless diversity):

Defendants committed multiple violations of 18 U.S.C. §§ 1954 and 1952

 

Vi. REQUESTED IN © CHECKIFTHISIS A CLASS ACTION

DEMAND §

CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.8-Cv.P. JURY DEMAND: Yes  HNo
Vil. RELATED CASE(S)
IF ANY (See instructions}: jQpce pe ER a
DATE / SLMATURE DATTORNEY OF RECORD
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FOR OFFICE USE ONLY f
RECEIPT # AMOUNT APPLYING FFP JUDGE MAG, JUDGE

 
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INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authonity For Civil Cover Sheet

The J8 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Cleric of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attomey filing a case should complete the form as follows:

Ia) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. Ifthe plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.) :

{c} Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

i. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), FR.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in-one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348, Suits by agencies and officers of the United States ave included bere.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "XX" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box | or 2 should be marked. ~
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section DI below; NOTE: federal question actions take precedence over diversity
cases.)

Mi. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Vv. Origin. Place an "X" in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441,
When the petition for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.
Multidistrict Litigation ~ Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.
Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Vi. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. De not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VE. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIE. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases. :

Date and Attorney Signature. Date and sign the civil cover sheet.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 110 of 275 PagelD: 2524
Case 2:20-cv-12880-JMV-JSA Document 74-2 Filed 04/22/21 Page 39 of 105 PagelD: 1042

EXHIBIT “B”
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Michael J. Canning, Esq. (032541984)

GIORDANO, HALLERAN & CIESLA, P.C.

125 Half Mile Road, Suite 300

Red Bank, N.J. 07701-6777

(732) 741-3900

Attorneys for Defendant, Cohen, Weiss and Simon LLP

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY, Case No. 2:20-cv-12880-JMV-JAD

Plaintiff,

Civil Action
Vv. ae
DEFENDANT COHEN, WEISS AND
SIMON LLP’S ANSWER TO
PLAINTIFF’S COMPLAINT, SEPARATE
DEFENSES, CROSSCLAIM FOR
CONTRIBUTION, CROSSCLAIM FOR
INDEMNIFICATION, ANSWER TO
CROSSCLAIMS, DEMAND FOR TRIAL
BY JURY, DEMAND PURSUANT TO R,

Defendants. | 4:18-2, DEMAND FOR ALLOCATION,
DEMAND FOR STATEMENT OF
DAMAGES, DESIGNATION OF TRIAL
COUNSEL, CERTIFICATIONS

CHRISTIAN EXO0O a/k/a ANTIFASH
GORDON; ST. LAWRENCE UNIVERSITY;
TRIBUNE PUBLISHING COMPANY;
NEW YORK DAILY NEWS; VIJAY
GADDE; TWITTER, INC.; COHEN, WEISS
AND SIMON, LLP,

 

 

Defendant Cohen, Weiss and Simon LLP (“CWS” or “Defendant’”) by way of Answer to

Plaintiff's Complaint hereby says as follows:

STATEMENT OF THE CASE
1, CWS makes no response to Plaintiffs Statement of the Case as the Statement does
not relate to CWS.
THE PARTIES
2. CWS admits that Plaintiff was a member of Local One-L, Graphic Communications

Conference of the International Brotherhood of Teamsters and was employed as a plate maker for

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the New York Daily News in Jersey City, New Jersey until January 18, 2019, and otherwise is
without knowledge or information sufficient to form a belief as to the truth of the allegations

contained in paragraph 2 of Plaintiff's Complaint.

3. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 3 of Plaintiff's Complaint.

4, Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 4 of Plaintiff's Complaint.

5. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 5 of Plaintiffs Complaint.

6. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 6 of Plaintiff's Complaint.

7. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 7 of Plaintiff's Complaint.

8. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 8 of Plaintiffs Complaint.

9. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 9 of Plaintiffs Complaint.

10. CWS admits that it is a law firm with a principal place of business located at 900
3" Avenue, #2100, New York, New York and neither admits nor denies the remaining allegations

contained in paragraph 10 of Plaintiff's Complaint as it calls for a legal conclusion.

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11. CWS neither admits nor denies the allegations contained in paragraph 11 of

Plaintiff's Complaint as it calls for a legal conclusion.

12. CWS neither admits nor denies the allegations contained in paragraph 12 of

Plaintiff's Complaint as it calls for a legal conclusion.

13. CWS neither admits nor denies the allegations contained in paragraph 13 of

Plaintiff's Complaint as it calls for a legal conclusion.

14. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 14 of Plaintiffs Complaint.

15. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 15 of Plaintiff's Complaint.

16. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 16 of Plaintiff's Complaint.

17. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 17 of Plaintiff's Complaint.

18. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 18 of Plaintiff's Complaint.

19. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 19 of Plaintiffs Complaint.

20. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 20 of Plaintiff’s Complaint.

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21. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 21 of Plaintiff's Complaint.

22. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 22 of Plaintiff's Complaint.

23. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 23 of Plaintiffs Complaint.

24. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 24 of Plaintiffs Complaint.

25. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 25 of Plaintiff's Complaint.

26. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 26 of Plaintiffs Complaint.

27. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 27 of Plaintiffs Complaint.

28. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 28 of Plaintiff's Complaint.

29. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 29 of Plaintiffs Complaint.

30. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 30 of Plaintiff’s Complaint.

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31. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 31 of Plaintiff's Complaint.

32. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 32 of Plaintiff's Complaint.

33. Defendant is without: knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 33 of Plaintiffs Complaint.

34. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 34 of Plaintiff's Complaint.

35. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 35 of Plaintiff's Complaint.

36. | Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 36 of Plaintiff's Complaint.

37. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 37 of Plaintiff's Complaint.

38. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 38 of Plaintiffs Complaint.

39. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 39 of Plaintiff's Complaint.

40. | Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 40 of Plaintiff’s Complaint.

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41. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 41 of Plaintiff's Complaint.

42. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 42 of Plaintiff's Complaint.

43. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 43 of Plaintiff's Complaint.

44. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 44 of Plaintiff's Complaint.

45. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 45 of Plaintiff's Complaint.

46. Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 46 of Plaintiff's Complaint.

47. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations contained in paragraph 47 of Plaintiff's Complaint.

48. Defendant admits that a grievance was filed with the American Arbitration
Association, Case Number 01-19-0000-7178, but denies the remaining allegations in paragraph 48
of Plaintiff's Complaint.

49, Defendant denies the allegations contained in paragraph 49 of Plaintiff's

Complaint.

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50. Defendant admits that Kate Swearengen informed Plaintiff during a phone
conversation that she did not agree with his politics and that she did not want to discuss them and
Defendant denies the remaining allegations contained in paragraph 50 of Plaintiffs Complaint.

51. Defendant denies the allegations contained in paragraph 51 of Plaintiff's
Complaint.

52. Defendant denies the allegations contained in paragraph 52 of Plaintiff's
Complaint.

53. CWS admits that Plaintiff executed a “Separation Agreement and Mutual General
Release” the terms of which speak for itself and denies the remaining allegations contained in
paragraph 53 of Plaintiff's Complaint.

54. Defendant denies the allegations contained in paragraph 54 of Plaintiff's
Complaint.

COUNTI

55. Defendant repeats and realleges its responses to paragraphs 1 through 54 of

Plaintiff's Complaint as if fully set forth herein.

56-60. CWS makes no response to the allegations in Count I of Plaintiff's Complaint as
the allegations do not pertain to CWS and CWS is without information sufficient to form a belief
as to the truth of the allegations contained in Count I of Plaintiff's Complaint and leaves Plaintiff

to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

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COUNT II
61. Defendant repeats and realleges its responses to paragraphs 1 through 60 of

Plaintiff's Complaint as if fully set forth herein.

62-68. CWS makes no response to the allegations in Count II of Plaintiff's Complaint as
the allegations do not pertain to CWS and CWS is without information sufficient to form a belief
as to the truth of the allegations contained in Count II of Plaintiff's Complaint and leaves Plaintiff

to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

COUNT fit

69. Defendant repeats and realleges its responses to paragraphs | through 68 of

Plaintiff's Complaint as if fully set forth herein.

70-74. CWS makes no response to the allegations in Count III of Plaintiff's Complaint as
the allegations do not pertain to CWS and CWS is without information sufficient to form a belief
as to the truth of the allegations contained in Count III of Plaintiff's Complaint and leaves Plaintiff

to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

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COUNT IV
75. Defendant repeats and realleges its responses to paragraphs 1 through 74 of

Plaintiff's Complaint as if fully set forth herein.

76-80. CWS makes no response to the allegations in Count IV of Plaintiff's Complaint as
the allegations do not pertain to CWS and CWS is without information sufficient to form a belief
as to the truth of the allegations contained in Count IV of Plaintiff's Complaint and leaves Plaintiff

to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

COUNT V
81. Defendant repeats and realleges its responses to paragraphs 1 through 80 of

Plaintiff's Complaint as if fully set forth herein.

82-86. CWS makes no response to the allegations in Count V of Plaintiff’'s Complaint as
the allegations do not pertain to CWS and CWS is without information sufficient to form a belief
as to the truth of the allegations contained in Count V of Plaintiffs Complaint and leaves Plaintiff

to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

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COUNT VI

87. Defendant repeats and realleges its responses to paragraphs 1 through 86 of

Plaintiff's Complaint as if fully set forth herein.

88-92. CWS makes no response to the allegations in Count VI of Plaintiffs Complaint as
the allegations do not pertain to CWS and CWS is without information sufficient to form a belief
as to the truth of the allegations contained in Count VI of Plaintiffs Complaint and leaves Plaintiff

to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

COUNT VII

93. Defendant repeats and realleges its responses to paragraphs 1 through 92 of

Plaintiff's Complaint as if fully set forth herein.

94-100. CWS makes no response to the allegations in Count VII of Plaintiff's
Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to
form a belief as to the truth of the allegations contained in Count VII of Plaintiff’s Complaint and

leaves Plaintiff to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

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COUNT VIII

101. Defendant repeats and realleges its responses to paragraphs 1 through 100 of

Plaintiffs Complaint as if fully set forth herein.

102-105. CWS makes no response to the allegations in Count VIII of Plaintiff's
Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to
form a belief as to the truth of the allegations contained in Count VIII of Plaintiff s Complaint and

leaves Plaintiff to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

COUNT IX
106. Defendant repeats and realleges its responses to paragraphs 1 through 105 of

Plaintiff's Complaint as if fully set forth herein.

107-124. CWS makes no response to the allegations in Count IX of Plaintiff's
Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to
form a belief as to the truth of the allegations contained in Count IX of Plaintiff's Complaint and

leaves Plaintiff to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiffs Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

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COUNT X
125. Defendant repeats and realleges its responses to paragraphs 1 through 124 of

Plaintiff's Complaint as if fully set forth herein.

126-133. CWS makes no response to the allegations in Count X of Plaintiff's
Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to
form a belief as to the truth of the allegations contained in Count X of Plaintiff's Complaint and

leaves Plaintiff to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

COUNT XI

134. Defendant repeats and realleges its responses to paragraphs 1 through 133 of

Plaintiff's Complaint as if fully set forth herein.

135-142. CWS makes no response to the allegations in Count XI of Plaintiffs
Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to
form a belief as to the truth of the allegations contained in Count XI of Plaintiff's Complaint and

leaves Plaintiff to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

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COUNT XII
143. Defendant repeats and realleges its responses to paragraphs 1 through 142 of

Plaintiff's Complaint as if fully set forth herein.

144-153. CWS makes no response to the allegations in Count XII of Plaintiff's
Complaint as the allegations do not pertain to CWS and CWS is without information sufficient to
form a belief as to the truth of the allegations contained in Count XII of Plaintiff’s Complaint and

leaves Plaintiff to his proofs.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

COUNT XIll

154. Defendant repeats and realleges its responses to paragraphs 1 through 153 of

Plaintiff's Complaint as if fully set forth herein.

155. Defendant denies the allegations contained in paragraph 155 of Plaintiffs

Complaint.

156. Defendant denies the allegations contained in paragraph 156 of Plaintiffs

Complaint.

157. Defendant denies the allegations contained in paragraph 157 of Plaintiffs

Complaint.

158. Defendant denies the allegations contained in paragraph 158 of Plaintiff's

Complaint.

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159. Defendant denies the allegations contained in paragraph 159 of Plaintiff's

Complaint.

160. Defendant denies the allegations contained in paragraph 160 of Plaintiff's

Complaint.

161. Defendant denies the allegations contained in paragraph 161 of Plaintiffs

Complaint.

WHEREFORE, Defendant demands judgment dismissing Plaintiff's Complaint and
denying any request for attorney’s fees and costs of suit, and such other relief as the Court deems

fair, equitable and just.

SEPARATE DEFENSES
FIRST SEPARATE DEFENSE

Plaintiffs Complaint herein fails to state a claim upon which relief can be granted and

Defendant CWS reserves the right to move at or before the time of trial to dismiss same.

SECOND SEPARATE DEFENSE

Plaintiff is estopped from proceeding with this alleged cause of action.

THIRD SEPARATE DEFENSE

Plaintiff has waived his right to bring this suit of action against Defendant CWS.

FOURTH SEPARATE DEFENSE

Plaintiffs action is barred by the doctrine of unclean hands.

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FIFTH SEPARATE DEFENSE

Insofar as Plaintiff's Complaint herein seeks damages against Defendant CWS, the

Complaint must be dismissed in that Plaintiff sustained no damage.

SIXTH SEPARATE DEFENSE

Plaintiff has executed a valid and binding release by the terms, effect and operation of
which Plaintiffhas released Defendant CWS from liability to Plaintiff for the incident and damages

complained of.

SEVENTH SEPARATE DEFENSE

There was no privity between the Plaintiff and Defendant CWS.

EIGHTH SEPARATE DEFENSE
Any and all injuries and damages sustained were the result of a third party over whom

Defendant CWS had no control.

NINTH SEPARATE DEFENSE

Demand and claim for contribution under the terms and conditions of the Joint Tortfeasors

Contribution Act (N.J.S.A. 2A:53A-1, et seq.) is made against all Co-defendants in this matter.

TENTH SEPARATE DEFENSE

Plaintiff has executed a valid and binding release by the terms, effect and operation of
which Plaintiff has released Defendant CWS from liability to Plaintiff for the incident and damages

complained of.

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ELEVENTH SEPARATE DEFENSE
Plaintiff's injuries are a result of his own intentional, wanton and malicious acts. Thus,

Plaintiff is barred from recovery.

TWELFTH SEPARATE DEFENSE

Defendant CWS is entitled to a determination of the percentage shares of responsibility of
all tortfeasors whose fault contributed to the claimed injuries and damages, as the obligation, if

any, of Defendant CWS to respond in damages should not exceed its percentage share.

THIRTEENTH SEPARATE DEFENSE
Defendant CWS acted on reasonable grounds and without malice, and, therefore, is not

responsible to Plaintiff for any alleged damages.

FOURTEENTH SEPARATE DEFENSE
Defendant CWS acted in accordance with accepted standards of care and Plaintiff's

Complaint must be dismissed.

FIFTEENTH SEPARATE DEFENSE

Defendant CWS owed no legal duty to Plaintiff.

SIXTEENTH SEPARATE DEFENSE

Defendant CWS breached no duty owed to Plaintiff.

SEVENTEENTH SEPARATE DEFENSE

Any action of Defendant CWS was not the proximate cause of any harm or loss to Plaintiff.

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EIGHTEENTH SEPARATE DEFENSE
Any damage sustained by Plaintiff was as a result of the actions of Plaintiff for which

Defendant CWS is not liable.

NINETEENTHSEPARATE DEFENSE
As there was no attorney client relationship between CWS and Plaintiff, CWS owed no

legal duty to Plaintiff.

TWENTIETH SEPARATE DEFENSE

Plaintiff's Complaint is frivolous and filed in bad faith and CWS adopts and incorporates
its September 30, 2020 letter and is entitled to recover its legal fees in defending this frivolous

action.

CROSSCLAIM FOR CONTRIBUTION

Defendant CWS denies liability with respect to Plaintiff's claims. However, if Defendant
CWS is adjudged liable, then Defendant CWS demands contribution from all Co-Defendants,

pursuant to the provisions of New Jersey Joint Tortfeasors Contribution Act, N.J.S.A.2A:53A.

CROSSCLAIM FOR INDEMNIFICATION

Defendant CWS denies any liability with respect to Plaintiff's claims. However, if
Defendant CWS is adjudged liable to Plaintiff, Defendant CWS demands equal indemnification

from the Co-Defendants.

ANSWER TO CROSSCLAIM

Defendant CWS, by way of answer to any and all Crossclaim which may be asserted

against Defendant CWS, says:

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Defendant CWS denies the allegations of any Crossclaims asserted by Co-Defendants and
Co-Defendants are not entitled to the relief sought.

WHEREFORE, Defendant CWS demands judgment dismissing any crossclaim plus costs.

DEMAND FOR TRIAL BY JURY

PLEASE TAKE NOTICE, that Defendant CWS demands a trial of the issues by a jury
of six.

DEMAND FOR ALLOCATION PURSUANT TOR. 4:7-5(c)

If any Co-Defendant settles prior to trial, answering Defendant CWS will seek an allocation
of the percentage of negligence by the fact finder against the settling Defendant. We will seek this
allocation, whether or not we have formally filed a Crossclaim against the settling Defendant. We
may rely upon the examination and cross-examination of expert witnesses at the time of trial, in
support of this allocation. You are being apprised of this pursuant to R. 4:7-5(c) and Young v.

Latta, 123 N.J. 584 (1991).

DEMAND FOR STATEMENT OF DAMAGES

Please take notice that Defendant CWS demands that Plaintiff furnish a statement of

damages claimed within the time proscribed by the Rules of Court.

DESIGNATION OF TRIAL COUNSEL

Michael J. Canning, Esq. is hereby designated as trial counsel.

CERTIFICATION

I hereby certify that true copies of the within pleading were timely served upon the

attorneys of record in this action and who have appeared pro se.

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CERTIFICATION PURSUANT TO R. 4:5-1

The undersigned herby certifies that this matter is not the subject of any other action
pending in any court or arbitration proceeding, and no other action or arbitration proceeding is
contemplated. The undersigned hereby certifies that he knows of no other parties who should be

joined in the action at this time.

GIORDANO HALLERAN & CIESLA, P.C.
Attorneys for Defendant, Cohen, Weiss and Simon LLP

| Yeckab § mr’

MICHAEL J. CANNING

 

Dated: October 22, 2020

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Case 2:20-cv-12880-JMV-JSA Document 74-2 Filed 04/22/21 Page 59 of 105 PagelD: 1062

EXHIBIT “C”
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Patrick Trainor, Esquire (Attorney ID 242682019)
LAW OFFICE OF PATRICK TRAINOR

848 Paterson Avenue

East Rutherford, New Jersey 07073

P: (201) 777-3327

pt@ptesq.com
Attorney for Plaintiffs

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY; AARON WOLKIND;
STEVE HARTLEY; RICHARD SCHWETZ;
JOBEL BARBOSA; MATTHEW CIVIL ACTION NO.: 2:20-cv-12880-JMV-JSA
REIDINGER; JOHN HUGO; SEAN-

MICHAEL DAVID SCOTT; THOMAS
LOUDEN; ZACHARY REHL; AMANDA FIRST AMENDED COMPLAINT TO ADD

REHL; K.R., a minor, by and through her PLAINTIFFS INJURED BEFORE
father ZACHARY REHL and her mother COMPLAINT WAS FILED ON
AMANDA REHL, MARK ANTHONY SEPTEMBER 21, 2020, AND
TUCCI, SUPPLMENTED COMPLAINT TO ADD
PLAINTIFF INJURED AFTER THE
Plaintiffs, COMPLAINT WAS FILED
vs. JURY TRIAL DEMAND

CHRISTIAN EXO0O a/k/a ANTIFASH
GORDON; ST. LAWRENCE UNIVERSITY;
TRIBUNE PUBLISHING COMPANY, LLC;
NEW YORK DAILY NEWS; VIJAYA
GADDE; TWITTER, INC; COHEN, WEISS
AND SIMON, LLP; UNNAMED
ASSOCIATES 1 — 100,

 

Defendants.

 

Plaintiffs, Daniel DDAmbly, Aaron Wolkind; Steven Hartley; Richard Schwetz; Jobel
Barbosa; Matthew Reidinger; John Hugo; Sean-Michael David Scott; Dean David Van Zandt,
Jr.; Thomas Louden; Steven Rosati; Zachary Rehl; Amanda Rehl; K.R. a minor, by and through
her father Zachary Rehl and her mother Amanda Rehl (hereinafter collectively referred to as

“Plaintiffs”) by and through their attorney the Law Office of Patrick Trainor, as and for their
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Complaint against defendants Christian Exoo a/k/a @AntifashGordon, St. Lawrence University,
Tribune Publishing Company, LLC, New York Daily News, Vijaya Gadde, Twitter, Inc., and
Cohen, Weiss, and Simon, LLP, hereby alleges as follows:
STATEMENT OF THE CASE

This action arises out of the repugnant conduct of defendant Christian Exoo (Hereinafter
“Exoo”), an extortionist, known habitual doxer, and member of Antifa, who associates with
others to conduct patterns of racketeering activities. Exoo under the Twitter username
“@AntiFashGordon” directs his associates in the “Exoo Enterprise” to conduct violent and
extortionate patterns of racketeering activities devoted to “doxing” complete strangers that the
Exoo Enterprise has labeled “fascists” and/or “white supremacists.” To “dox” someone means to
publicly disclose a person’s identity, employer, school, home address, etc., for the purpose of
causing harm to that person. Once the target has been doxed, Exoo directs enterprise associates
to commence a pattern of violent and threatening emails, Tweets, and phone calls to the target’s
employers, professional clients, schools, prospective employers, or schools to extort the target’s
termination from employment, expulsion from school, and compel the targets exit from society.

To execute their plan, enterprise associates engage in a practice referred to as
“dogpiling,” which is to conduct an all-out attack on both their target’s employer and co-workers
by flooding them with emails and phone calls and plastering negative messages and comments
throughout their entire online footprint, including Google reviews, Facebook posts, LinkedIn
posts, Twitter, etc., to label the employer a fascist, white supremacist company and the target’s
co-workers as the same. Associates conspire to ruin the target’s employer’s existing business
relationships and/or shame prospective clients from conducting business with them until their

target is terminated.
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Exoo is aware of the potential illegality of his directives, because he instructs his
associates to use telephone *67 feature to block their phone numbers when making threatening
calls.

On varied dates and times beginning in 2017, Exoo identified Plaintiffs as fascists and
white supremacists. Thereafter, Exoo directed enterprise associates to stalk Plaintiffs in order to
learn their true identity. Upon discovering Plaintiffs identity, Exoo directed associates to deluge
Plaintiffs’ employers with violent Tweets, phone calls, emails that threatened personal and
physical harm to the employer’s property and co-workers, in order to extort Plaintiffs’
terminations. Exoo unmistakably directs the enterprise’s patterns of racketeering activities
through interstate communications.

One-person hellbent on destroying the lives of other persons, conspires with, participates
in, and directs an enterprise that engages in patterns of racketeering activities every day by using
interstate communications to threaten physical violence to extort and cause harm to their target.
The enterprise’s associates and co-conspirators include, a major religious university, top lawyer
of a publicly traded corporation and the publicly traded corporation. Enterprise associates are
motivated by a shared disdain of people labeled fascists and white supremacists.

THE PARTIES

1. Daniel D’ Ambly (Hereinafter “D’ Ambly”), is a twenty-seven (27) year member
of Local One-L, Graphic Communications Conference of the International Brotherhood of
Teamsters, who was employed as a was a plate maker for the New York Daily News in Jersey
City, New Jersey until January 18, 2019. D’Ambly was doxed by Exoo on October 29, 2018. In
the dox D’Ambly was labeled a ‘fascist’ and/or a ‘white supremacist.’ D’ Ambly is a member of

the New Jersey European Heritage Association (“EHA”), a non-violent, pro-domestic policy
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organization that the Exoo Enterprise labeled a white supremacist hate group. D’Ambly, who
the Exoo Enterprise identifies as the leader of EHA, actively participates with other EHA
members in political rallies, peaceful political protests, pamphleteering, and speech that is
protected by U.S. Const. amend. I and N.J. Const. art. I, 6. D’Ambly is an individual
domiciled in the State of New Jersey and a “person” as defined under 18 U.S.C. § 1961(3).

2. Zachary Rehl (“Rehl”) was employed by New York Life Insurance Company in
Philadelphia when he was doxed by Exoo in or about August 2017, and labeled a fascist and
white supremacist. Rehl is an individual domiciled in the Commonwealth of Pennsylvania and a
“person” as defined under 18 U.S.C. § 1961(3).

3. Amanda Rehl (“AmReh!”) is the spouse of Zachary Rehl. AmRehl is an
individual domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18
U.S.C. § 1961@).

4, K.R. (“K.R.”), is the minor child of Zachary Rehl and Amanda Rehl. K.R. is an
individual domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18
U.S.C. § 19613).

5. Aaron Wolkind (“Wolkind’) was a Technical Support Specialist for Aerzen USA
Corporation (“Aerzen”) when he was doxed by Exoo on or about June 2019, and labeled a
fascist, white supremacist, and a neo-Nazi. Wolkind is an individual domiciled in the State of
Delaware and a “person” as defined under 18 U.S.C. § 1961(3).

6. Steven Hartley (“Hartley”), is a logistics manager for American Expediting
located in Folcroft, Pa. On November 29, 2018, he was doxed by Exoo and labeled a Nazi, racist

and white supremacist who was a threat to women and minorities. Hartley is an individual
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domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18 U.S.C. §
1961(3).

7. Mark Anthony Tucci (“Tucci”) was employed at Aldo’s Pizzarama in
Philadelphia when he was doxed by Exoo on December 10, 2018, and labeled a fascist, racist,
and white supremacist. Tucci is an individual domiciled in the Commonwealth of Pennsylvania
and a “person” as defined under 18 U.S.C. § 1961(3).

8. Richard Schwetz (“Schwetz”) was employed at Inova Payroll in Lancaster, Pa.,
when he was doxed by Exoo in or about June 2020, and labeled a fascist, racist, and white
supremacist. Schwetz is an individual domiciled in the Commonwealth of Pennsylvania and a
“person” as defined under 18 U.S.C. § 1961(3).

9. Jobel Barbosa (“Barbosa’’) is Puerto Rican and a permanently disabled veteran,
who was employed as a Detail Department Manager at Jaguar Land Rover Willow Grove, in
Willow Grove, Pa., when he was doxed by Exoo on June 22, 2019, and labeled a fascist, racist,
and white supremacist. Barbosa is an individual domiciled in the Commonwealth of
Pennsylvania and a “person” as defined under 18 U.S.C. § 1961(3).

10. | Matthew Reidinger (“Reidinger”) was employed in Coal Township, Pa. On
November 27, 2018, he was doxed by Exoo and labeled a fascist and white supremacist.
Reidinger is an individual domiciled in the Commonwealth of Pennsylvania and a “person” as
defined under 18 U.S.C. § 1961(3).

11. John Hugo (“Hugo”) was employed as a dispatch manager for Green and Yellow
Cab in Somerville, Massachusetts when he was doxed by Exoo on January 2, 2020, and labeled a
fascist and white supremacist. Hugo is an individual domiciled in the Commonwealth of

Massachusetts and a “person” as defined under 18 U.S.C. § 1961(3).
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12. Sean-Michael David Scott (“Scott”) was employed in Seattle, Washington when
he was doxed by Exoo on September 16, 2019, and labeled a fascist, white supremacist, and anti-
Semite. Scott is an individual domiciled in the State of Florida and a “person” as defined under
18 U.S.C. § 1961(3).

13. | Thomas Louden (“Louden”) is a 30-year volunteer firefighter and the appointed
Deputy Emergency Management Coordinator for Hilltown Township, Pennsylvania and was
employed as the Director of Managed Care at Thomas Jefferson University Hospital in
Philadelphia for twenty-three (23) years when he was doxed by Exoo on November 2, 2020.
Louden is an individual domiciled in the Commonwealth of Pennsylvania and a “person” as
defined under 18 U.S.C. § 1961(3).

14. Plaintiffs Wolkind, Hartley, Schwetz, Rehl, Barbosa, and Tucci are members of
the Philadelphia chapter of the Proud Boys (hereinafter “PPB” or “Proud Boys”). Plaintiff
Reidinger is a member of the Harrisburg chapter of the Proud Boys (“HPB”). The Proud Boys
are a diverse, multi-racial, multi-ethnic, fraternal, males-only drinking club, who consider
themselves “western chauvinists.”

15. Hugo is the President of Super Happy Fun America, a right of center civil rights
organization focusing on defending the American Constitution, opposing gender madness, and
defeating cultural Marxism. Super Happy Fun America is best known for organizing the 2019
Boston Straight Pride Parade. Hugo was the 2018 Republican Candidate for Massachusetts’ 5"
Congressional District.

16. Defendant Christian Exoo (“Exoo” or “@AntiFashGordon’”) is a library building
supervisor and lecturer at St. Lawrence University. Exoo is a self-described anti-fascist,

notorious doxer, and leader of Antifa, who by doxing others has acquired a great deal of
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 137 of 275 PagelD: 2551
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notoriety and infamy.' Exoo currently publishes Tweets under Twitter username
“@AntiFashGordon.” Exoo is an individual domiciled in the State of New York and a “person”
as defined under 18 U.S.C. § 1961(3).

17. St, Lawrence University (“St. Lawrence” or “STL”) is a private four-year
university with its principal place of business located at 116 Vilas Hall, 23 Romoda Drive,
Canton, New York 13617, and a “person” as defined under 18 U.S.C. § 1961(3).

18. Tribune Publishing Company (“Tribune”) is a media company organized under
the laws of the State of Delaware with its principal place of business located at 160 N. Stetson
Avenue, Chicago, Illinois 60601 that conducts its business throughout the United States, and is a
“person” as defined under 18 U.S.C. § 1961(3).

19. | New York Daily News Company (“Daily News”) is owned by the Tribune
Publishing Company (Tribune and Daily News are sometimes hereinafter referred to collectively
as “Daily News’) with a place of business located at 125 Theodore Conrad Drive, Jersey City,
New Jersey 07305, and 4 New York Plaza, New York, NY 10004. The Daily News is a
“person” as defined under 18 U.S.C. § 1961(3). At all times relevant, the Tribune Publishing

Company had the right and did exercise control over the actions of the New York Daily News.

 

' Anti-Fascists Are Waging A Cyber War — And They’re Winning, Medium.com (Sep. 9, 2019)
https://gen.medium.com/antifas-keyboard-warriors-254f62be2a95 (last accessed Sep. 15, 2020);
Comcast fires employee with alleged ties to Proud Boys, We the People Rally, Philly Voice.com
(November 15, 2018) https://www.phillyvoice.com/comcast-fires-employee-proud-boys-alt-
right-philadelphia-rally/ (last accessed Sep. 15, 2020); The Right Wing Is Trying to Make It a
Crime to Oppose Fascism, Truthout.org (Aug. 9, 2019) https://truthout.org/articles/the-right-
wing-is-trying-to-make-it-a-crime-to-oppose-fascism/ (last accessed Sep. 15, 2020); How to Spot
An Abuser, Featuring Antifash Gordon, In His Own Words: A Step By Step Guide, and Also
F*** That Guy, Medium.com (Jun. 25, 2020)
https://medium.com/@abuse_isnt_revolutionary/how-to-spot-an-abuser-featuring-antifash-
gordon-in-his-own-abuser-words-7b39f4657b19 (last accessed Sep. 15, 2020).

7
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 138 of 275 PagelD: 2552
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20. Vijaya Gadde (“Gadde”) is the Head of Legal, Public Policy, and Trust and Safety
Lead at Twitter, Inc. At all times relevant, Vijaya Gadde was the sole decision maker and person
authorized to permanently ban Twitter users who violated Twitter’s Terms of Service and Rules.
She is a “person” as defined under 18 U.S.C. § 1961(3). Gadde is believed to be domiciled in
the State of California.

21. Twitter, Inc. (“Twitter”), is a company organized under the laws of the State of
Delaware with its principal place of business located at 1355 Market Street, San Francisco, CA
94103, that conducts its business globally and a “person” as defined under 18 U.S.C. § 1961(3).

22. The Exoo Enterprise is a criminal enterprise as defined under 18 U.S.C. §
1961(4), consisting of Defendant Christian Exoo a/k/a “AntiFashGordon,” who directs the Exoo
Enterprise, St. Lawrence University, Vijaya Gadde, Twitter, Inc., and unidentified associates.

23. Cohen, Weiss, and Simon, LLP (“CWS”) is a law firm with its principal place of
business located at 900 3'¢ Avenue, #2100, New York, New York 10022 and a “person” as
defined under 18 U.S.C. § 1961(3).

JURISDICTION AND VENUE

24. Jurisdiction of this Court is proper because this litigation arises under federal law,
namely 18 U.S.C. §§ 1961 to 1968. This Court has jurisdiction over this matter under 28 U.S.C.
§ 1331.

25. | The Court has supplemental jurisdiction over the state law claims asserted in this
case under 28 U.S.C. § 1367(a).

26. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred in this District, and
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 139 of 275 PagelD: 2553
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the threatened and actual harm occurred in this District by reason of Defendants’ conduct as
alleged below.
FACTS PERTINENT TO ALL PLAINTIFFS

27. Defendant Exoo publishes Tweets and doxes other persons private and
undisclosed information under Twitter username “@AntiFashGordon” the leading Antifa Twitter
account that as of December 30, 2020, has 46,140 followers. The headline of
@AntiFashGordon’s public profile states “I expose fascists via #OSINT, get them fired, de-
homed, kicked out of school, etc.” Exoo’s definition of fascists and white supremacists is
indiscernible, because he uses the terms broadly and interchangeably. Based on the substance of
@AntiFashGordon’s Tweets he broadly identifies all persons who do not share his radical far left
political ideology as fascists and/or white supremacists.

28. Upon information and belief, Exoo is known to Twitter’s Trust & Safety Council
(“TSC”) as a habitual doxer and ban evader. A ban evader is a person who creates a new Twitter
account after receiving a permanent ban. The ban evader’s new account is called a “ban evasion
account,” and is prohibited by Twitter rules.” A permanent ban means a lifetime ban.

29. _Doxing is prohibited by Twitter’s Private Information Policy within their Terms
of Service and Rules (“TOS”).?

30. | Upon information and belief, in addition to Twitter’s agreement to allow Exoo to

change username @DoxSavage to @AntiFashGordon, Exoo has had two Twitter accounts

 

? https://help.twitter.com/en/rules-and-policies/enforcement-options “Permanent suspension: This
is our most severe enforcement action. Permanently suspending an account will remove it from
global view, and the violator will not be allowed to create new accounts.”

3 https://help.twitter.com/en/rules-and-policies/personal-information “You may not publish or
post other people’s private information without their express authorization and permission. We
also prohibit threatening to expose private information or incentivizing others to do so.”

9
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permanently banned for doxing. Twitter has previously permanently banned @ChrisExoo,*
@ChristianExoo.°

31. Exoo directs associates in an enterprise that uses interstate communications to
conduct patterns of racketeering activities.

32. Of their own volition, Exoo and associates identify persons as Nazis, fascists, and
white supremacists, which also includes any person Exoo and/or associates label homophobic,
transphobic, etc. Once a target has been identified Exoo and associates set about to learn the
personal identity of their unknown targets.

33. Once their targets’ identity is discovered, Exoo and associates commence patterns
of racketeering activities to extort employment terminations and compel school expulsions, by
directing waves of threatening phone calls, emails, Twitter messages, social media comments at
the target’s employers, co-workers, and school administrators.

34. Enterprise associates “dogpile” their target’s employers and co-workers with calls
to their direct work phone number and email address with continual calls and emails to every
employee and co-worker to extort the target’s termination. The practice eliminates a company’s
ability to conduct business.

35. To extort their target’s termination, enterprise associates harm his employer’s
existing and prospective business relationships by posting a flood of negative comments and
reviews to the employer’s social media and internet sites to use as leverage to extort their target’s

termination.

 

4 https://twitter.com/ChrisExoo (last accessed Sep. 15, 2020)
> https://twitter.com/ChristianExoo (last accessed Sep. 15, 2020)

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36. When an employer does not immediately terminate their target, Enterprise
associates directly contact and threaten their target’s employers’ customers to shame them from
continuing to do business with the target’s employer.

37. Asaresult of Exoo’s dox and direction of an enterprise engaged in threatening
patterns of racketeering activities as described above, every Plaintiff has received explicitly
violent threats against their life and the lives of their family, several Plaintiffs were physically
attacked about their person, sustained damage to their homes and property, and all Plaintiffs were
terminated from employment due to the enterprise’s patterns of racketeering activities.

DANIEL D’AMBLY

38. | D’Ambly repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

39. | Upon information and belief, the Exoo Enterprise targeted D’ Ambly as a fascist
and white supremacist at some point in or about January 2018. Thereafter, enterprise associates
stalked D’ Ambly to uncover his true identity, for the sole purpose of doxing him.

40. | Upon information and belief, by September 2018, Twitter received dozens of
complaints directly Tweeted to Twitter Support and Twitter Trust and Safety informing them
that Exoo’s former Twitter account @DoxSavage was aggressively doxing, which forced Twitter
to investigate the accounts activities. Under Twitter’s normal protocol, accounts being
investigated for violating the TOS are prevented from Tweeting during the investigation. °

41. | Twitter ignored their TOS and allowed @DoxSavage to continue Tweeting during

their investigation.

 

6 https://help.twitter.com/en/rules-and-policies/enforcement-options (last accessed Sep. 15, 2020)

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42. Upon information and belief, at some point on or about October 1, 2018, Gadde
and Twitter agreed to allow @DoxSavage to undergo a name change in lieu of a third permanent.
The unprecedented agreement to allow Exoo’s username change to @AntiFashGordon under
these circumstances was done to ensure he kept his approximate 15,000 @DoxSavage followers.

43. On October 11, 2018, @DoxSavage Tweeted a farewell announcement to his
followers: “Hey folks—lI just underwent a name change from @DoxSavage to @AntiFash
Gordon. I'll be back tomorrow to expose more violent fascists who were on the ground in
Providence on 10/6.” The name change kept the Exoo Enterprise intact, and their ability to
effectively conduct its patterns of racketeering activities was not harmed.

44. On October 29, 2018, at 11:49 a.m., @AntiFashGordon published a massive
twenty-two count Tweet thread (a thread is a series of related Tweets) that doxed D’Ambly to his
estimated 20,000 followers. The dox publicly disclosed for the first time D’ Ambly’s name,
hometown, photograph, employer, occupation, employer’s location, multiple telephone numbers
for his employer, a labor union Referendum Board he chaired, and the names of the other
Referendum Board members.

45. In the dox, @AntiFashGordon labeled D’ Ambly a “Nazi” and directed the Exoo
Enterprise associates to send harassing, intimidating, and threatening phone calls, and Tweets to
the Daily News’s Twitter username @NYDailyNews, to extort D’Ambly’s termination. Exoo’s
dox directed:

a. In the 19" Tweet, @AntiFashGordon directed his associates “stay on top of this,
too. If you don’t hear back from @NYDailyNews, keep tweeting at them.” Call
their printing facilities in Jersey City at (201) ***-**** (number provided in

original Tweet) and warn them about Daniel D’Ambly...”

12
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 143 of 275 PagelD: 2557
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b. A follow up Tweet included a second telephone number for the New York Daily
News and a subsequent Tweet included the direct telephone number to
D’Ambly’s print shop.

c. Within minutes the Exoo Enterprise obeyed Exoo’s directive and flooded
@NYDailyNews and @Teamsters with Tweets and phone calls that threatened
the Daily News with violent attacks if D’ Ambly was not terminated.

d. Upon information and belief, from October 29, 2018, to January 11, 2019, the
Exoo Enterprise directed no less than fifty-four (54) threatening Tweets to
@Daily News plus an unknown number of threatening phone calls.

e. D’Ambly was never told of the threats or warned to take safety precautions by
anyone from the Daily News or Tribune.

46. On October 30, 2018, without warning D’Ambly of the dangerous threats,
Tribune engaged Insite Risk Management (“Insite”) to investigate D’Ambly. At the conclusion
of their investigation, Insite produced the “Private Investigation Report” (“Report”) and provided
it to the Tribune on December 4, 2018. The Report acknowledged @AntiFashGordon’s doxing
was the impetus for the investigation and confirmed D’Ambly’s association with EHA. The
Report included videos of D’Ambly and others using imprudent language during political rallies.

47. On or before January 8, 2019, EHA posted flyers on public bulletin boards in
Princeton, New Jersey that announced an “It’s okay to be white” protest march purportedly
scheduled for January 12, 2019.

48. On January 9, 2019, @AntiFashGordon re-Tweeted the “It’s okay to be white”
march to his associates and again doxed D’Ambly by Tweeting, “If anyone wants their leaders

name, it’s Dan D’Ambly.”

13
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 144 of 275 PagelD: 2558
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49. On January 10, 2019, @AntiFashGordon published a second Tweet that
referenced EHA’s purported march and directed his associates to “show up and shut down” the
purported march “And please say hi to their leader, Dan D’Ambly for me.”

50. On January 10, 2019, D’Ambly was called to an interview with Jean Nechvatal
(“Nechvatal), Tribune’s Vice President, Talent Management & Learning and James R. Brill
(“Brill”), Daily News’s Sr. Vice President of Operations. D’Ambly was accompanied at the
meeting by Union Steward Pete Cairnie. During the meeting, D’ Ambly was confronted with
content of the Report, but not informed of the report’s existence. D’Ambly acknowledged using
imprudent language in a private conversation during a protest.

51. On January 11, 2019, at 10:14 a.m., @AntiFashGordon again directed his
associates to shut down EHA’s purported January 12, 2019 “It’s okay to be white” march and
exhorted his associates “if you can, show up and show these pricks that we don’t tolerate hate in
our streets.” The Tweet included @NYDailyNews and doxed D’Ambly’s hometown again.
Exoo encouraged violence to shut down the purported protest, but warned “Remember that the
police won’t protect us here.”

52. | Upon information and belief, at some point before 10:21 a.m. on January 11,
2019, Edward Bushey, Sr. Vice President, General Manager, Manufacturing and Distribution at
Tribune delivered recordings of the death threats to the Daily News. The callers threatened
D’Ambly and stated the Daily News was responsible for “any violence or blood spilled is also on
your hands.” One threatening caller’s phone number was captured.

53. On January 11, 2019, from 9:30 a.m. to 10:14 a.m., Twitter usernames
@hubcityantifa, @NYCAntifa, and @Nstricklanded replied via Tweet to @AntiFashGordon’s

instructions with coded messages that confirmed they followed his instructions and made threats.

14
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 145 of 275 PagelD: 2559
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54. Upon reason and belief, one of the death threat phone numbers is owned by a
person who Tweeted mission confirmation to @AntiFashGordon on January 11, 2019.

55. On January 11, 2019, at 2:20 p.m., EHA Tweeted that the “It’s okay to be white”
protest was a prank.

56. On January 11, 2019, at 3:30 p.m., D’Ambly was called to a second meeting with
James Brill, Sr. Vice President of Operations for the Daily News to recap the previous days
meeting. In the meeting, Brill issued D’Ambly a “Last and Final Warning” that stated the ~
“ONLY reason that you are not being terminated immediately is because, thus far, we have not
determined that your activities with NJEHA has occurred at work and/or derogatory comments
were made about any co-workers.” The warning continued “should we learn that you engaged in
any inappropriate speech or behavior in the workplace or with regard to any other employee, or
if the Company or any of its employees suffer any backlash as a result of your association with
the NJEHA, your conduct will be considered “work-related” and you will be terminated
immediately.”

57. This meeting with Brill was a pre-text for D’Ambly’s termination. The meeting
occurred five (5) hours after death threats were received, but Brill did not inform D’Ambly,
because the Daily News intended to use the threats as evidence the company received “backlash”
from D’Ambly’s conduct and was the “cause” of D’ Ambly’s termination.

58. At 4:34 p.m. on January 11, 2019, @AntiFashGordon replied to EHA’s Tweet by
threatening D’Ambly whereby @AntiFashGordon threatened “Regardless, I’m gonna spend the
next week wrecking your fucking life, Dan D’Ambly.”

59. In the evening of January 11, 2019, the Exoo Enterprise’s extended campaign of

violent Tweets and threats of physical violence to D’Ambly came to fruition and D’ Ambly’s

15
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 146 of 275 PagelD: 2560
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vehicle was “keyed” (scratched) and tires slashed while parked outside of his home on private
property. An investigation report for a bias incident, criminal mischief, and harassment was filed
with the South Brunswick Police Department.

60. | D’Ambly reported to work the following day on January 12, 2019, but was not
informed of the death threats received the day before.

61. On Sunday, January 13, 2019, at 10:16 a.m., five (5) days before D’Ambly’s
official termination date @AntiFashGordon Tweeted to four of his associates that he “got a
pretty reliable tip this morning that he’s not at the @NYDailyNews anymore...” in reference to
D’Ambly.

62. On Monday, January 14, 2019, the Daily News called D’ Ambly and told him not
to report to work until informed otherwise.

63. On January 16, 2019, during a phone conference with Brill, Nechvatal, and a
Union representative, D’ Ambly was played the recorded death threats and asked to identify the
caller. D’Ambly was unable to identify the caller, but said it was the behavior of “Antifa types.”
Brill was scornful of D’Ambly’s inability to identify the caller and blamed him for the threats.
D’Ambly was terminated during this phone conference.

64. On January 23, 2019, Patrick LoPresti, President of Local One-L informed the
Daily News that they were appealing D’Ambly’s termination pursuant to terms of the Contract.

65. On or about January 25, 2019, D’Ambly received his “Termination of
Employment” letter, signed by Brill, and dated January 22, 2019. The letter informed D’Ambly
his termination was effective January 18, 2019. The termination letter is imbued with Brill’s
animus for D’Ambly. In the letter, Brill stated “your choice to take these repulsive actions has

now put our workplace and employees at risk of counter attacks by Antifa.”

16
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 147 of 275 PagelD: 2561
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66. The termination letter falsely stated the Daily News learned of the death threats
on January 14, 2019, contrary to emails that confirm the Daily News learned of the threats on
January 11, 2019.

67. In the termination letter, Brill claimed the death threats received on January 11,
2019, were the “cause” of D’Ambly’s termination, because the death threats meant D’ Ambly
“brought his activities” into the workplace, therefore, “we deem your actions to be work related
and are terminating your employment for cause.”

68. At some point after January 23, 2019, the Union on behalf of D’Ambly filed a
grievance with the American Arbitration Association, case number 01-19-0000-7178. The
Union retained attorneys Thomas Kennedy (“Kennedy”) and Kate M. Swearengen
(“Swearengen”) of Cohen, Weiss, and Simon, LLP (collectively Kennedy, Swearengen and
Cohen. Weiss and Simon, LLP shall be referred to as “CWS”) to represent D’Ambly.

69. Thereafter, D’Ambly had a phone conference with Kennedy to discuss the case.
D’Ambly was acquainted with Kennedy for approximately twenty years due to his Union
activities. D’Ambly explained the threats he received, property damage, and that his tires were
slashed. D’Ambly stated “Tom, this Antifa are terrorists...” Kennedy angrily responded, “I do
not consider Antifa to be terrorists and if you are going to continue referring to them (Antifa) as
terrorists we are going to end this call.” Kennedy scoffed at D’Ambly’s desire to have his
employment reinstated at the Daily News.

70. At some point thereafter, D’Ambly had his first case discussion phone
conference with Kate Swearengen, who assumed representation. Without prompting,

Swearengen explicitly informed D’ Ambly that “she doesn’t agree with his politics and she

17
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 148 of 275 PagelD: 2562
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doesn’t want to discuss them any further.” Like Kennedy, Swearengen dismissed D’ Ambly’s
wish to have his employment reinstated.

71. | Kennedy and Swearengen’s revulsion of D’Ambly directed their representation
and they failed to adequately research basic facts favorable to D’ Ambly’s wish to be reinstated.
CWS ignored Brill’s misrepresentation and veracity of the claimed “cause” of their client’s
termination.

72. CWS failed to adequately investigate the sources of the doxing campaign. Had
CWS engaged in reasonable investigation of the source of the dox they would have discovered
@AntiFashGordon’s January 13, 2019, announcement that D’Ambly was terminated, which was
one day before the Daily News claimed they learned of the “cause” of D’Ambly’s termination.

73. On or about July 15, 2019, D’Ambly dejectedly executed the “Separation
Agreement and Mutual General Release” negotiated by CWS that paid D’Ambly a lump sum
payment in exchange the Union would withdraw the pending arbitration case with prejudice.

74. Asaresult of Defendants’ misconduct D’Ambly has suffered substantial personal
and property damage and been severely financially harmed.

ZACHARY REHL

75. Rehl repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

76. Exoo doxed Rehl for the first time on or about August 2, 2017, and labeled him a
fascist and a white supremacist because Rehl organized a “Back the Blue” march to support
police officers and first responders in Philadelphia.

77.  Exoo directed enterprise associates to contact Rehl’s former employer New York

Life Insurance Company to extort Rehl’s termination. As in all cases, enterprise associates

18
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 149 of 275 PagelD: 2563
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complied with Exoo’s directions and placed threatening calls, emails, and Tweets to New York
Life Insurance Company.

78.  Rehl was terminated from New York Life Insurance Company in September
2017.

79. On or about October 1, 2018, Rehl was doxed a second time, when he organized
the “We the People” event that occurred in Philadelphia on November 17, 2018.

80. On November 14, 2018, Exoo followed up his October 1, 2018 dox with
directions to his associates to counter protest the We the People event. Exoo directed enterprise
associates to disrupt the event because “fascism is coming and only we can stop it.”

81. On November 16, 2018, Exoo decided his community was being attacked,
because “the city granted rally permits to fascists, and the cops will be there to protect them.”
Exoo then Tweeted the phrase “Who protects us? We protect us” a battle cry to get his associates
to attack “We the People” event organizers.

82. At 12:41 am. on November 17, 2018, Rehl’s safety was endangered when he was
attacked by an Exoo associate who threw a brick through the front window of Rehl’s home and
spray painted the word “Nazi” on the front of his home.

AMANDA REHL

83. | AmRehl repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

84. On or about August 2, 2017, Exoo doxed AmRehl’s home address when he doxed

her husband Zachary Rehl.

19
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 150 of 275 PagelD: 2564
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85. On or about October 1, 2018, AmRehl’s home address was doxed a second time
when Exoo doxed her husband Zachary Rehl, because he organized the “We the People” march
in Philadelphia that occurred on November 17, 2018.

86. On November 14, 2018, Exoo directed his associates to counter protest and
disrupt the We the People the event, because “fascism is coming and only we can stop it.”

87. On November 16, 2018, Exoo decided his community was being attacked,
because “the city granted rally permits to fascists, and the cops will be there to protect them.”
Exoo then Tweeted the phrase “Who protects us? We protect us” as a battle cry to get his
associates to attack “We the People” event organizers.

88. At 12:41 a.m. on November 17, 2018, AmRehl’s safety was endangered when she
was assaulted by an Exoo associate who threw a brick through the front window of AmRehl’s

home and spray painted the word “Nazi” on the front of her home.

K.R., a minor, by and through her father ZACHARY REHL and mother AMANDA
REHL

89.  K.R. repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

90. On or about August 2, 2017, Exoo doxed K.R.’s home address when he doxed her
father Zachary Rehl.

91. On or about October 1, 2018, K.R.’s home address was doxed a second time when
Exoo doxed K.R.’s father Zachary Rehl, because he organized the “We the People” march in
Philadelphia that occurred on November 17, 2018.

92. On November 14, 2018, Exoo directed his associates to counter protest and

disrupt the We the People event, because “fascism is coming and only we can stop it.”

20
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 151 of 275 PagelD: 2565
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93. On November 16, 2018, Exoo decided his community was being attacked,
because “the city granted rally permits to fascists, and the cops will be there to protect them.”
Exoo then Tweeted the phrase “Who protects us? We protect us” as a battle cry to get his
associates to attack “We the People” event organizers.

94. At 12:41 a.m. on November 17, 2018, K.R.’s safety was endangered when she
was assaulted by an Exoo associate who threw a brick through the front window of her home and
spray painted the word Nazi on the front of her home.

AARON WOLKIND

95. Wolkind repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

96. | Wolkind was doxed in or about June 2019 and called a fascist, white supremacist,
and Nazi, which is an idiotic assertion, because Aaron’s a Jew.

97. On July 3, 2019, Exoo re-posted Exoo’s dox and directed his associates to contact
Wolkind’s employer Aerzen USA (“Aerzen”) to extort his termination. Immediately enterprise
associates directed hundreds of phone calls and emails to Wolkind’s employer and his co-
workers. Aerzen’s social media accounts and internet profiles were flooded with messages
demanding his termination.

98. On November 28, 2019, Exoo re-doxed Wolkind with Aerzen’s direct phone
number and the reminder to associates to “Use *67 to block your number.”

99. The November 28, 2019, dox dramatically increased the volume of messages
posted to Aerzen’s social media and internet profiles so much so that it created a network
security concern and caused Aerzen to temporarily shut down their social media and internet

profiles.

21
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 152 of 275 PagelD: 2566
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100. The enterprise’s threatening and harassing messages also caused Aerzen’s
management to close the Coatesville, Pa. building out of fear for employee safety.

101. To their credit, Aerzen did not immediately terminate Wolkind, but when
enterprise associates discovered Wolkind was not terminated, they directed threats at Aerzen’s
clients demanding they stop doing business Aerzen or face consequences, and harassed and
intimidated Aerzen’s foreign subsidiaries.

102. Wolkind continues to receive threatening and harassing phone calls and the dox
has prohibited Wolkind from obtaining new employment in his field. Prospective employers
have cancelled scheduled interviews and pulled job offers when they perform an internet
background search for Wolkind’s name, because the first listing is Exoo’s dox, which identifies
him as a fascist, white supremacist, and a Nazi, but as stated above Aaron’s a Jew.

STEVE HARTLEY

103. Hartley repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs 1| through 37 with the same force and effect as if set forth in detail herein again.

104. Hartley was doxed on November 29, 2018, and labeled a Nazi, racist, terrorist and
a threat to women and minorities. The dox included directives to dogpile Hartley’s employer
with calls, emails, and Tweets to demand his termination. In the dox, Hartley was identified as
the president of the Philadelphia Proud Boys.

105. As is the pattern, enterprise associates complied with Exoo’s directives and in
December 2018, associates inundated Hartley’s employer and co-workers with hundreds of
phone calls and emails and flooded their social media and internet profiles with negative posts
and reviews. Enterprise associates still contact Hartley’s employer and co-workers with

threatening and harassing phone calls and emails.

22
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 153 of 275 PagelD: 2567
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106. Hartley’s home address and personal cell phone were also doxed, and he has
received hundreds of threatening and harassing phone calls from enterprise associates, including
direct threats on his life. The threatening and harassing communications continue to this day.

MARK ANTONY TUCCI

107. Tucci repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

108. Exoo doxed Tucci on December 10, 2018, and associates directed harassing and
threatening phone calls, emails, and Twitter messages to his employer. Enterprise associates
called his employer more than 600 times on that first night, which effectively shut down the
restaurant. Tucci’s employer realized what was happening and told callers he was terminated.

109. In real time you can see the enterprise’s conspiracy play out in their Tweets.

a. Exoo doxed Tucci with directions to harass, threaten and intimidate his employer.

b. Enterprise associates who called Tucci’s employer, Tweeted confirmation to
Exoo.

c. When Tucci’s employer stated Tucci was terminated, enterprise associates relayed
that information to Exoo.

110. Exoo replied “Thanks for calling in the meantime it’s very likely they’re just
hoping this blows over, so keep calling, folks!”

111. The following day Exoo directed his associates to “keep calling folks” and the
enterprise continued the assault.

RICHARD SCHWETZ
112. Schwetz repeats and realleges the facts pertinent to all plaintiffs as alleged above

in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

23
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 154 of 275 PagelD: 2568
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113. The enterprise targeted Schwetz after he volunteered to clean up debris and litter
at a Scott Presler Clean Up America event that occurred in Philadelphia on May 23, 2020.

114. As aresult of participating in the cleanup event and being photographed with
other Proud Boys that participated in the cleanup event, Schwetz was doxed in June 2020.

115. Enterprise associates directed harassing and threatening phone calls, emails,
Twitter messages, and social media posts to Schwetz’s co-workers located at the varied locations
of his then employer Inova Payroll.

116. Amidst the initial wave of incoming harassing and threatening phone calls,
emails, and Twitter messages, an enterprise associate threatened one specific Inova Payroll
employee by posting a photograph of the employee with her young son.

117. The employee had no relationship with Schwetz whatsoever, caused Inova
Payroll to reasonably fear for its employees’ safety.

118. Exoo doxed Schwetz a second time on September 21, 2020, with further
instructions to enterprise associates to conduct a second round of harassing and threatening
messages. The threats are still visible on Twitter.

MATTHEW REIDINGER

119. Reidinger repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

120. Exoo doxed Reidinger on November 27, 2018, and instructed his associates to
direct threatening, harassing, and intimidating phone calls, Tweets, to his employer to demand

his termination.

24
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 155 of 275 PagelD: 2569
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121. As is the case with all victims, Exoo directed associates to dogpile Reidinger’s
employer’s social media sites with negative reviews. In his instructions Exoo admits that they
recently successfully dogpiled Comcast to extort a termination.

JOBEL BARBOSA

122. Barbosa repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

123. Exoo doxed Barbosa on June 22, 2019, as trans-phobic, because he was
photographed at Philadelphia’s gay pride parade. As always, Exoo’s directed enterprise
associates to contact Barbosa’s employer to demand his termination. Associates immediately
followed Exoo’s directions, including one enterprise associate who left her name and telephone
number.

124. Barbosa’s home address and cell phone numbers for him and his wife were posted
to a webpage phonezapp.noblog.org (no longer available) and Barbosa’s wife received
threatening calls on her personal cell phone.

125. The number of contacts his former employer received is unknown at this point,
but the volume was substantial, and Barbosa was immediately called into a meeting with a
company executive and a human resources representative.

126. Barbosa was terminated on June 27, 2019.

SEAN-MICHAEL DAVID SCOTT

127. Scott repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

128. Exoo doxed Scott on September 16, 2019 and his employer publicly confirmed

his employment termination on September 17, 2019.

25
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 156 of 275 PagelD: 2570
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129. Exoo associates threatened and intimidated the property manager for Scott’s
apartment. The property manager was fearful of repercussions and demanded Scott vacate the
premises.

130. On September 17, 2019, Scott’s home was attacked with graffiti and vandalized.

131. On April 16, 2020, Scott was attacked at his home for the second time and his
car’s tires were slashed and windows broken.

JOHN HUGO

132. Hugo repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

133. Hugo was doxed by Exoo on January 2, 2020, and as with all of his doxes, Exoo
labeled Hugo a fascist and white supremacist. Exoo’s dox and call to action to his associates was
re-T weeted over 100,000 times.

134. Enterprise associates immediately followed Exoo’s directives and made hundreds
of threatening and harassing phone calls and over 1,000 harassing emails to Hugo’s employer
demanding Hugo’s termination. As in all cases, the volume of phone calls prevented Hugo and
his co-workers from performing their jobs. Hugo was terminated in March 2020.

135. Hugo continues to receive threatening and harassing phone calls from enterprise
associates who threaten Hugo that they will never let him work again and will force him to live
in a box.

SUPPLEMENTAL PLEADING TO ADD PLAINTIFF THOMAS LOUDEN WHO WAS
INJURED BY THE ENTERPRISE AFTER THE COMPLAINT WAS FILED

136. Louden repeats and realleges the facts pertinent to all plaintiffs as alleged above

in paragraphs | through 37 with the same force and effect as if set forth in detail herein again.

26
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 157 of 275 PagelD: 2571
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137. The original Complaint in this action was filed on September 21, 2020, and
Louden was injured after the Complaint was filed in the same series of occurrences or
transactions after the Complaint was filed. Louden was employed as the Director of Managed
Care at Thomas Jefferson University Hospital in Philadelphia.

138. During a global health emergency and pandemic Exoo doxed Louden’s hospital
employer on November 2, 2020, and as in all cases associates immediately flooded Louden’s
employer and co-workers with harassing and threatening phone calls, emails, social media posts.

139. Louden who does not have a Twitter account was unaware of Exoo’s dox until he
was called to a Zoom meeting with his hospital’s Vice-President and a human resources
representative on November 2, 2020. Louden was quizzed about his membership in a right-wing
extremist group. Louden is not a member of a right-wing extremist group, he is a 30-year
volunteer firefighter and the appointed Deputy Emergency Management Coordinator for
Hilltown Township, Pa.

140. On November 3, 2020, Louden learned that Exoo posted photos of his home with
his car parked in his driveway.

141. On November 10, 2020, Exoo re-posted Louden’s personal information with
explicit directions, including photographs of his home and local street signs, the name of the city,
and even the longitude and latitude coordinates. Louden, obviously remains fearful for his
family’s safety. Louden was terminated on December 7, 2020.

CLAIMS FOR RELIEF
COUNT I

Violation of New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 to — 49
(as to D’Ambly against Tribune Publishing Company and the New York Daily News)

27
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 158 of 275 PagelD: 2572
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142. D’Ambly realleges and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 141 with the same force and effect as if set forth in
detail herein again.

143. Defendants Tribune and Daily News are employers as defined in N.J.S.A. 10:5-5.

144. D’Ambly is older than forty years (40) old and was an employee as defined in
N.J.S.A. 10:5-5.

145. Defendants Tribune and Daily News discharged D’ Ambly due to their enmity
towards D’Ambly’s racially identifiable associations, whereas, non-white Tribune and Daily
News employees who participate in racially identifiable associations, are not punished, or
terminated, violated N.J.S.A. 10:5-12.

146. Defendants Tribune and Daily News undertook several pre-textual steps to mask
D’Ambly’s discriminatory termination:

a. Tribune hired a private investigation firm to invade D’Ambly’s privacy in an
unsuccessful effort to catch D’Ambly engaged in unlawful activity.

b. In the morning of January 11, 2019, the Daily News received death threats
intended to extort D’Ambly’s termination that they did not immediately disclose,
because they intended to use the threats pre-textually as the “cause” of D’Ambly’s
termination.

c. Inthe afternoon of January 11, 2019, the Daily News issued D’Ambly a “Last and
Final Warning,” that warned D’Ambly he would be immediately terminated if it
were discovered he brought his political activities into the workplace, but they did
not inform or warn D’Ambly of the death threats earlier received.

d. D’Ambly was informed he was terminated on January 16, 2019.

28
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 159 of 275 PagelD: 2573
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e. Subsequently, D’Ambly received a “Termination of Employment” letter dated
January 22, 2019, whereby, the Daily News falsely stated they discovered the
death threats on January 14, 2019, contrary to indisputable evidence they received
the death threats on January 11, 2019, which meant he “brought his activities into
the workplace” after he was warned. Daily News cited this fabrication as the
“cause” of D’Ambly’s termination.

147. As adirect and proximate result of defendants Tribune Publishing Company and
the New York Daily News racially discriminatory termination, D’Ambly has suffered adverse
consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,
equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an
amount to be determined at trial, but which is in excess of $75,000.00.

COUNT II

Tortious Interference with Prospective Economic Benefit
(as to all Plaintiffs except K.R. against defendant Christian Exoo a/k/a “AntiFashGordon”)

148. Plaintiffs reallege and incorporate herein by reference each and every one of the
allegations contained in paragraphs 1 through 147 with the same force and effect as if set forth in
detail herein again.

149. Plaintiffs were rightfully entitled to pursue lawful employment.

150. Plaintiffs reasonably expected their employment to continue into the future and to
benefit economically from his employment.

151. Defendant Exoo knew Plaintiffs were employed and intentionally interfered with
their prospective economic benefits to be gained from continued employment.

152. Defendant Exoo intentionally and unjustifiably interfered with Plaintiffs rights to

pursue lawful business.

29
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 160 of 275 PagelD: 2574
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153. Defendant Exoo’s interference caused Plaintiffs employer to terminate their
employment.

154. Plaintiffs have suffered and will continue to suffer irreparable harm in the form of
damage to his reputation, loss of income and financial hardship as a result of Exoo’s
interference.

155. Asa direct and proximate result of defendant Exoo’s interference with Plaintiffs
prospective economic benefits, Plaintiffs have suffered adverse consequences and continue to be
damaged. Plaintiffs are entitled to compensatory damages, equitable and declaratory relief,
punitive damages, costs, and reasonable attorneys’ fees in an amount to be determined at trial,
but which is in excess of $75,000.00.

COUNT Ill

Intrusion Upon Seclusion — Public Disclosure of Private Personal Information
(as to all Plaintiffs except for K.R. against Christian Exoo a/k/a “AntiFashGordon”)

156. Plaintiffs reallege and incorporate herein by reference each and every one of the
allegations contained in paragraphs | through 155 with the same force and effect as if set forth in
detail herein again.

157. In directing and carrying out a sustained effort to embarrass, defame and publicize
private facts, including Plaintiffs’ home address and familial relations without their consent,

Exoo intentionally intruded upon Plaintiffs’ solitude and seclusion.

158. By conducting a sustained effort to embarrass, defame and publicize private facts
including D’Ambly’s home address and familial relations without Plaintiffs’ consent, Exoo
intentionally intruded upon Plaintiffs’ solitude and seclusion.

159. Defendant intentionally intruded on Plaintiffs’ solitude and seclusion in a manner

that is highly offensive to a reasonable person.

30
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 161 of 275 PagelD: 2575
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160. As adirect and proximate result of Exoo’s intrusion upon his seclusion, Plaintiffs
have suffered adverse consequences and continue to be damaged. Plaintiffs are entitled to
compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable
attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

COUNT IV

Violation of N.J.S.A. 2C:33-4.1 and N.J.S.A. 2C:30-31(a) Cyber-Harassment and Stalking
(as to D’Ambly against defendant Christian Exoo a/k/a “AntiFashGordon”)

161. D’Ambly realleges and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 160 with the same force and effect as if set forth in
detail herein again.

162. Defendant Exoo encouraged and incited others to violence against D’ Ambly and
conducted an ongoing campaign that intruded D’Ambly’s life.

163. Defendant Exoo intentionally and knowingly sent, commented, and posted
D’Ambly’s private and involuntarily disclosed personal information to social media networking
sites to purposely harass, intimidate, and threaten D’ Ambly.

164. By encouraging others to inflict physical harm to D’Ambly’s person and property.

165. By encouraging others to commit crimes against D’ Ambly that resulted in
D’Ambly receiving death threats and sustaining physical damage to his personal property

166. Asadirect and proximate result of Defendant Exoo’s cyber-harassment and
stalking D’ Ambly has suffered adverse consequences and continues to be damaged. D’ Ambly is
entitled to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of
$75,000.00.

COUNT V

31
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 162 of 275 PagelD: 2576
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Violation of 18 U.S.C. § 875(c) — Interstate Communications
(as to all Plaintiffs against defendant Christian Exoo a/k/a “AntiFashGordon”)

167. Plaintiffs reallege and incorporate herein by reference each and every one of the
allegations contained in paragraphs | through 166 with the same force and effect as if set forth in
detail herein again.

168. By using an interactive computer service to intentionally transmit threats of
physical violence at Plaintiffs via interstate communications.

169. By directing an enterprise is engaged in an interstate campaign of violent threats
against Plaintiffs for the purpose of injuring and endangering Plaintiffs’ personal safety.

170. By explicitly threatening Plaintiffs via an interactive computer service Exoo
transmitted threats in interstate commerce.

171. As adirect and proximate result of defendant Exoo’s use of interstate
communications to threaten and harm Plaintiffs they have suffered adverse consequences and
continue to suffer adverse consequences. Plaintiffs are entitled to compensatory damages,
equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an
amount to be determined at trial, but which is in excess of $75,000.00.

COUNT VI

Violation of 18 U.S.C. 2261A(2) —Stalking
(as to all Plaintiffs against defendant Christian Exoo a/k/a “AntiFashGordon”)

172. Plaintiffs reallege and incorporate herein by reference each and every one of the
allegations contained in paragraphs | through 171 with the same force and effect as if set forth in
detail herein again.

173. Exoo used an interactive computer service to surveil and stalk Plaintiffs with the

intent to harass, intimidate, threaten, and harm Plaintiffs.

32
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 163 of 275 PagelD: 2577
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174. Exoo stalked Plaintiffs to discover their personal identity and then disseminated
the information using an interactive computer service with instructions to enterprise associates
with directions to harass, intimidate, and endanger Plaintiffs personal safety.

175. Exoo used an interactive computer service to direct an enterprise to harass,
intimidate, and threaten others in order to extort Plaintiffs termination from lawful employment.

176. Exoo’s conduct caused Plaintiffs to reasonably fear for the safety of themselves
and their family and caused Plaintiffs to suffer severe emotional and financial distress.

177. As adirect and proximate result of defendant Exoo’s stalking in violation of 18
U.S.C. § 2261A(2) Plaintiffs have has suffered adverse consequences and continue to suffer
adverse consequences. Plaintiffs are entitled to compensatory damages, equitable and
declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an amount to be
determined at trial, but which is in excess of $75,000.00.

COUNT VII
Employer’s Breach of its Duty to Warn
(as to D’Ambly against defendants Tribune Publishing Company and the New York Daily
News)

178. D’Ambly realleges and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 177 with the same force and effect as if set forth in
detail herein again.

179. Defendants Tribune and Daily News received a stream of death threats directed at
D’Ambly over a two and one-half month period, but they never warned D’ Ambly.

180. Defendants Tribune and Daily News never warned D’Ambly to take

precautionary measures as he entered or exited the workplace.

33
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 164 of 275 PagelD: 2578
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181. Defendants Tribune and Daily News did not take steps to increase the safety of
D’Ambly and other employees as they entered and exited the workplace.

182. Defendants Tribune and Daily News did not secure the workplace in order to
protect D’Ambly and others.

183. As he was not aware of the threats, D’ Ambly could not take steps to protect
himself and his property and as a result his property was damaged on January 11, 2019.

184. Defendants Tribune and Daily News had a duty to warn their employee he was
the direct target of the death threats they received.

185. Asa direct and proximate result of defendants Tribune and Daily News’ failure to
warn D’Ambly has suffered adverse consequences and continues to be damaged. D’ Ambly is
entitled to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of
$75,000.00.

COUNT VIII
Violations of N.J.S.A 2C:41-1 to —2C:41-6.2 (Racketeering)
(as to D’Ambly against defendants Christian Exoo a/k/a “AntiFashGordon,” St. Lawrence
University, Vijaya Gadde, and Twitter, Inc., the “Exoo Enterprise”)

186. D’Ambly realleges and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 185 with the same force and effect as if set forth in
detail herein again.

187. The “Exoo Enterprise” is directed by defendant Christian Exoo a/k/a
“@AntiFashGordon,” and consists of associates St. Lawrence University, including their
employees and agents, Vijaya Gadde, and Twitter, Inc., including their employees and agents,

and unknown associates.

34
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 165 of 275 PagelD: 2579
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188. Defendant Exoo used an interactive computer service to direct the Exoo
Enterprise’s patterns of racketeering activities as defined by N.J.S.A. 2C:41(a)(1) to extort
D’Ambly’s termination from the Daily News.

a. The Exoo Enterprise threatened the Daily News via Tweets and phone calls and
related activities prohibited by N.J.S.A. 2C:41-2.

b. Exoo Enterprise committed multiple prohibited by N.J.S.A. 2C:41(a)(1)(h).

c. Exoo Enterprise committed multiple prohibited by N.J.S.A. 2C:41(a)(1)(bb)

189. Asa direct result of the Exoo Enterprises patterns of racketeering activities,

D’ Ambly was terminated from his employment.

190. As a direct and proximate result of Defendants’ patterns of racketeering activities
D’Ambly has suffered adverse consequences and continues to be damaged. D’ Ambly is entitled
to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of
$75,000.00.

COUNT IX
Violations of 18 U.S.C. §§ 1962(c) — Racketeering
Multiple violations of RICO predicates 18 U.S.C. §§ 1951 and 1952
(as to all Plaintiffs against defendants Christian Exoo a/k/a “AntiFashGordon,” St.
Lawrence University, Vijaya Gadde, and Twitter, Inc., the “Exoo Enterprise”)

191. Plaintiffs reallege and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 190 with the same force and effect as if set forth in
detail herein again.

192. Each of the individuals and entities is a “person” within the meaning of 18 U.S.C.

§ 1961(3) who conducted the affairs of the enterprise, through a pattern of racketeering activity

in violation of 18 U.S.C. § 1962(c).

35
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 166 of 275 PagelD: 2580
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193. The Exoo Enterprise is an enterprise within the meaning of 18 U.S.C. 1961(4),
directed by defendant Christian Exoo a/k/a “@AntiFashGordon,” and consisting of St. Lawrence
University, including their employees and agents, Vijaya Gadde, and Twitter, Inc., including
their employees and agents, and unknown associates. The Exoo Enterprise was created to dox
fascists and white supremacists in order to use the doxed information to conduct patterns of
racketeering activities to threaten violence, intimidate, harass, and extort others to achieve the
enterprises mission of causing employment terminations, educational expulsions, physical injury,
and personal harm to the persons doxed. The Exoo Enterprise functions as an organization and
continuing unit to effectuate patterns of racketeering activity.

194. Upon information and belief, multiple generations of Exoo’s family are or were
employed by St. Lawrence University and Exoo’s activities are well known to St. Lawrence
faculty and administrators, who allow Exoo to direct the enterprise from St. Lawrence property,
from his place of employment, during his normal work hours using St. Lawrence equipment and
information technology. St. Lawrence consents to Exoo’s use of St. Lawrence property to direct
the enterprise, and participates in the Exoo Enterprise, because they believe the patterns of
racketeering activities helps St. Lawrence’s achieve their global mission.

195. Exoo uses his employment, teaching, and lecturing at St. Lawrence with the
consent and approval of St. Lawrence to recruit students to join the Exoo Enterprise as
associates. In concert with other associates, the Exoo Enterprise, directed by Exoo created and
maintained systematic links for the common purpose of doxing targeted fascists and white

supremacists, and then threaten, harass, and extort others to cause harm to their targets.

36
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 167 of 275 PagelD: 2581
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196. At all times relevant, Gadde was the only Twitter employee authorized to
permanently ban Twitter users.’

197. _Exoo is and was well known to Gadde and Twitter, because Gadde and Twitter
have twice before permanently banned Exoo due to habitual doxing.

198. Gadde and Twitter agreed to associate with the Exoo Enterprise when they
breached their own TOS to conspire with a recidivist ban evader, and permitted the enterprise
leader to create ban evasion account “@AntiFashGordon,” which Gadde and Twitter knew was
purposely created to dox unsuspecting persons, in order to direct associates in patterns of
racketeering activities.

199. Gadde and Twitter associate and participate in the Exoo Enterprise’s patterns of
racketeering, by virtue of their affirmative decision to allow Exoo, a three-time ban evader and
known habitual doxer, create a ban evasion account in direct contradiction of their TOS and
enforcement rules, through which, the Exoo Enterprise conducts its patterns of racketeering.

200. Upon information and belief Gadde and Twitter have received hundreds and
likely thousands of complaints directly to their individual Twitter accounts and through Twitter’s

TSC regarding the Exoo Enterprise’s doxing. But Gadde and Twitter choose to ignore the

avalanche of doxing and abusive behavior complaints and refuse to enforce their own policies in

 

1 Meet Vijaya Gadde, an Indian-born Twitter head who decides on blocking tweets, users, The
Economic Times, (Jan. 16, 2020) https://economictimes.indiatimes.com/tech/internet/meet-
vijaya-gadde-an-indian-born-twitter-head-who-decides-on-blocking-
tweets/articleshow/73281445.cms, last accessed September 12, 2020. See also, Twitter ’s Top
Lawyer Is Final Word On Blocking Tweets — Even Donald Trump’s, Bloomberg.com,(Jan. 15,
2020) https://www.bloomberg.com/news/articles/2020-01-15/twitter-s-gadde-is-final-word-on-
blocking-tweets-even-trump-s, last accessed September 12, 2020; Meet Twitter’s top lawyer,
who has the final word on blocking tweets — including Donald Trump’s, Fortune.com, (Jan. 15,
2020) https://fortune.com/2020/01/15/twitter-top-lawyer-vijaya-gadde-blocks-tweets-donald-
trump/, last accessed September 12, 2020.

 

37
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 168 of 275 PagelD: 2582
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order to facilitate the patterns of racketeering activities directed by known ban evasion account,
@AntiFashGordon.

201. Gadde personally participates in, and benefits from the Exoo Enterprise’s patterns
of racketeering activities, because she has publicly stated her personal disdain for fascists and
white supremacists, and she is “very, very focused on that...the KKK, the American Nazi Party,”
because that “was what my parents had to deal with” where she grew up on the Texas-Louisiana
border.® Gadde participates in the Exoo Enterprise, because of an Oresteian desire to avenge her
parents perceived mistreatment. Gadde and Twitter are the lynchpin of the Exoo Enterprise.
Without Gadde and Twitter’s consent and participation, the Exoo Enterprise could not conduct
its patterns of racketeering activities.

202. Twitter benefits economically from the Exoo Enterprise’s patterns of racketeering
activities, because @AntiFashGordon has an extremely large Twitter following, one of the
largest follower bases of all Twitter users, and the account drives a tremendous amount of
internet traffic to Twitter. Greater traffic to their site increases Twitter’s ad revenue.

203. Twitter benefits socially from the Exoo Enterprise’s patterns of racketeering
activities because the Exoo Enterprise’s doxing of fascists and white supremacists imparts a
social benefit on Twitter as it is seen as a defender of “marginalized communities” and provides
cover for their stated business goal of creating what Twitter describes as “safer” conversations.

204. The Exoo Enterprise engages in and affects interstate commerce, because, inter

alia, it threatens violence to persons and property of others throughout the United States in

 

8 Twitter’s Kayvon Beykpour and Vijaya Gadde: the Code Conference interview (transcript),
Vox.com (June 27, 2019) https://www.vox.com/recode/2019/6/27/18760444/twitter-kayvon-
beykpour-vijaya-gadde-kara-swisher-peter-kafka-code-conference-interview-transcript, last
accessed September 12, 2020.

38
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 169 of 275 PagelD: 2583
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furtherance of a plan that reaches into the several states to disrupt economic activity. The Exoo
Enterprise has caused severe economic hardship to Plaintiffs and negatively impacted local
economies throughout the United States.

205. Pursuant to and in furtherance of their violent doxing campaign, Defendants
directed and participated in the affairs of the Exoo Enterprise through patterns of racketeering
activity, including multiple acts indictable under 18 U.S.C. §§ 1951 (Interference with commerce
by threats or violence) and 1952 (use of interstate facilities to conduct unlawful activity).

206. The conduct of the Exoo Enterprise described above constitutes “racketeering
activity” within the meaning of 18 U.S.C. § 1961(1). Defendants’ decisions and activity in
connection with the Exoo Enterprise to routinely conduct its transactions in such a manner
constitutes “patterns of racketeering activity” within the meaning of 18 U.S.C. § 1961(5).

207. By virtue of these violations of 18 U.S.C. § 1962(c), Defendants are liable to
Plaintiffs for three times the damages sustained, plus the costs of this suit, including reasonable
attorneys’ fees.

208. Asa direct and proximate result of Defendants patterns of racketeering activity
Plaintiffs have suffered adverse consequences and continue to suffer adverse consequences in an
amount to be determined at trial, but which is in excess of $75,000.00. Plaintiffs are entitled to
compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable
attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

COUNT X
Violation of 18 U.S.C. § 1962(d) (Conspiracy)

(as to all Plaintiffs against defendants Christian Exoo a/k/a “AntiFashGordon,” St.
Lawrence University, Vijaya Gadde, and Twitter, Inc., the “Exoo Enterprise”)

39
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 170 of 275 PagelD: 2584
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209. Plaintiffs reallege and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 208 with the same force and effect as if set forth in
detail herein again.

210. Section 1962(d) of RICO provides “shall be unlawful for any person to conspire
to violate any provisions of subsection (a), (b), or (c) of this section.”

211. Defendants have violated 18 U.S.C. § 1962(d) by conspiring to associate and
participate in the Exoo Enterprise’s patterns of racketeering activities as defined in 18 U.S.C.
1962(c). The object of this conspiracy is to conduct, direct and participate in, directly or
indirectly, the Exoo Enterprise’s patterns of racketeering activity.

212. Defendants’ have engaged in numerous overt and predicate racketeering acts in
furtherance of the conspiracy, including threatening, intimidating, and extorting others to cause
harm to their targets.

213. The nature of the above-described acts of Defendants’ and co-conspirators acts in
furtherance of the conspiracy gives rise to an inference that they not only agreed to the objective
of an 18 U.S.C. 1962(d) violation, but they were aware that their ongoing extortionate acts have
been, and are part of an overall pattern of racketeering activity demonstrated through related and
continuous acts.

214. Defendants sought to and have engaged in the commission of, and continue to
commit overt acts, including the following unlawful racketeering predicate acts:

a. Multiple instances of interference with commerce by threats of violence in
violation of 18 U.S.C. § 1951; and
b. Multiple instances of use of interstate facilities to conduct unlawful activity

violations of 18 U.S.C. § 1952.

40
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 171 of 275 PagelD: 2585
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215. Asadirect and proximate result of Defendants’ multiple overt acts and predicate
acts in furtherance of the Exoo Enterprise, in violation of 18 U.S.C. § 1962(d), by conspiring to
violate 18 U.S.C. 1962(c), D’ Ambly has been and continues to be injured by Defendants’
conduct.

216. By virtue of these violations of 18 U.S.C. § 1962(d), Defendants are liable to
D’Ambly for three times the damages sustained, plus the costs of this suit, including reasonable
attorneys’ fees.

217. As adirect and proximate result of Defendants patterns of racketeering activity
Plaintiffs have suffered adverse consequences and continue to suffer adverse consequences in an
amount to be determined at trial, but which is in excess of $75,000.00. Plaintiffs are entitled to
compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable
attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

COUNT XI
Negligent Entrustment
(as to all Plaintiffs against defendants Vijaya Gadde and Twitter, Inc.)

218. Plaintiffs reallege and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 217 with the same force and effect as if set forth in
detail herein again.

219. Exoo is a notorious and infamous doxer, who relies on Twitter to dox
unsuspecting people and direct his enterprise.

220. Due to habitual doxing and abusive behavior, Twitter has previously permanently

banned two accounts controlled by Exoo, @ChrisExoo and @ChristianExoo.

4]
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 172 of 275 PagelD: 2586
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221. Upon information and belief, Twitter received hundreds of complaints that Exoo
was habitually doxing under Twitter username @DoxSavage.

222. In lieu of a third permanent ban Twitter agreed to allow Exoo to undergo a
username change from @DoxSavage to @AntifashGordon, contrary to Twitter’s TOS.

223. Subsequent to Twitter’s agreement to allow Exoo to change his Twitter username
to @AntiFashGordon, Vijaya Gadde and Twitter’s Safety Council have received numerous
doxing complaints.

224. Gadde was the only person at Twitter with authority to decide permanent bans
and she knew Exoo is a habitual doxer, but she ignored that knowledge and agreed to allow him
to change his username and continue doxing.

225. Gadde recklessly ignored Twitter’s TOS against ban evasion accounts and
allowed Exoo to change his name from @DoxSavage to @AntiFashGordon, thereby, entrusting
Exoo with the instrumentality to direct the Exoo Enterprise’s patterns of racketeering activities.

226. Asa direct and proximate result of defendant Gadde and Twitter’s negligent

entrustment Plaintiffs have suffered adverse consequences and continue to suffer adverse
consequences. Plaintiffs are entitled to compensatory damages, equitable and declaratory relief,
punitive damages, costs, and reasonable attorneys’ fees in an amount to be determined at trial,
but which is in excess of $75,000.00.

COUNT XI

Breach of Implied Covenant of Good Faith — Promissory Estoppel
(as to all Plaintiffs against defendants Vijaya Gadde and Twitter, Inc.)

227. Plaintiffs reallege and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 226 with the same force and effect as if set forth in

detail herein again.

42
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 173 of 275 PagelD: 2587
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228. Defendant Twitter’s TOS prohibit doxing and ban evasion accounts.

229. Defendant Twitter created a Trust and Safety Council department to investigate
TOS violations to remove abusive content and protect others from abusive behaviors of others.

230. Twitter created the Trust and Safety Council to prohibit abusive behavior by
Twitter users and promised victims of abusive behavior would be protected.

231. Gadde is the executive in charge of Twitter’s Trust and Safety council, and the
only person at Twitter with authority to allow Exoo to create a ban evasion account.

232. Twitter allowed Exoo to create a ban evasion account fully aware he was a
habitual doxer, who used Twitter to harm others.

233. | Exoo as @AntiFashGordon doxed Plaintiffs and violently threatened others with
violence, including employers and former co-workers in order to extort Plaintiffs’ termination.

234. Gadde, Twitter Support and Twitter Trust and Safety received contemporaneous
complaints that @AntiFashGordon doxed Plaintiffs, but took no action.

235. Twitter refused to protect Plaintiffs the Exoo Enterprise’s abusive behavior and
have not removed Plaintiffs doxed information or banned the Exoo Enterprise, who continue to
abuse and dox.

236. Twitter assumed liability for the harm that flows from defendant Exoo’s doxing
when they neglected to remove Plaintiffs’ doxed information in violation of their TOS.

237. Asa direct and proximate result of defendant Gadde and Twitter’s breach of their
assumed duty to remove Plaintiffs doxed private information Plaintiffs have suffered adverse
consequences and continue to suffer adverse consequences. Plaintiffs are entitled to
compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable

attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

43
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 174 of 275 PagelD: 2588
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COUNT XI
Legal Malpractice

(as to D’Ambly against defendant Cohen, Weiss, and Simon, L.L.P.)

238. D’Ambly repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs 1 through 237 with the same force and effect as if set forth in
detail herein again.

239. As aresult of their personal revulsion of D’Ambly and his political beliefs CWS
failed to adequately represent and protect D’ Ambly’s rights.

240. Defendant CWS neglected to perform necessary case research, legal research, and
investigation of the accusations against D’Ambly.

241. Asaresult of CWS’s inadequate legal research and investigation they failed to
protect D’Ambly from the extortionate and criminal conduct of others.

242. Asaresult of CWS’s failure to adequately investigate D’ Ambly’s doxing they
failed to learn that @AntiFashGordon publicly announced D’ Ambly’s termination on January
13, 2019, which occurred five days before his official termination date, and one day before the
purported “cause” of his termination was discovered.

243. CWS failed to challenge Brill’s blatant misrepresentations regarding the timing of
the alleged ‘cause’ of D’Ambly’s termination.

244. CWS’s revulsion of D’Ambly and his political beliefs caused them to ignore an
obvious racially discriminatory pre-textual termination spotlighted by the private investigation,
last and final warning, and falsely claimed cause of D’Ambly’s termination.

245. Asa direct and proximate result of CWS’s legal malpractice that flowed from
their firmwide enmity of D’Ambly’s political beliefs D’ Ambly has suffered adverse

consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,

44
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 175 of 275 PagelD: 2589
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equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an
amount to be determined at trial, but which is in excess of $75,000.00.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray for relief as follows:

1. Demands judgment against Defendants, jointly and severally, in an amount to be
determined at trial plus interest, including, but not limited to, all emotional distress, back pay,
punitive damages, liquidated damages, statutory damages, attorneys’ fees, costs, and
disbursements, and for such relief as the Court deems just and proper.

2. On Plaintiffs’ RICO claims: compensatory damages and enhancement of damages
Plaintiffs have sustained as a result of Defendants’ conduct as may be permitted under the
relevant statutes, such amount to be determined at trial, plus Plaintiffs costs in this suit, including
reasonable attorneys’ fees.

3. On Plaintiffs’ tortious interference, intrusion upon seclusion, stalking and
harassment claims: compensatory and punitive damages in an amount to be determined at trial.

4, On D’Ambly’s State claims against the Tribune and Daily News: compensatory
damages and enhancement of damages he sustained as a result of the Tribune and Daily News’
conduct as may be permitted under the relevant statutes, such amount to be determined at trial,
plus Plaintiffs costs in this suit, including reasonable attorneys’ fees.

5. On D’Ambly’s legal malpractice claim: compensatory damages to be determined
at trial.

JURY DEMAND
Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand trial by

jury on all issues so triable.

45
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 176 of 275 PagelD: 2590
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Respectfully Submitted,
LAW OFFICE OF PATRICK TRAINOR
Attorneyyfor D’Ambly

 

Dated: March 25, 2021 Patrick Trainor
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46
 
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 178 of 275 PagelD: 2592
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 1 of 18 PagelD: 986

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY

 

DANIEL D’ AMBLY,

Plaintiff,

Vv.

CHRISTIAN EXOO a/k/a ANTIFASH

GORDON; ST. LAWRENCE

UNIVERSITY; TRIBUNE PUBLISHING
COMPANY; NEW YORK DAILY NEWS;
VIJAY GADDE; TWITTER, INC.;
COHEN, WEISS AND SIMON LLP,

Defendants.

Case No. 2:20-cv-12880-JMV-JSA

Civil Action

Motion Date: July 6, 2021

 

 

 

MEMORANDUM OF LAW ON BEHALF OF DEFENDANT COHEN, WEISS AND SIMON
LLP IN SUPPORT OF ITS MOTION TO DISMISS COUNT XIII OF PLAINTIFF’S

AMENDED COMPLAINT

 

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On the Brief
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 179 of 275 PagelD: 2593
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 2 of 18 PagelD: 987

TABLE OF CONTENTS

TABLE OF AUTHORITIES... .. 0... . cc eee eee eee ee eee tees ii

PRELIMINARY STATEMENT. 1... cece ee eee ee ee ee eee ee ee tee eee 1

PROCEDURAL HISTORY... 2. . ce ee ee ee eee ete te ee ee eee eee eee 1

STATEMENT OF FACTS... cc cc ec ce ee ee eee ee ee ee eee ee eee eee eee 3

STANDARD OF REVIEW... 1... ce ce eee eee eee ee ee ee ee ee 6

LEGAL ARGUMENT... cc ce cc ee ee ee ee we eee eee eee eee ee eee ees 8
POINT I

THIS COURT SHOULD DISMISS COUNT XIII OF PLAINTIFF'S

AMENDED COMPLAINT WITH PREJUDICE UNDER RULE 12(C) AS

THERE IS NO LEGAL BASIS FOR THE LEGAL MALPRACTICE

CLAIM AGAINST CWS... ccc cc ee eee ee eee ee eee 8

A. As a Matter of Law, There Is No Attorney-Client
Relationship between Plaintiff and CWS, as CWS
Represented the Union in the Grievance and
Arbitration... eee ee ee ee ee eee ee ee ee ee eee 8

CONCLUSION. 2. ce cc ce ee ee eee ee ee ee ee ee eee 14
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 180 of 275 PagelD: 2594
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 3 of 18 PagelD: 988

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cert. denied, 475 U.S. 1122, 106 S.Ct. 1642, 90 L.Ed.

 

 

 

 

 

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150 (2d Cir. 1999) Lever cece eee cee ee ee ee ee eee eee 11
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29 U.S.C. $185; SLO(D) .. cc ee eee 13
Rules
Rule 12(b) (6)... ee ee ec cee ee ee eee eee ee te ee ee eee 7, 10
RULE 12 (C) oe cc ccc ee ee eee ee ee eee eee eee et eee eas 7

- ii -
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 181 of 275 PagelD: 2595
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 4 of 18 PagelD: 989

Constitutional Provisions

U.S. Const. Amend. I and N.J. Const. Art. I, 6............2085 3

- iii -
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 182 of 275 PagelD: 2596
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 5 of 18 PagelD: 990

PRELIMINARY STATEMENT

Cohen, Weiss and Simon LLP (“CWS”) files this motion to
dismiss Count XIII of the Amended Complaint of Plaintiff, Daniel
D’/Ambly (“Plaintiff” or “D’Ambly”) with prejudice. In this Count,
the sole Count of the Amended Complaint asserted against CWS,
Plaintiff alleges a claim of legal malpractice arising from CWS’
representation of Local One-L, Graphic Communications Conference
of the International Brotherhood of Teamsters (the “Teamsters
Union”) in a labor arbitration challenging D’Ambly’s termination
by the New York Daily News (“Daily News”).

This claim of legal malpractice fails as a matter of law.
Legal precedent, including binding precedent from the Third
Circuit Court of Appeals, compels the dismissal of this claim
because there is no attorney-client relationship between Plaintiff
and CWS, which represents the Teamsters Union, not its constituent
member.

PROCEDURAL HISTORY

On September 21, 2020, D’Ambly filed a Complaint with jury
demand against Defendants, Christian Exoo a/k/a Antifash Gordon
(“Exo0o”), St. Lawrence University, Tribute Publishing Company
(“Tribute”), Daily News, Vijaya Gadde, Twitter, Inc. (“Twitter”)
and CWS (collectively referred to as “Defendants”).
(Certification of Michael J. Canning, Esq. (the “Cert. Canning”)

at Exhibit A).
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 183 of 275 PagelD: 2597
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 6 of 18 PagelD: 991

Count XIII of the Complaint alleges a claim of legal
malpractice against CWS, which is the only count of the Complaint
directed to CWS. (Cert. Canning, Exhibit A, pp. 31-32).

On October 22, 2020, CWS filed its Answer to Plaintiff’s
Complaint, denying all allegations of legal malpractice and
setting forth separate defenses and cross claims against
Defendants. (Cert. Canning, Exhibit B). CWS pleaded as its second
affirmative defense that Plaintiff’s Complaint must be dismissed
as to CWS for failure to state a claim upon which relief can be
granted and reserved its right to move to dismiss the Complaint.
Id.

On November 9, 2020, CWS filed a motion to dismiss Plaintiff’s
Complaint as to CWS with prejudice. On November 23, 2020,
Plaintiff filed a brief in opposition to the motion to dismiss.
On December 6, 2020, CWS filed its reply brief.

After CWS’ motion was fully briefed, on January 10, 2021
Plaintiff filed a motion for leave to file an Amended Complaint.
On March 25, 2021 an Order was entered allowing Plaintiff to file
an Amended Complaint. The Amended Complaint did not include any
new or additional claims against CWS and the sole count in the
Amended Complaint as to CWS is Count XIII. A copy of Plaintiff's
Amended Complaint is attached to the Cert. Canning as Exhibit C.

CWS now moves to dismiss Plaintiff’s Amended Complaint as to

CWS with prejudice pursuant to Rule 12 (c).

~2-
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 184 of 275 PagelD: 2598
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 7 of 18 PagelD: 992

STATEMENT OF FACTS?!

Plaintiff D’Ambly was a member of the Teamsters Union and
worked as a plate maker for the Daily News in Jersey City, New
Jersey until January 18, 2019, when the Daily News terminated him.
(Cert. Canning, Exhibit C, {1).

Plaintiff is a member of the European Heritage Association
and participates in political rallies, political protests,
pamphleteering and speech, which he contends is protected by the
U.S. Const. Amend. I and N.J. Const. Art. I, 6. (Cert. Canning,
Exhibit C, 971).

Defendant Exoo is an alleged member of Antifa who uses the
Twitter username @Antifash Gordon. D’Ambly accuses Exoo of
conducting “doxing” campaigns to publicly disclose the identity,
employer, school, and home addresses of white supremacists and
fascists in an attempt to get them fired from their jobs. (Cert.
Canning, Exhibit C, Statement of Case, 16).

As alleged in the Complaint, in or about January 2018, Exoo
identified D’Ambly as a white supremacist, and in October 2018,
revealed D’Ambly’s full identity, place of employment and other
information. (Cert. Canning, Exhibit C, 91939, 44). D’Ambly alleges

that Exoo and his associates directed harassing, intimidating and

 

1 Although the Amended Complaint contains various misstatements of
fact, CWS will accept the allegations of the Amended Complaint as
true for the purposes of this motion only.

-3-
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 185 of 275 PagelD: 2599
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 8 of 18 PagelD: 993

death-threatening phone calls and Twitter “tweets” to the Daily
News in order to try to get D’Ambly fired. (Cert. Canning,
Exhibit. C, 45).

In December 2018, the Tribune, the parent company of the Daily
News, conducted an investigation resulting in a Private
Investigation Report (“Report”) that confirmed through videography
evidence that D’Ambly and others had used racial slurs and other
hate speech during political rallies. (Cert. Canning, Exhibit C,
q46).

On January 10, 2019, D’Ambly, accompanied by a representative
of the Teamsters Union, met with Tribune and Daily News
representatives. During the meeting, the Report was discussed and
D’Ambly acknowledged that he was a member of the European Heritage
Association and had used imprudent language at protests. (Cert.
Canning, Exhibit C, 750).

D’Ambly alleges that on January 11, 2019, in an attempt to
stop a protest the following day by the European Heritage
Association, Exoo and his associates sent to the Daily News death
threats and threatening calls. (Cert. Canning, Exhibit C, 151,
52). Later that day, the Daily News issued D’Ambly a “Last and
Final Warning.” (Cert. Canning, Exhibit C, 56).

D’Ambly alleges that on January 16, 2019, the Daily News
blamed him for death threats it had received, and terminated his

employment. (Cert. Canning, Exhibit C, 63).

-4-
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 186 of 275 PagelD: 2600
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 9 of 18 PagelD: 994

Thereafter, the Teamsters Union filed a grievance against the
Daily News challenging D’Ambly’s termination, pursuant to the
terms of the collective bargaining agreement. The Teamsters Union
engaged CWS, a law firm, to handle the grievance and arbitration.
(Cert. Canning, Exhibit C, 99123, 68).

On or about July 15, 2019, the Daily News, the Teamsters
Union, and D’Ambly executed a Separation Agreement resolving the
grievance and arbitration. The Daily News paid D’Ambly a lump sum
payment and in exchange the Teamsters Union withdrew the grievance
and arbitration with prejudice. (Cert. Canning, Exhibit C, 173).

The sole cause of action pleaded against CWS is Count XIII of
the Amended Complaint, which alleges legal malpractice relating to
the legal services provided by CWS relating solely to the grievance
and arbitration between the Teamsters Union and the Daily News.
(Cert. Canning, Exhibit C, @91 68-73, 238-245). D’Ambly alleges
that in connection with the grievance and arbitration, he spoke
with CWS attorneys Thomas Kennedy and Kate Swearengen, and that
both attorneys allegedly expressed their disagreement as to his
political positions. D’Ambly asserts that CWS failed to adequately
represent and protect his rights as a result of its attorneys’
personal revulsions to his politics. (Cert. Canning, Exhibit C,
(1 68-71, 239). D’Ambly alleges that CWS neglected to perform
necessary case research, legal research and investigation of the

accusations against him and contends that this failure resulted in

-5-
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 187 of 275 PagelD: 2601
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 10 of 18 PagelD: 995

their inability to protect him from the extortionate and criminal
conduct of others. (Cert. Canning, Exhibit C, 491240-241). D’Ambly
alleges that an investigation would have determined that
@AntiFashGordon publicly announced D’Ambly’s termination on
January 13, 2019, five days before his official termination date
and one day before the Daily News discovered the purported “cause”
for his termination. (Cert. Canning, Exhibit C, 9242). D’Ambly
alleges that CWS failed to challenge blatant misrepresentations by
the Daily News regarding the timing of the alleged cause of his
termination. (Cert. Canning, Exhibit C, 1243). D’Ambly further
alleges that CWS’ revulsion of D’Ambly’s political views caused
CWS to ignore that his termination was racially discriminatory and
pre-textual. (Cert. Canning, Exhibit C, 9244). D’Ambly contends
that he has suffered adverse consequences and continues to be
damaged, and seeks compensatory damages, equitable and declaratory
relief, punitive damages, costs and reasonable attorneys’ fees and
other damages. (Cert. Canning, Exhibit C, 9245).

STANDARD OF REVIEW

 

The Third Circuit has explained that a court may grant a Rule
12(c) motion for judgment on the pleadings when “no material issue
of fact remains to be resolved and [the movant] is entitled to

judgment as a matter of law.” Rosenau v. Unifund Corp., 539 F.3d

 

218, 221 (3d Cir. 2008) (quoting Jabolonski v. Pan Am. World

 
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 188 of 275 PagelD: 2602
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 11 of 18 PagelD: 996

Airways, Inc., 863 F.2d 289, 290-91 (3d Cir. 1988) (internal
quotation marks and citations omitted)).

“The difference between Rule 12(b) (6) and Rule 12(c) is purely
procedural and 12(c) requests for dismissal are governed by the

same standards as 12(b)(6) motions.” Glob. Naps. Inc. v. Bell

 

Atl. N.J. Inc., 287 F.Supp. 2d 532, 530 (D.N.J. 2003). For a
complaint to survive dismissal under Rule 12(b) (6), or Rule 12(c),
it must contain sufficient factual matter to state a claim that is

plausible on its face. Ashcroft v. Iqbal, 556 U.S. 544, 570

 

(2007). In evaluating the sufficiency of a complaint, district
courts must separate the legal and factual elements. Fowler v.
UPMC Shadyside, 578 F.3d 203, 210-211 (3d Cir. 2009). Mere

restatements of the elements of a claim are legal conclusions and
therefore are not entitled to an assumption of truth. Burtch v.

Milberg Factors Inc., 662 F.3d 212, 224 (3d Cir. 2011). The

 

pleading must contain more than “labels and conclusions or a
formulaic recitation of the elements of a cause of action.”
Ashcroft v. Iqbal, 556 U.S. at 678. The court “need not credit a
complaint’s ‘bald assertions’ or ‘legal conclusions.’” In re

Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1429 (3d Cir.

 

1997).
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 189 of 275 PagelD: 2603
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 12 of 18 PagelD: 997

LEGAL ARGUMENT
POINT I

THIS COURT SHOULD DISMISS COUNT XIII OF
PLAINTIFF’S AMENDED COMPLAINT WITH PREJUDICE
UNDER RULE 12(C) AS THERE IS NO LEGAL BASIS
FOR THE LEGAL MALPRACTICE CLAIM AGAINST CWS.

 

A. As a Matter of Law, There Is No Attorney~Client Relationship
between Plaintiff and CWS, as CWS Represented the Union in
the Grievance and Arbitration.

In order to sustain a cause of action for legal malpractice
under New Jersey law, an attorney-client relationship must be
established between the plaintiff and the defendant which imposes
upon the defendant a duty of care to the plaintiff. Jerista v.
Murray, 185 N.J. 175, 190-91 (2005).

Where, as here, an attorney represents a union in a labor
grievance on behalf of a union member as part of the collective
bargaining process, the attorney represents the union and no
attorney client relationship is entered into between the attorney
and the union member. Because Plaintiff cannot prove the prima
facie element of a legal duty owed by CWS to him, his claim for
legal malpractice against CWS is unsustainable as a matter of law.

As all of the factual allegations and the sole cause of action
against CWS arise out of and relate to the grievance and
arbitration which are part of the collective bargaining process,
CWS is immune from suit for malpractice by Plaintiff as a member

of the Teamsters Union.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 190 of 275 PagelD: 2604
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 13 of 18 PagelD: 998

In Carino v. Stefan, 376 F.3d 156 (3d Cir. 2004), the Third
Circuit Court of Appeals unequivocally ruled that Section 301 (b)
of the Labor Management Relations Act (“LMRA”), as broadly
interpreted by the United States Supreme Court in Atkinson v.

Sinclair Refinancing Co., 370 U.S. 238 (1962), immunizes from suit

 

for legal malpractice attorneys hired by unions to perform services
related to a collective bargaining agreement.

In Carino, plaintiff was employed as an insurance agent and
was a member of the union that had a collective bargaining
agreement with her employer. When plaintiff’s employer terminated
her employment (for misconduct in selling insurance policies), the
union filed a grievance under the procedures established by the
collective bargaining agreement. The union thereafter engaged a
law firm to handle the arbitration challenging plaintiff’s
termination, and the law firm appointed one of its attorneys for
this purpose. Plaintiff thereafter executed a settlement
agreement in which she agreed to forego arbitration because the
attorney assured her that in exchange, her employer would clear
her of the charges and reinstate her pension. When plaintiff
realized that the documents she signed made no reference to such
concessions by her employer, she brought claims of legal
malpractice against the firm and the attorney. Carino, 376 F.3d at

158-59.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 191 of 275 PagelD: 2605
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 14 of 18 PagelD: 999

This Court dismissed the complaint with prejudice under
Fed.R.Civ.P. 12(b)(6) for failure to state a claim. The Third
Circuit Court of Appeals affirmed the dismissal of the complaint
and made clear that the attorney enjoyed immunity:

This appeal presents a question of first
impression for our Court, namely, whether an
attorney hired by a union to perform services
on behalf of a union member in connection with
an arbitration hearing conducted pursuant to
a collective bargaining agreement is immune
from suit for malpractice by that member. We
conclude that the LMRA bars such a suit.
[Carino, 376 F.3d at 159.]

In reaching this conclusion, the Third Circuit explained that
“the law is clear that individual union officers are not personally
liable to third parties for actions taken on behalf of the union
in the collective bargaining process.” Td. at 159-160.2 The
Carino court found that “with monotonous regularity [other courts
of appeals have] cited Atkinson to foreclose state-law claims,
however inventively cloaked, against individuals acting as union
representatives within the ambit of the collective bargaining

process.” Id. at 160 (internal quotation marks and citations

omitted).

 

2 The Third Circuit had previously recognized that Atkinson
protects individual union members and officers from suit from
alleged union wrongs. See e.g., Wilkes-Barre Pub. Co. v. Newspaper
Guild of Wilkes-Barre, Local 120, 647 F.2d 372, 377 (3d Cir. 1981);
Republic Steel Corp. v. United Mine Workers of America, 570 F.2d
467, 478 (3d Cir. 1978).

 

 

 

-10-
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 192 of 275 PagelD: 2606
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 15 of 18 PagelD: 1000

With respect to the specific issue of the applicability of
Atkinson to attorneys who act on behalf of a union to assist a
union member in a labor arbitration, the Third Circuit recognized
that other courts of appeals had all reached the same result:

The only courts of appeals to have considered
the specific question presented here, where
attorneys acted on behalf of the union, have
uniformly concluded that Atkinson prohibits
claims made by a union member against
attorneys employed by or retained by the union
to represent the member in a labor dispute.
See Waterman v. Transport Workers Union Local
100, 176 F.3d 150 (2d Cir. 1999) (“[U]nder
Atkinson, a union’s attorneys may not be sued
by an individual union member for actions
taken pursuant to a collective bargaining
agreement.”); Arnold v. Air Midwest Inc., 100
F.3d 857, 862 (10th Cir. 1996) (“[A]n attorney
who performs services for and on behalf of a
union may not be held liable in malpractice to
individual grievant where the services
performed constitute a part of the collective
bargaining process.”); Breda v. Scott, 1 F.3d
908, 909 (9th Cir. 1993) (holding that
employees cannot sue inside or outside counsel
for services rendered under a collective
bargaining agreement); Montplaisir [v.
Leighton, 875 F.2d 1, 7 (lst Cir. 1989)]
(“[F]or purposes of the Atkinson principle,
[attorneys] must be treated the same as other
union agents.”); Peterson v. Kennedy, 771 F.2d
1244, 1258 (9th Cir. 1985), cert. denied, 475
U.S. 1122, 106 S.Ct. 1642, 90 L.Ed. 2d 187
(1986) (“[W]here, as here, the attorney
performs a function in the collective
bargaining process that would otherwise he
assumed by the union’s business agents or
representatives, the rationale behind the
Atkinson rule is squarely applicable.”)

[Id. at 160.]

 

 

 

 

 

-l1-
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 193 of 275 PagelD: 2607
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 16 of 18 PagelD: 1001

As one court has explained, a union may choose to have
grievances handled by a union representative with no legal
training, or by an attorney. When a union chooses to make use of
an attorney, that attorney has not “entered into an ‘attorney-
client’ relationship in the ordinary sense with the particular
union member” at issue. Peterson, 771 F.2d at 1258 (internal
quotations in the original). Rather, the attorney merely
“assume[s] a function that often is performed by a union’s business
agents or representatives.” Peterson, 771 F.2d at 1258. When it
is the union which provides the services, albeit through assigned
counsel, it is the union, rather than the individual business agent
or attorney, that represents and is ultimately responsible to the
member. Id.

In Carino, the Third Circuit cited several policy
considerations for not permitting members to bring malpractice
claims against union attorneys handling labor grievances under a
collective bargaining agreement. First, the court noted that it
would be “anomalous” if the union attorney could be liable for
mere negligence where the union would be liable only if a higher
standard were met, namely arbitrariness or bad faith. 376 F.3d at
161.

Second, because state statutes of limitation for malpractice
are generally longer than the statutes of limitation for a union

member to file suit against the union or employer, if union

-12-
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 194 of 275 PagelD: 2608
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 17 of 18 PagelD: 1002

attorneys were subject to such malpractice suits, litigants would
be able to proceed against the attorney long after their time for
suing the union and the employer had expired. Id. (citing
Peterson, 771 F.2d at 1259) .3

Finally, the Third Circuit recognized that if union members
were permitted to sue union attorneys, the attorneys could be held
liable for damages “flowing from the union’s political or tactical
choices” which “could, in turn, severely hamper unions in enlisting
quality representation.” Id. (citing Montplaisir, 875 F.2d at 7).

“[G]uided by Atkinson [] and the logic of the opinions” of
the other courts of appeals, the Third Circuit held that “§ 301 of
the LMRA immunizes attorneys employed by or hired by unions to
perform services related to a collective bargaining agreement from
suit for malpractice.” Id. at 162.

Here, the sole allegations against CWS relate to the services
it provided on behalf of the Teamsters Union in the grievance and
arbitration process, which are part of the collective bargaining
agreement between the Daily News and the Teamsters Union. Under
the clear and unequivocal holding in Carino, CWS is immune from

D’Ambly’s claim of legal malpractice.

 

3 Any claim against the Teamsters Union is time-barred by the
applicable six-month statute of limitations. See §301 of the LMRA,
29 U.S.C. §185; §10(b) of the National Labor Relations Act, as
amended, 29 U.S.C. §160(b).

-13-
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 195 of 275 PagelD: 2609
Case 2:20-cv-12880-JMV-JSA Document 74-1 Filed 04/22/21 Page 18 of 18 PagelD: 1003

CONCLUSION

Based on the foregoing arguments, Defendant Cohen, Weiss
and Simon LLP respectfully requests that the Court dismiss Count

XIII of the Amended Complaint with prejudice.

GIORDANO, HALLERAN & CIESLA

A Professional Corporation
Attorneys for Defendant Cohen,
Weiss and Simon LLP

Weel - Covers

MICHAEL J. CANNING, ESQ.

By:

 

Dated: April 22, 2021

Docs #5035498-v1

-14-
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 196 of 275 PagelID: 2610

EXHIBIT “HH”?
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 197 of 275 PagelD: 2611
Case 2:20-cv-12880-JMV-JSA Document 98 Filed 11/01/21 Page 1 of 1 PagelD: 2142

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY, et al.,

Plaintiffs, Civil Action No. 20-12880
Vv. ORDER
CHRISTIAN EXO0O a/k/a ANTIFASH
GORDON, et al.,
Defendants.

 

 

John Michael Vazquez, U.S.D.J.

For the reasons set forth in the accompanying Opinion, and for good cause shown,

IT IS on this 1st day of November, 2021,

ORDERED that Defendant Cohen, Weiss, and Simon LLP’s motion (D.E. 74) is
GRANTED; and it is further

ORDERED that Count XIII of the Amended Complaint and Cohen, Weiss, and Simon
LLP as a Defendant are DISMISSED without prejudice in this matter; and it is further

ORDERED that Plaintiffs are provided leave to file an amended pleading that remedies
the identified deficiencies. Plaintiffs’ amended pleading must be filed within thirty (30) days of
the date of this Order. If Plaintiffs fail to file an appropriate amended pleading within this time,
the claim against Cohen, Weiss, and Simon LLP and Cohen, Weiss, and Simon LLP as a Defendant

will be DISMISSED with prejudice.

Joht\ Michael Vazquez, UR DS.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 198 of 275 PagelD: 2612
Case 2:20-cv-12880-JMV-JSA Document 97 Filed 11/01/21 Page 1 of 10 PagelD: 2132

Not for Publication

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY, et al.,

Plaintiffs, Civil Action No. 20-12880
v. OPINION
CHRISTIAN EXOO a/k/a ANTIFASH
GORDON, et al.,
Defendants.

 

 

John Michael Vazquez, U.S.D.J.

Presently before the Court is Defendant Cohen, Weiss, and Simon LLP’s (“Defendant” or
“CWS”) motion to dismiss pursuant to Federal Rule of Civil Procedure 12(c). Defendant seeks to
dismiss Count XIII of the Amended Complaint, which asserts a legal malpractice claim. D.E. 74.
Plaintiff Daniel D’ Ambly (“Plaintiff’ or “D’ Ambly”) filed a brief in opposition, D.E. 81, to which
Defendant replied, D.E. 82.! The Court reviewed the parties’ submissions and decided the motion
without oral argument pursuant to Fed. R. Civ. P. 78(b) and L. Civ. R. 78.1(b). For the reasons
set forth below, Defendant’s motion is GRANTED.

I. FACTUAL AND PROCEDURAL BACKGROUND
In this matter, Plaintiffs assert numerous claims against Defendant Christian Exoo and his

alleged associates because Exoo instructed associates to “dox” Plaintiffs after identifying them as

 

'Defendant’s brief in support of its motion to dismiss (D.E. 74-1) will be referred to as “Def. Br.”;
Plaintiffs opposition brief (D.E. 81) will be referred to as “PIf. Opp.”; and Defendant’s reply brief
(D.E. 82) will be referred to as “Def. Reply.”
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 199 of 275 PagelD: 2613
Case 2:20-cv-12880-JMV-JSA Document 97 Filed 11/01/21 Page 2 of 10 PagelD: 2133

fascists or white supremacists. Doxing refers to “publicly disclos[ing] a person’s identity,
employer, school, home address, etc., for the purpose of causing harm to that person.” Am.
Compl., Statement of the Case. The instant motion involves Plaintiff D’Ambly’s stand-alone
malpractice claim against CWS. Thus, the Court only discusses facts pertinent to that claim.
Briefly, D’ Ambly alleges that Exoo identified D’ Ambly as a white supremacist and fascist
in January 2018, and beginning in October 2018, D’Ambly was doxed. Id. J] 39, 44. D’Ambly
is a member of the New Jersey European Heritage Association (“EHA”), “a non-violent, pro-
domestic policy organization.” Jd. § 1. In tweets, Exoo instructed his Twitter followers to send
harassing and threatening tweets and phone calls to D’Ambly’s employer, the New York Daily
News (“Daily News”), to get D’Ambly fired. Id. 4 45. Between October 29, 2018, and January
11, 2019, “the Exoo Enterprise directed no less than fifty-four (54) threatening Tweets to
@DailyNews plus an unknown number of threatening phone calls.” Jd. Exoo doxed Plaintiff for
a second time on January 11, 2019, again via Twitter. Jd. 951. The same day, callers left
threatening phone messages for the Daily News. Jd. § 52. In January 2019, D’Ambly attended
two meetings with the representatives of his union, Local One-L, and the Daily News and its parent
company about the doxing and D’Ambly’s political associations, including with the EHA. Id.
50, 56. On January 14, 2019, the Daily News told D’Ambly not to report to work until informed

otherwise. Jd. { 62. D’Ambly was terminated on January 16, 2019, during a phone call with

 

* The factual background is taken from Plaintiff's Amended Complaint (“Am. Compl.”). D.E. 66.
As discussed below, the Court construes Defendant’s motion as one filed pursuant to Federal Rule
of Civil Procedure 12(b)(6). When reviewing a Rule 12(b)(6) motion to dismiss, the Court accepts
as true all well-pleaded facts in the complaint. Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d
Cir. 2009). Yet, the standard would be the same under a Rule 12(c) motion. When deciding a
motion for judgment on the pleadings pursuant to Rule 12(c), the Court accepts as true all well-
pleaded facts ina complaint. Jn re Lipitor Antitrust Litig., 336 F. Supp. 3d 395, 406 (D.N.J. 2018).

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 200 of 275 PagelD: 2614
Case 2:20-cv-12880-JMV-JSA Document 97 Filed 11/01/21 Page 3 of 10 PagelD: 2134

D’Ambly, two employees of the Daily News’ parent company, and a representative of Local One-
L. Id. 4 63.

On January 23, 2019, the president of Local One-L “informed the Daily News that they
were appealing D’Ambly’s termination pursuant to terms of the Contract.”? Jd. 4 64. Local One-
L filed a grievance on D’Ambly’s behalf, id. § 68, and the Union retained . . . Cohen, Weiss, and
Simon, LLP... to represent D’Ambly[,]” id Thereafter, Plaintiff had phone conferences with
two attorneys from CWS, who both separately expressed their disdain for D’Ambly’s beliefs. Jd.
{ 69-70. In addition, both attorneys dismissed D’Ambly’s desire to have his employment
reinstated. Jd. On January 15, 2019, D’Ambly executed a separation agreement (presumably with
the Daily News) that CWS negotiated on D’Ambly’s behalf. Through the separation agreement,
D’Ambly received a lump sum payment and the Union agreed to withdraw the pending arbitration
case with prejudice. Jd. § 73. Plaintiff alleges that the CWS attorneys’ bias against his political
views impacted their representation and that they failed to adequately investigate the conduct that
led to Plaintiff's termination. Jd. § 71-72.

D’Ambly filed suit on September 21, 2020. His thirteen-count Complaint largely addresses
Defendants’ alleged doxing campaign. Count XIII, however, is asserted solely by D’Ambly, and
is a claim for legal malpractice against CWS. Count XIII is related to D’Ambly’s termination
from the Daily News and CWS’s involvement in the resulting grievance. See Compl, 99 154-61.
D’Ambly does not allege that CWS was involved in any of the doxing efforts, and the other twelve

counts are not asserted against CWS. CWS subsequently filed its Answer. D.E. 12.

 

3 The Court presumes that the “Contract” D’ Ambly refers to is Local One-L’s collective bargaining
agreement with the Daily News.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 201 of 275 PagelD: 2615
Case 2:20-cv-12880-JMV-JSA Document 97 Filed 11/01/21 Page 4 of 10 PagelD: 2135

On March 25, 2021, Plaintiffs filed the Amended Complaint, which includes allegations
about additional Plaintiffs, but the allegations and claim asserted against CWS are unchanged.
D.E. 66. CWS did not file an amended Answer. Instead, Defendant filed the instant motion,
pursuant to Federal Rule of Civil Procedure 12(c), on April 22, 2021. D.E. 74. Defendants
Christian Exoo, St. Lawrence University, Vijaya Gadde, and Twitter, Inc. filed motions to dismiss
pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6). D.E. 75, 78, 79. Those
motions will be addressed in a separate opinion or opinions.

II. STANDARD OF REVIEW

Defendant brings its motion to dismiss pursuant to Rule 12(c). Rule 12(c) provides that
“[a]fter the pleadings are closed—but early enough not to delay trial—a party may move for
judgment on the pleadings.” Fed. R. Civ. P. 12(c). Pleadings are “closed” after the complaint and
answer are filed. Horizon Healthcare Servs., Inc. v. Allied Nat’l Inc., No. 03-4098, 2007 WL
1101435, at *3 (D.N.J. Apr. 10, 2007). In a multiparty case, “pleadings are not considered closed
until every defendant has answered the complaint.” Newton v. Greenwich Township, No. 12-238,
2012 WL 3715947, at *1 n.1 (D.N.J. Aug. 27, 2012). Here, the other Defendants in this matter
have not answered the Amended Complaint. In addition, although CWS answered the original
complaint, it did not file an answer to the Amended Complaint. An amended pleading supersedes
all prior pleadings. See Sunset Fin. Res., Inc. v. Redevelopment Grp. V, LLC, 417 F. Supp. 2d 632,
642 n.15 (D.N.J. 2006). As a result, Defendant should have answered the Amended Complaint
before filing the instant motion. But more importantly, because no Defendant has answered the
Amended Complaint, the pleadings are not closed. Thus, Defendant’s motion is procedurally
improper. But because Defendant could simply re-file the instant motion as a Rule 12(b)(6) motion

and because a Rule 12(c) motion is reviewed under the same standard as a Rule 12(b)(6) motion,
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 202 of 275 PagelD: 2616
Case 2:20-cv-12880-JMV-JSA Document 97 Filed 11/01/21 Page 5 of 10 PagelD: 2136

the Court will construe Defendant’s motion as having been filed pursuant to Rule 12(b)(6). See,
e.g., Rivera v. Camden Bad. of Educ., 634 F. Supp. 2d 486, 488 (D.N.J. 2009) (construing motion
to dismiss filed after answer as a Rule 12(c) motion).

For a complaint to survive dismissal under Rule 12(b)(6), it must contain sufficient factual
matter to state a claim that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is facially plausible
“when the plaintiff pleads factual content that allows the court to draw the reasonable inference
that the defendant is liable for the misconduct alleged.” Jd. Further, a plaintiff must “allege
sufficient facts to raise a reasonable expectation that discovery will uncover proof of her claims.”
Connelly v. Lane Const. Corp., 809 F.3d 780, 789 (3d Cir. 2016). In evaluating the sufficiency of
a complaint, district courts must separate the factual and legal elements. Fowler v. UPMC
Shadyside, 578 F.3d 203, 210-211 (3d Cir. 2009). Restatements of the elements of a claim are
legal conclusions, and therefore, not entitled to a presumption of truth. Burtch v. Milberg Factors,
Inc., 662 F.3d 212, 224 (3d Cir. 2011). The Court, however, “must accept all of the complaint’s
well-pleaded facts as true.” Fowler, 578 F.3d at 210.

Ig. ANALYSIS

Defendant argues that Count XIII should be dismissed because there was not an attorney-
client relationship between Plaintiff and Defendant. Specifically, Defendant contends that under
the Labor Management Relations Act (““LMRA”), the union was its client, not Plaintiff. Defendant
continues that because the union was its client, Plaintiff's claims are barred by the LMRA. Def.
Br. at 8-12. Legal malpractice is negligence relating to an attorney's representation of a client.
McGrogan v. Till, 771 A.2d 1187, 1193 (N.J. 2001). To state a claim for attorney malpractice, a

plaintiff must demonstrate “(1) the existence of an attorney-client relationship creating a duty of
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 203 of 275 PagelD: 2617
Case 2:20-cv-12880-JMV-JSA Document 97 Filed 11/01/21 Page 6 of 10 PagelD: 2137

care by the defendant attorney, (2) the breach of that duty by the defendant, and (3) proximate
causation of the damages claimed by the plaintiff.” Id “The existence of an attorney-client
relationship is, of course, essential to the assertion of a cause of action for legal malpractice.”
Froom v. Perel, 872 A.2d 1067, 1074 (N.J. App. Div. 2005).

Carino v. Stefan, 376 F.3d 156 (3d Cir. 2004) is directly on point. In Carino, the Third
Circuit broadly construed Section 301(b) of the LMRA,* “holding that § 301 of the LMRA
immunizes attorneys employed by or hired by unions to perform services related to a collective
bargaining agreement from suit for malpractice.” Jd. at 162. Consequently, the Circuit affirmed
the district court’s order dismissing state law claims, including a claim for malpractice, against an
attorney and law firm that the union retained to file “a grievance on [Plaintiff's] behalf, contesting
her termination.” Jd. at 158, 162. The Circuit explained that “the protection of § 301(b) only
applies where a union agent’s liability grows out of activities performed in relation to a collective
bargaining agreement.” Jd. at 162. The Circuit concluded that the attorney’s alleged improper
conduct grew out of the union’s retention of the attorney to represent the plaintiff during arbitration
of the grievance and convincing the plaintiff to withdraw the grievance “was an activity performed
in relation to the collective bargaining agreement.” Id.

Here, Plaintiff pleads that after he was terminated by the Daily News, Plaintiff’s union told
the newspaper that it was going to appeal D’Ambly’s termination “pursuant to terms of the
Contract.” Am. Compl. 765. Thereafter, the union filed a grievance on Plaintiff's behalf. Plaintiff

further alleges that the union hired Defendant to represent Plaintiff with respect to the grievance.

 

* Section 301(b) states, in part, that “[aJny money judgment against a labor organization . . . shall
be enforceable only against the organization as an entity and against its assets, and shall not be
enforceable against any individual member or his assets.” 29 U.S.C. § 185(b). Overall, “Section
185(b) has been interpreted expansively by the courts to provide broad protection for union
representatives.” Cole v. Beros, No. 08-541, 2008 WL 2225825, at *2 (W.D. Pa. May 29, 2008).

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 204 of 275 PagelD: 2618
Case 2:20-cv-12880-JMV-JSA Document 97 Filed 11/01/21 Page 7 of 10 PagelD: 2138

Id. | 68. In the malpractice claim, Plaintiff alleges that Defendant conducted inadequate legal
research and investigation into the accusations that led to Plaintiff's termination. Plaintiff seems
to allude that had Defendant conducted an appropriate investigation, it would have led to
reinstatement. Jd. ff 71-72, 239-45. Plaintiffs allegations fit squarely into the parameters
discussed in Carino. Namely, Plaintiff seeks to hold Defendant liable because of the actions (or
inaction) of two attorneys in representing the grievance related to Plaintiff’s termination. Because
the union retained Defendant to represent Plaintiff as to the grievance, Section 301(b) bars Plaintiff
from asserting malpractice claims against Defendant.

Plaintiff contends that there are “several factors that preclude [Defendant] from invoking
the safe harbor protections of § 301(b).” PIf. Opp. at 3. First, Plaintiff argues that there was an
implied attorney-client relationship between him and CWS. Jd. at 5-6. An implied attorney-client
relationship “requires more than a subjective belief that such relationship exists.” Oestreicher v.
Rutgers, No. 02-959, 2015 WL 6460423, at *6 (D.N.J. Oct. 26, 2015). Rather, a court may find
that an implied attorney-client relationship existed if a party shows “(1) that it submitted
confidential information to a lawyer, and (2) that it did so with the reasonable belief that the lawyer
was acting as the party’s attorney.” Montgomery Acad. v. Kohn, 50 F. Supp. 2d 344, 350 (D.N.J.
1999) (quoting Pain Prevention Lab, Inc. v. Elec. Waveform Labs, Inc., 657 F. Supp. 1486, 1495
(N.D. Ill. 1987)).

Plaintiff maintains that an implied attorney-client relationship was formed because he
shared confidential materials with Defendant. Plf. Opp. at 6-7. But the allegations in the Amended
Complaint involve Defendant’s failure to conduct an adequate investigation and its bias against
Plaintiff s political beliefs and associations. See Am. Compl. {ff 72, 239. Plaintiff does not allege

that he shared any confidential information with Defendant. Plaintiff cannot amend his pleading
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 205 of 275 PagelD: 2619
Case 2:20-cv-12880-JMV-JSA Document 97 Filed 11/01/21 Page 8 of 10 PagelD: 2139

through a brief. Pa. ex rel. Zimmerman v. PepsiCo, Inc., 836 F.2d 173, 181 (3d Cir. 1988) (“It is
axiomatic that the complaint may not be amended by the briefs in opposition to a motion to
dismiss.”) (quoting Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101, 1107 (7th Cir.1984)).
Accordingly, Plaintiff fails to plead facts through which the Court could assume that an implied
attorney-client relationship existed.°

But even if an implied attorney-client relationship existed between Plaintiff and Defendant,
it does not change the fact that Plaintiff's union retained Defendant and Defendant was working
on the union’s behalf. In Carino, the Circuit acknowledged that the attorney may have owed
Carino a duty of care but explained that “this does not alter the fact that he was acting on behalf
of the Union.” Carino, 376 F.3d at 162. The Third Circuit explained that this additional duty
owed to the individual employee does not alter the § 301(b) bar. Jd. Consequently, even assuming
that an implied attorney-client relationship here, which it did not, Section 301(b) would likely still
bar Plaintiffs claims against Defendant.

Next, Plaintiff argues that Section 301(b) does not apply because the union was a captive
labor organization. PIf. Opp. at 7-10. The term “captive labor organization” appears in several
cases from the 1980s where the United States brought civil RICO claims against mob families. In

those cases, the court determined that a union was a captive labor organization because certain

 

> Plaintiff also argues that Defendant violated New Jersey Rule of Professional Conduct (“RPC”)
1.13, which addresses an attorney’s ethical duties in representing an organization. PIf. Opp. at 6.
RPC 1.13, however, does not establish that Defendant represented Plaintiff as a member of the
organization. In fact, RPC 1.13 states otherwise. Specifically, RPC 1.13(a) provides that “[a]
lawyer employed or retained to represent an organization represents the organization as distinct
from its directors, officers, employees, members, shareholders or other constituents.” RPC
1.13(a). Plaintiff further argues that Defendant violated other subsections of RPC 1.13. While an
attorney’s failure to comply with an RPC “can be considered evidence of malpractice,” Baxt v.
Liloia, 714 A.2d 271, 276 (N.J. 1998) (quoting Albright v. Burns, 503 A.2d 386, 390 (N.J. App.
Div. 1986)), the Court does reach this issue due to the absence of an attorney-client relationship
between Plaintiff and Defendant.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 206 of 275 PagelD: 2620
Case 2:20-cv-12880-JMV-JSA Document 97 Filed 11/01/21 Page 9 of 10 PagelD: 2140

individuals “dominated [union members] through fear and intimidation and [] exploited through
fraud and corruption.” United States v. Local 560, Int’l Bhd. of Teamsters, Chauffers,
Warehousemen, & Helpers of Am., 581 F. Supp. 279, 319 (D.N.J. 1984), aff’d 780 F.2d 267 (3d
Cir. 1985). Although Plaintiff asserts civil RICO claims in the Amended Complaint, there are
absolutely no allegations that remotely suggest that the alleged RICO enterprise controlled or
influenced Plaintiff’s union, let alone did so through fear and intimidation. Moreover, Plaintiff
cites no legal authority demonstrating that Section 301(b) does not apply if there is a captive labor
organization. This argument, therefore, is rejected.

Plaintiff also appears to argue that because he could have asserted a claim under Section
501(a) of the Labor-Management Reporting and Disclosure Act of 1959 (““LMRDA”), Section
301(b) of the LMRA does not apply. PIf. Opp. at 8. Section 501(a) of the LMRDA addresses
duties that union officers owe to members of the union. 29 U.S.C. § 501(a). “Members of a labor
organization may sue officers for violations of their fiduciary duties under Section 501(a).” Fonti
v. Health Prof'ls & Allied Emps., No. 13-4231, 2015 WL 1523834, at *3 (D.N.J. Apr. 2, 2015).
But again, Plaintiff does not provide any legal authority addressing how a claim under Section
501(a) of the LMRDA impacts Section 301(b). More importantly, Plaintiff is not asserting any
breach of fiduciary duty claims in this matter nor does he allege facts demonstrating that any union
official breached fiduciary duties the official owed to the union. Therefore, this argument is also
rejected.

Finally, in his opposition brief, Plaintiff addresses whether he committed a terminable
offense under his collective bargaining agreement and contends that he was engaged in political
speech. Plaintiff continues that because Defendant disagreed with his political speech, it should

have informed Plaintiff that there was a conflict that required Plaintiff to seek outside counsel. PIf.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 207 of 275 PagelD: 2621
Case 2:20-cv-12880-JMV-JSA Document 97 Filed 11/01/21 Page 10 of 10 PagelD: 2141

Opp. at 10-12. But because Section 301(b) bars Plaintiff's claim against Defendant and there was
not an attorney-client relationship between Plaintiff and Defendant, the Court does not address
whether CWS breached any duties.
IV. CONCLUSION

For the foregoing reasons, Defendant Cohen, Weiss, and Simon LLP’s motion (DE. 74) is
GRANTED. Count XIII of the Amended Complaint and Cohen, Weiss, and Simon LLP as a
Defendant are DISMISSED without prejudice in this matter. Although it appears that any
amendment would be futile in light of the Section 301(b) bar, the Court recognizes that D’Ambly
raised potential new allegations in his opposition brief. As a result, the Court will provide Plaintiffs
with leave to file an amended pleading that remedies the identified deficiencies. Plaintiffs’
amended pleading must be filed within thirty (30) days of the date of this Opinion and the
accompanying Order. If Plaintiffs fail to file an appropriate amended pleading within this time,
the claim against Cohen, Weiss, and Simon LLP and Cohen, Weiss, and Simon LLP as a Defendant
will be DISMISSED with prejudice. An appropriate Order accompanies this Opinion.

Dated: November 1, 2021

Qe, Wee aire

John Michael Vazquez, U\S/D:.

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 208 of 275 PagelD: 2622

EXHIBIT “Y”
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 209 of 275 PagelD: 2623

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f NEWS . . . .
Judge Eviscerates Suit Claiming
in Plaintiffs Were 'Doxed' Over
y Right-Wing Views
"The general question raised here is whether Exoo's
& communications about plaintiffs crossed a legal line into
unlawful action," U.S. District Judge John Michael Vazquez
SZ said.
November 02, 2021 at 05:23 PM
©

 

Twitter headquarters in San Francisco, © 4 minute read

California. Photo: Jason Doiy/ALM

What You Need to Know

e RICO counts against Twitter, its general counsel and St. Lawrence University were dismissed because
the plaintiff failed to show they obtained his property.

¢ The suit dismissed claims against Exoo by 12 of the 13 plaintiffs because they live in places other than
New Jersey.

* Dismissals were without prejudice, and counsel for the plaintiffs said he would refile an amended
complaint to correct deficiencies.

A federal judge in Newark, New Jersey, has dismissed most counts in a suit by alleged white
supremacists, who claim they were victims of a doxing campaign.

U.S. District Judge John Michael Vazquez dismissed claims against Twitter and its general
counsel, Vijaya Gadde, in a suit by 13 people who say they were harassed for their right-wing views.

The judge also dismissed from the case the New York law firm of Cohen, Weiss and Simon and St.
Lawrence University.

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In addition, Vazquez threw out claims against Christian Exoo, who was alleged to be the leader of
the doxing campaign, by 12 of the 13 plaintiffs. According to the suit, Twitter, Gadde, St. Lawrence
and Exoo were part of a network that disseminated plaintiffs’ addresses, phone numbers and the
names of their employers for the purpose of facilitating harassment.

Still standing are complaints by plaintiff Daniel D’Ambly against Exoo, his
former employer, the New York Daily News, and its parent, Tribune Publishing
Co,

The dismissals were without prejudice, and the plaintiffs’ lawyer, Patrick
Trainor, a solo practitioner in East Rutherford, New Jersey, said he would file
amended complaints with more details of the harassment experienced by his
clients.

“We were expecting this,” Trainor said.

f The plaintiffs alleged, according to Vazquez, that after being identified and

   

B doxed by Exoo and his associates, they received violent threats, their homes

ee and personal items were vandalized, and they were terminated from their
U.S. District Judge for the District

of New Jersey John Michael jobs.
Vazquez. Courtesy photo

“It seems as though plaintiffs want to express their views without a negative
impact on other aspects of their lives. Similarly, it seems like Exoo wants to criticize plaintiffs
because of their views and try to get plaintiffs fired from their jobs. The genera! question raised here
is whether Exoo’s communications about plaintiffs crossed a legal line into unlawful action,” Vazquez
said.

D’Ambly belongs to the New Jersey European Heritage Association, and some other plaintiffs say
they are part of a group called the Proud Boys. D’Ambly, who worked at the Daily News printing
plant in Jersey City, claimed he was fired from his job after Exoo and others targeted his workplace
with numerous threatening phone calls and tweets.

The suit claimed Twitter and Gadde were liable because the alleged doxing relied on the company’s
platform to spread information about the plaintiffs, and that they were part of an enterprise that aiso
included Exoo and his employer, St. Lawrence.

Vazquez said the plaintiffs alleged they were extorted by the defendants, but the suit provides no
support for that claim since extortion requires “the obtaining of property from another.”

“Plaintiffs’ focus their RICO claims on allegations that they lost their jobs because of Exoo’s doxing,
but the loss of a job alone does not constitute a Hobbs Act violation because no one obtains
another person’s property,” Vazquez wrote.

Vazquez found that none of the plaintiffs other than D'Ambly established personal jurisdiction over
Exoo. Other than D’Ambly, none of the plaintiffs lives or works in New Jersey. “Consequently, all
plaintiffs except for D’Ambly fail to demonstrate a sufficient connection between New Jersey, their
claims, and Exoo,” Vazquez said.

D’Ambly claimed that Cohen Weiss, which represented his labor union in connection with his
separation from the Daily News, harbored bias against his political views that impacted their
representation and that the firm failed to adequately investigate the case. But Vazquez found that
Section 301b of the Labor Management Relations Act immunizes attorneys employed or hired by
unions to perform services related to a collective bargaining agreement from suit for malpractice.

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Lawrence Lustberg of Gibbons, who represented Twitter and Gadde, and Monica Barrett of Bond,
Schoeneck & King in New York, who represented St. Lawrence University, said they were not

authorized to comment. Michael Canning of Giordano, Halleran & Ciesla, who represented Cohen

Weiss, referred a call about the case to the firm, which declined to comment.

 

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 212 of 275 PagelD: 2626

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Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 213 of 275 PagelD: 2627
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 1 of 63 PagelD: 2170

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Attorney for Plaintiffs

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DANIEL D’AMBLY; AARON WOLKIND;
STEVE HARTLEY; RICHARD SCHWETZ;

JOBEL BARBOSA; MATTHEW CIVIL ACTION NO.: 2:20-cv-12880-JMV-JSA
REIDINGER; JOHN HUGO; SEAN-

MICHAEL DAVID SCOTT; THOMAS SECOND AMENDED COMPLAINT
LOUDEN; ZACHARY REHL; AMANDA

REHL; K.R., a minor, by and through her JURY TRIAL DEMAND

father ZACHARY REHL and her mother
AMANDA REHL, MARK ANTHONY
TUCCI,

Plaintiffs,

VS.

CHRISTIAN EXO0O a/k/a ANTIFASH
GORDON; ST. LAWRENCE UNIVERSITY;
TRIBUNE PUBLISHING COMPANY, LLC;
NEW YORK DAILY NEWS; VIJAYA
GADDE; TWITTER, INC; COHEN, WEISS
AND SIMON, LLP; NICK STRICKLAND;
TORCH ANTIFA NETWORK; UNNAMED
ASSOCIATES 1 — 100,

 

Defendants.

Plaintiffs, Daniel D’Ambly, Aaron Wolkind; Steven Hartley; Richard Schwetz; Jobel
Barbosa; Matthew Reidinger; John Hugo; Sean-Michael David Scott; Jr.; Thomas Louden;

Zachary Rehl; Amanda Rehl; K.R., a minor, by and through her father Zachary Rehl and her

mother Amanda Rehl (hereinafter collectively referred to as “Plaintiffs”) by and through their
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 214 of 275 PagelD: 2628
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 2 of 63 PagelD: 2171

attorney the Law Office of Patrick Trainor, as and for their Complaint against defendants
Christian Exoo a/k/a @AntifashGordon, St. Lawrence University, Tribune Publishing Company,
LLC, New York Daily News, Vijaya Gadde, Twitter, Inc., Torch Antifa Network, Nick
Strickland, and Cohen, Weiss, and Simon, LLP, hereby alleges as follows:

STATEMENT OF THE CASE

This action arises out of the conduct of defendant Christian Exoo (hereinafter “Exoo”),
under the Twitter username “@AntiFashGordon.” Defendant Exoo is a habitual doxer, who
leads, associates, and conspires with likeminded associates to dox! people (“targets”) that they
claim are “fascists” and “white supremacists,” in order to cause those targets to suffer
employment terminations, school expulsions, and to financially devastate them. Exoo and
associates coupled doxing with direct action” against Plaintiffs.

Inserted throughout this Complaint are Tweets, blog posts, and statements made by Exoo
and associates with “calls to action,” mocking results of direct action, concern for legal
ramifications, the promotion of the use of *67 to mask their phone numbers. Exoo and
associates believe doxes are warnings against trespass against them and all doxes and dogpiling
are imbued with threats against their target. Exoo often reminds his associates “we don’t cry to

the cops or the court. who protects us? we protect us.”

AntiFash Gordon @AntiFasnGordon - Sep 21, 2020
11/ We don't run crying to the cops or the courts.

 

Who protects us?

We protect us.

 

 

' Dox Definition, Merriam-Webster.com, https://www.merriam-webster.com/dictionary/dox, “to publicly identify or
publish private information about (someone) especially as a form of punishment or revenge.” (last visited Nov. 14,
2021).

? Direct Action Definition, OxfordLearnersDictionaries.com, The use of strikes, protests, etc. instead of discussion in
order to get what you want, https://www.oxfordlearnersdictionaries.com/us/definition/english/direct-
action?q=direct+action (last visited Nov. 27, 2021).
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 215 of 275 PagelD: 2629
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 3 of 63 PagelD: 2172

Moreover, by Defendants’ definition of what constitutes actual violence, doxes and their
inherent threats, are actual violence. As evidenced in the images below of a Twitter
conversation, involving Exoo, his key Exoo associate, Twitter user @emilygorcenski, who is a
verified blue check Twitter account, and Mark Pitcavage, Senior Research Fellow, Center on
Extremism, Anti-Defamation League, Exoo and @emilygorcenski dispute Mr. Pitcavage’s point
that threats are not actual violence, and cite to the World Health Organization definition, which
includes threats as actual violence to support his position.

Emily G, adult human female @

      
   

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many experts in abuse and trauma, assert that it does not,
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Mark Pitcavage @ & : t + .
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Defining violence

Any comprehensive analysis of solence should

 
  
 
 

  

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resulting in injury, death, psychological harms,

maldevelopment or deprivation

 

Exoo admits leading, associating with, and conspiring with others in an enterprise that
doxes and conducts direct action against alleged fascists and white supremacists. In Rolling

Stone magazine*, Exoo was described as the “closest thing to a leader,” and in a September

 

3 Andy Kroll, Mfeet the Undercover Ant-Fascisis, https:/Avww.rollingstone.com/politics/palitics-features/antifa-
proud-boys-militia-trump-insurrection-1121933/ (last accessed Nov. 27, 2021).
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 216 of 275 PagelD: 2630
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 4 of 63 PagelD: 2173

2019, Medium.com interview as “@AntiFashGordon” (or “AFG”), Exoo is described as “just
about the closest thing Antifa...has to a celebrity.” In the Medium.com interview, Exoo

described that*

himself is exactly what we don't need,” he explained. “I have a whole affinity group of
people sharing intel with me. And I would be a lonely guy just screaming onto social

media without communities to actually mobilize around this stuff.”

Exoo’s associates seconded Exoo’s admission that an association of people engaged in
doxing and direct action exists. On or about April 9, 2021, in the blog post titled “Antifash
Gordon’s Abuse, Abusers not welcome here: A statement of separation from AntiFash Gordon,”
associates announced they will no longer work with Exoo, because of his abusive behavior,

which included using doxing and direct action for his own financial gain.°

and presents lumself as an exemplar of anarclustic values. The reality is that AFG 1s a seltish, self-
unterested, reckless, and harmful undividual who has crmucally used a movement working for a better
world as a velucle for lus own financial and social gam, at the expense of others, with no indication

Another former associate recently described Exoo’s @AntiFashGordon Twitter account

f2), wetland waitu “*

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as the public face of a “vast underground

"security culture” against disabled, trans, poc to keep

network.” Moreover, associates admitted in the
Statement of Separation blog post that for doxing

and direct action Exoo compensated them with

their spaces insular that were easily infiltrated.

This isn't about one person. AFG is the public face of
a vast underground network whose labor he takes
credit. AFG isn't just Ex_o, it started as a Boston DSA

project

16:52 PM - Nav 6, 2021 - Teatter Web App

 

4 Aaron Gell, Anti-Fascists Are Waging a Cyber War — And They’re Winning, Medium.com, September 9, 2019,
https://een.medium.com/antifas-kevboard-warriors-254f62be2a95 (last accessed Nov. 27, 2021). See also Ex. A.

> Antifash Gordon’s Abuse, Abusers not welcome here: A statement of separation from AntiFash Gordon, (Apr. 9,
2021) formerly available at https://antifashgordon.noblogs.org (last accessed May 12, 2021) has since been taken
offline but a copy is available at https://web.archive.ore/web/202 10409230402/https://antifashgordon.noblogs.org/
(last accessed Nov. 27, 2012). See also Ex. B.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 217 of 275 PagelD: 2631
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 5 of 63 PagelD: 2174

. . such as money, connections to jobs, and opportunities
cash and other valuable consideration, ys 05, PI

for media appearances with lus frends in the LESS. 6

The Statement of Separation from AntiFash Gordon is signed by members of Defendant
Torch Antifa, who published their own statement of solidarity and separation Exoo that similarly
described the existence of an organization.’ Torch Antifa described Exoo as someone who holds
a “position of power and influence” that enables him to serve has the “arbiter and distributor of
research information, media opportunities, and financial resources to other antifascists,”’ but who
failed to acknowledge the “collective labor” behind @AntiFashGordon Twitter account.®

The association obtains private and confidential information of their targets, who use
online aliases. Publication of the dox is the first step. Once the dox is published Exoo and
associates dogpile a target’s employers, co-workers, schools, acquaintances. Dogpiling is when
an individual uses Twitter to incite their followers to say or do a specific thing, such as reply to

another person with abusive messaging,’ or as Exoo himself put it:

The next step, Gordon continued, was to “find some point of vulnerability: employer,
landlord, school, church, anywhere where they would lose some kind of social status ar
take a hit.” Ciften, a single phone call alerting an employer to the presence of a white
nationalist on the payroll was enough to get someone fired: other times, an online
publicity campaign is launched to apply community pressure. “This is not a thing we
take joy in — the personal suffering of white supremacists,” David said. “But it is a good

 

6 Id.

? Concerning Antifash Gordon: A Torch Statement in Solidarity with the Victims of Abuse, (Apr. 9, 2021) formerly
available at https://torchantifa.ore/concerming-antifash-gordon-a-atorch-statement-solidarity-with-victims-of-abuse
(last accessed May 12, 2021), however, on or about November 7, 2021, Torch’s statement in the above link was
taken down and it now links to a statement explaining that Torch removed the original statement in solidarity,
because they received a “Cease and Desist” notice from Christian Exoo’s attorneys. (last accessed Nov. 27, 2021).
A copy of both statements is attached hereto as Exhibit C.

8 Concerning Antifash Gordon: A Torch Statement in Solidarity with the Victims of Abuse, (Apr. 9, 2021) formerly
available at https://torchantifa.ore/concerning-antifash-gordon-a-atorch-statement-solidaritv-with-victims-of-abuse
(last accessed May 12, 2021). See also Ex. CC.

® Autps: vhelp.twitter.conven‘rules-and-policies coordinated-harmpil-uctivity (last accessed Nov. 14, 2021).
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 218 of 275 PagelD: 2632
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 6 of 63 PagelD: 2175

THE PARTIES

l. Daniel D’Ambly (hereinafter “D’Ambly”), was a twenty-seven (27) year member
of Local One-L, Graphic Communications Conference of the International Brotherhood of
Teamsters, who was employed as a was a plate maker for the New York Daily News in Jersey
City, New Jersey until January 18,2019. D’Ambly was doxed by Exoo on October 29, 2018. In
the dox D’Ambly was labeled a ‘fascist’ and/or a ‘white supremacist.’ D’Ambly is a member of
the New Jersey European Heritage Association (“EHA”), a non-violent, pro-domestic policy
organization that the Exoo and associates have labeled a white supremacist hate group, which
D’Ambly leads. D’ Ambly and the EHA, actively participate in political rallies, peaceful political
protests, pamphleteering, and speech that is protected by U.S. Const. amend. I and N.J. Const.
art. I, 96. D’Ambly is an individual domiciled in the State of New Jersey and a “person” as
defined under 18 U.S.C. § 1961(3).

2. Zachary Rehl (“Rehl”) was employed by New York Life Insurance Company in
Philadelphia when he was doxed by Exoo in or about August 2017, and labeled a fascist and
white supremacist. Rehl is an individual domiciled in the Commonwealth of Pennsylvania and a
“person” as defined under 18 U.S.C. § 1961(3).

3. Amanda Rehl (“AmRehl”) is the spouse of Zachary Rehl. AmRehl is an
individual domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18
U.S.C. § 1961(3).

4, K.R. (“K.R.”), is the minor child of Zachary Rehl and Amanda Rehl. K.R. is an
individual domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18

U.S.C. § 1961(3).
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 219 of 275 PagelD: 2633
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 7 of 63 PagelD: 2176

5. Aaron Wolkind (“Wolkind”) was a Technical Support Specialist for Aerzen USA
Corporation (“Aerzen”) when he was doxed by Exoo on or about June 2019, and labeled a
fascist, white supremacist, and a neo-Nazi. Wolkind is an individual domiciled in the State of
Delaware and a “person” as defined under 18 U.S.C. § 1961(3).

6. Steven Hartley (“Hartley”), is a logistics manager for American Expediting
located in Folcroft, Pa. On November 29, 2018, he was doxed by Exoo and labeled a Nazi, racist
and white supremacist who was a threat to women and minorities. Hartley is an individual
domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18 U.S.C. §
1961(3).

7. Mark Anthony Tucci (“Tucci”) was employed at Aldo’s Pizzarama in
Philadelphia when he was doxed by Exoo on December 10, 2018, and labeled a fascist, racist,
and white supremacist. Tucci is an individual domiciled in the Commonwealth of Pennsylvania
and a “person” as defined under 18 U.S.C. § 1961(3).

8. Richard Schwetz (“Schwetz”) was employed at Inova Payroll in Lancaster, Pa.,
when he was doxed by Exoo in or about June 2020, and labeled a fascist, racist, and white
supremacist. Schwetz is an individual domiciled in the Commonwealth of Pennsylvania and a
“person” as defined under 18 U.S.C. § 1961(3).

9. Jobel Barbosa (“Barbosa”) is Puerto Rican and a permanently disabled veteran,
who was employed as a Detail Department Manager at Jaguar Land Rover Willow Grove, in
Willow Grove, Pa., when he was doxed by Exoo on June 22, 2019, and labeled a fascist, racist,
and white supremacist. Barbosa is an individual domiciled in the Commonwealth of

Pennsylvania and a “person” as defined under 18 U.S.C. § 1961(3).
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 220 of 275 PagelD: 2634
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 8 of 63 PagelD: 2177

10. Matthew Reidinger (“Reidinger”) was employed in Coal Township, Pa. On
November 27, 2018, he was doxed by Exoo and labeled a fascist and white supremacist.
Reidinger is an individual domiciled in the Commonwealth of Pennsylvania and a “person” as
defined under 18 U.S.C. § 1961(3).

11. John Hugo (“Hugo”) was employed as a dispatch manager for Green and Yellow
Cab in Somerville, Massachusetts when he was doxed by Exoo on January 2, 2020, and labeled a
fascist and white supremacist. Hugo is an individual domiciled in the Commonwealth of
Massachusetts and a “person” as defined under 18 U.S.C. § 1961(3).

12. Sean-Michael David Scott (“Scott”) was employed in Seattle, Washington when
he was doxed by Exoo on September 16, 2019, and labeled a fascist, white supremacist, and anti-
Semite. Scott is an individual domiciled in the State of Florida and a “person” as defined under
18 U.S.C. § 1961(3).

13. Thomas Louden (“Louden”) is a 30-year volunteer firefighter and the appointed
Deputy Emergency Management Coordinator for Hilltown Township, Pennsylvania and was
employed as the Director of Managed Care at Thomas Jefferson University Hospital in
Philadelphia for twenty-three (23) years when he was doxed by Exoo on November 2, 2020.
Louden is an individual domiciled in the Commonwealth of Pennsylvania and a “person” as
defined under 18 U.S.C. § 1961(3).

14. Plaintiffs Wolkind, Hartley, Schwetz, Rehl, Barbosa, and Tucci are members of
the Philadelphia chapter of the Proud Boys (hereinafter “PPB” or “Proud Boys”). Plaintiff
Reidinger is a member of the Harrisburg chapter of the Proud Boys (“HPB”). The Proud Boys
are a diverse, multi-racial, multi-ethnic, fraternal, males-only drinking club, who consider

themselves “western chauvinists.”’
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 221 of 275 PagelD: 2635
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 9 of 63 PagelD: 2178

15. Hugo is the President of Super Happy Fun America, a right of center civil rights
organization focusing on defending the American Constitution, opposing gender madness, and
defeating cultural Marxism. Super Happy Fun America is best known for organizing the 2019
Boston Straight Pride Parade. Hugo was the 2018 Republican Candidate for Massachusetts’ 5"
Congressional District.

16. Defendant Christian Exoo (“Exoo” or “@AntiFashGordon’”) is a library building
supervisor and lecturer at St. Lawrence University. Exoo is a self-described anti-fascist,
notorious doxer, and leader of Antifa, who by doxing others has acquired a great deal of
notoriety and infamy.'° Exoo currently publishes Tweets under Twitter username
“@AntiFashGordon.” Exoo is an individual domiciled in the State of New York and a “person”
as defined under 18 U.S.C. § 1961(3).

17, St, Lawrence University (“St. Lawrence” or “STL”’) is a private four-year
university with its principal place of business located at 116 Vilas Hall, 23 Romoda Drive,
Canton, New York 13617, and a “person” as defined under 18 U.S.C. § 1961(3).

18. Tribune Publishing Company (“Tribune”) is a media company organized under

the laws of the State of Delaware with its principal place of business located at 160 N. Stetson

 

10 Anti-Fascists Are Waging A Cyber War — And They’re Winning, Medium.com (Sep. 9, 2019)
https://gen.medium.com/antifas-keyboard-warriors-254f62be2a95 (last accessed Sep. 15, 2020);
Comcast fires employee with alleged ties to Proud Boys, We the People Rally, PhillyVoice.com
(November 15, 2018) https://www.phillyvoice.com/comceast-fires-emplovee-proud-boys-alt-
right-philadelphia-rally/ (last accessed Sep. 15, 2020); The Right Wing Is Trying to Make It a
Crime to Oppose Fascism, Truthout.org (Aug. 9, 2019) htips://truthout.org/articles/the-right-
wing-is-trying-to-make-it-a-crime-to-oppose-fascism/ (last accessed Sep. 15, 2020); How to Spot
An Abuser, Featuring Antifash Gordon, In His Own Words: A Step By Step Guide, and Also
F*** That Guy, Medium.com (Jun. 25, 2020)
https://medium.com/@abuse_isnt_revolutionary/how-to-spot-an-abuser-featuring-antifash-
gordon-in-his-own-abuser-words-7639f4657b19 (last accessed Sep. 15, 2020).

 

 

 
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 222 of 275 PagelD: 2636
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 10 of 63 PagelD: 2179

Avenue, Chicago, Illinois 60601 that conducts its business throughout the United States and is a
“person” as defined under 18 U.S.C. § 1961(3).

19. New York Daily News Company (“Daily News”) is owned by the Tribune
Publishing Company (Tribune and Daily News are sometimes hereinafter referred to collectively
as “Daily News”) with a place of business located at 125 Theodore Conrad Drive, Jersey City,
New Jersey 07305, and 4 New York Plaza, New York, NY 10004. The Daily News is a
“person” as defined under 18 U.S.C. § 1961(3). At all times relevant, the Tribune Publishing
Company had the right and did exercise control over the actions of the New York Daily News.

20. Vijaya Gadde (“Gadde”) is the Head of Legal, Public Policy, and Trust and Safety
Lead at Twitter, Inc. At all times relevant, Vijaya Gadde was the sole decision maker and person
authorized to permanently ban Twitter users who violated Twitter’s Terms of Service and Rules.
She is a “person” as defined under 18 U.S.C. § 1961(3). Gadde is believed to be domiciled in
the State of California.

21. Twitter, Inc. (“Twitter”), is a company organized under the laws of the State of
Delaware with its principal place of business located at 1355 Market Street, San Francisco, CA
94103, that conducts its business globally and a “person” as defined under 18 U.S.C. § 1961(3).

22. Exoo and associates are a criminal enterprise as defined under 18 U.S.C. §
1961(4).

23. Cohen, Weiss, and Simon, LLP (“CWS”) is a law firm with its principal place of
business located at 900 3 Avenue, #2100, New York, New York 10022 anda “person” as

defined under 18 U.S.C. § 1961(3).

10
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 223 of 275 PagelD: 2637
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 11 of 63 PagelD: 2180

24. ~~ Nick Strickland is an individual domiciled in the State of New Jersey and a
“person” as defined under 18 U.S.C. § 1961(3), he controls and publishes Twitter username
“@NStricklanded.”

25. Torch Network a/k/a Torch Antifa Network describes itself as “a network of
Militant antifascists across (but not limited to) the United States. We are born out of, and pay
our respects to, the Anti-Racist Action Network. We are dedicated to confronting fascism and

other element of oppression. We believe in direct action.”

@
TORCH NETWORK

ABOUT ~ — INSIDE PATRIOT FRONT ~  ANTIPASCIST PRISONER SUPPORT ~ — RESOURCES SUPPORT Q

About RECENF POStSs

The Torch Network is a network of Militant antifascists across (but not limited to}
the united status. We are born out of, and pay our respects to, the Anti-Racist
Action Network. We are dedicated to confronting fascism and other clement of

 

oppression. We believe in direct action.

Torch Antifa controls and publishes Twitter account “@TorchAntifa” and internet website

littps:torchantifa.ore. Torch Antifa has no known address but its internet domain

 

torchantifa.org is registered to Pennsylvania non-profit organization One People’s Project,
whose principal address is in New Brunswick, New Jersey.

JURISDICTION AND VENUE

 

"Torch Network, https:/Aorchantifa.org/about/, (last accessed Nov. 14, 2021).

   

1]
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 224 of 275 PagelD: 2638
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 12 of 63 PagelD: 2181

26. Jurisdiction of this Court is proper because this litigation arises under federal law,
namely 18 U.S.C. §§ 1961 to 1968. This Court has jurisdiction over this matter under 28 U.S.C.
§ 1331.

27. The Court has supplemental jurisdiction over the state law claims asserted in this
case under 28 U.S.C. § 1367(a).

28. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) because a
substantial part of the events or omissions giving rise to the claims occurred in this District, and
the threatened and actual harm occurred in this District by reason of Defendants’ conduct as
alleged below.

FACTS PERTINENT TO ALL PLAINTIFFS

29. Exoo and associates use the terms fascists and/or white supremacists
interchangeably.

30. Defendant Exoo publishes Tweets and doxes under Twitter username
“@AntiFashGordon” a leading Antifa Twitter account that as of November 14, 2021, has 53,534
Twitter followers. The headline of @AntiFashGordon’s public profile as seen below states “I

expose fascists via #OSINT, get them fired, de-homed, kicked out of school, etc.”

 

1Gardoan

Lexpose fascists via #257, get them fired, de-hamed, kicked aut of school, etc.
“Your work is a endiess biack hole of destruction.” --Nea-Nazi joann Camden

 

3,445 Fo!

  

12
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 225 of 275 PagelD: 2639
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 13 of 63 PagelD: 2182

31. | Doxing is prohibited by Twitter’s Private Information Policy within their Terms
of Service and Rules (“TOS”).

32.  Twitter’s TOS also prohibit Coordinated harmful activity, specifically Twitter
prohibits Social Coordination, which Twitter defines as “on or off-Twitter coordination among a
group of people to amplify or propagate a specific message...an individual using Twitter to
incite their followers to say or do a specific thing, such as reply to another person with abusive
messaging — a practice referred to as “dogpiling.” ?

33. Upon information and belief, Exoo is a habitual doxer and ban evader, who has
been permanently banned at least twice before Exoo he began to publish and control
@AntiFashGordon, is known to Twitter’s Trust & Safety Council (“TSC”). A ban evader is a
person who creates a new Twitter account after receiving a permanent ban, which is a lifetime

ban. The ban evader’s new account is called a “ban evasion account,” and is prohibited by

Twitter rules.'* Twitter has previously permanently banned @ChrisExoo,'> @ChristianExoo.'°

- Profile < Profile
@ChristianExco @ChrisExoo

Account suspended Account suspended
Tevi EASED shies wePhect

 

ends accounts which volate the Twitter Ywitter cuapend: aoceume whion vintute the Twitie

 

 

2 https. help.owitter.com enrules-and-policies: personal-information “You may not publish or post other people’s
private information without their express authorization and permission. We also prohibit threatening to expose
private information or incentivizing others to do so.” (last accessed Nov. 14, 2021).

3 https:“help.cwitter. conven rules-ana-policies:coordinated-harmful-activity (last accessed Nov. 14, 2021).

8 hips: help.twitter.convenrules-and-policies‘enforcement-options “Permanent suspension: This is our most
severe enforcement action. Permanently suspending an account will remove it from global view, and the violator
will not be allowed to create new accounts.” (last accessed Nov. 14, 2021).

9S reps: “nwitter.conv ChrisExoo (last accessed Nov. 14, 2021).

'6 hatps:nvitter.convChristianExoo (last accessed Nov. 14, 2021).

13
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 226 of 275 PagelD: 2640
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 14 of 63 PagelD: 2183

34. Upon information and belief, Twitter agreed to allow Exoo, a known ban evader

change his username @DoxSavage to @AntiFashGordon, in lieu of third permanent ban.

AntiFash Gordon

@AntFashGardon

Hey folks-- | just underwent a name change from
@DoxSavage to @AntiFashGordon.

i'll be back tomorrow to expose more violent fascists
who were on the ground in Providence on 10/6.

FAT PRM Get iL 20178 « Twitter Web Client
35. Exoo described his associates as “our entire crew,” and acknowledged monthly IT
costs for the entire crew of about $50.!”

others in the movement. And he outlined the expenses. “We fight fascism on a budget,”
he said. “For our entire crew — and this includes database subscriptions, VPNs, burner

phones, and encrypted data storage — it comes to about $50 a month.”
36. As seen below Exoo insists associates continue dogpiling until the target’s

employer publicly announces the target’s termination.

gort @Gortnye « Dec tO. 2018

 

called em tney said that hes not employed there anymore

a> 2 1 Coo x

     

AntiFash Gordon

Thanks for calling! As soon as ! see a public statement
from them, Vil update the thread.

in the meantime, it’s very likely they’re just hoping this
blows over, so keep calling. folks! GY @&

 

FiO? PRA. Dee 16, SO1G . Twitter far iPhone

37. Exoo and associates conspire with well-known doxer who publishes Twitter

account @emilygorcenski, which is a blue check Twitter verified account, who Exoo has cited as

a mentor.

 

'7 Aaron Gell, Anti-Fascists Are Waging a Cyber War — And They’re Winning, Medium.com, September 9, 2019,
https://gen.medium.com/antifas-keyboard-warriors-254{62be2a95 (last accessed Nov. 27, 2021).

14
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 227 of 275 PagelD: 2641
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 15 of 63 PagelD: 2184

. Emily 6 &
I'm really grateful you're a

   
 

0

O41 m 7

AntiFash Gordon

   

Thank you!

 

 

That is *definitely* a compliment coming from 9 g
you. O9 24 Likes @ B = w@

Le

24

  

Sy, Emily G&

gc? a new one brewin’.

fe
vod: s dox more pn.

C8 4 +3 #6
My? 7 be 2 aE

 
 
 

AntiFash Gordon @
YESSSSSSSSSSSSS PQ:

 

8 a 22

 

Emily 6 @ @eriys
Thresd

 

2,

   

AntiFash Gordon &:#
4.) Okay, the jabrant in these phot
ear and eyebrow shape in both - is an @Basten_FS
member called “Chest.” His real name is Trevor Carey, and
he ves in the Stoughton, MA area, formerly Shrewsb..

ny

       
   
 
 

 

+ note the identical

 

 

hanks so much for sharing,
@EmilyGorcenski! (And thanks for all the
work you do!)

38. Verified blue check Twitter account @emilygorcenski is followed by Twitter
CEO Jack Dorsey, accordingly @emilygorcenski can send private direct messages to @jack, and

@jack sees @emilygorcenski’s Tweets in his home timeline when he logs on to his account. !8

 

'8 Following FAQ’s, Twitter.com available at https://help.twitter,com/en/using-twitterfollowing-
faqs#:~:text=Followers%o20are?o20people®o20who%20receive.they%201lo2%20in°020to%20T witter (last accessed

Nov. 30, 2021).

15
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 228 of 275 PagelD: 2642
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 16 of 63 PagelD: 2185

   

( Fottiew =)

Ts Problem i is White

Supremacy @
@EmilyGorcenski

Creator of first-vigil.com,
howhatesleeps.com. 2018 Bitch 50.

Opinions only mine.
© Berlin, Germany
Nt OR= gam ov
Joined June 2013
1,916 Following 60.5K Followe

me she mr m4

  

 

w oo ¢ Th ez

... The Problem is White Supremacy @
By Yeah that's rad imao
aw

The Probiem is White Supremacy © 4
Yeah that’s rad Imaa

 

   

tommy bahama js @ tor
jewels brings up 8 good point

will Jack ba Issuing you an apology for all this targeted harassment since we now
knav, he fs able to see it on his platform in real-time?

seems fike you're the one he should be seeking advice from since you have bare
these emotional outbursts

4 rn

 
   

The Problem is White Supremacy ( Fotiow >)
ght nn

Replying to @TommyBahamadr @jewslstweenets acd 4

| hop into his dms from time to time to bitch at
him directly

 

 

39. Twitter account @emilygorcenski has exhibited sliding into @jack direct
messages to get a Twitter account banned for “deadnaming” when Twitter Support did not ban

the account, and also boasted about surviving @jack’s follower purge in 2019.

   

g about Twitter’s ostensible néw abuse policies
beceuse they a are 2 full of shit.

 

Like, the reported tweet contains an image that shows my real name. They don't

even have to do work to see that this is deacinaming. | survived Jack's follower purge

a received.
[ rot: OODAOKOAS._SOCAAIXYG3E:re
f]

* Rob Rousseau

 

Thank you for your moent report. We.
7 repost oarelily
49 that there wae ro

  

  

Rules againt

 

 

 

Oh look | only had to slide into jack’s
dms to get it fixed

 

5 Mov 2678

16
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 229 of 275 PagelD: 2643
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 17 of 63 PagelD: 2186

40. Asa result of Exoo and associates conduct described herein, every doxed Plaintiff

was threatened, had their families threatened, and sustained property damage.
DANIEL D’AMBLY

Al. D’Ambly repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 40 with the same force and effect as if set forth in detail herein again.

42. Upon information and belief, the Exoo Enterprise targeted D’ Ambly as a fascist
and white supremacist at some point in or about January 2018.

43. | Upon information and belief, in and before September 2018, Twitter received and
investigated complaints that Exoo’s former Twitter account @DoxSavage was doxing and
engaging in abusive behavior.

44, Upon information and belief, on or about October 1, 2018, Gadde and Twitter
agreed to allow @DoxSavage to undergo a username change in lieu of a third permanent ban.

45. On October 11, 2018, @DoxSavage Tweeted a farewell announcement to his
followers: “Hey folks—I just underwent a name change from @DoxSavage to @AntiFash
Gordon. "Jl be back tomorrow to expose more violent fascists who were on the ground in

Providence on 10/6.”

   
 
  
  

AntiFash Gordon #4?
W Have you naticed my T

 

4 AntiFash Gordon
BAF asiviondon

  

Hey folks-- | just underwent a name change from
@DoxSavage to MAnti-asnGarcon.

tit be back tomorrow to expose more violent fascists
who were on the ground in Providence on 10/6.

Pi47% PRA. Crant 14. 2G1G . Twitte

 

fat Chent

AntiFash Gordon

ro, formeriy
es. Oh, and | expose fascists
"1 area through thie account.

17
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 230 of 275 PagelD: 2644
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 18 of 63 PagelD: 2187

46.  Exoo’s change for his evasion account @DoxSavage to @AntiFashGordon

prevented him from losing approximately 15,000 @DoxSavage followers.

47. On October 29, 2018, at 11:49 a.m., @AntiFashGordon doxed D’Ambly ina

massive twenty-two count Tweet thread that included D’Ambly’s name, hometown, photograph,
employer, occupation, employer’s location, multiple telephone numbers for his employer, labor

union Referendum Board he chaired, and the names of the other Referendum Board members.

  
  

AntiFash Gordon

MéarnivashiGeardon
B43 And until now, mo one knew who was behind it.

it's Daniel D’Ambly, of Dayton, New Jersey, a

newspaper printer for QoQ°°y DallyNews in Jersey City.

48. — In the dox, @AntiFashGordon labeled D’ Ambly a “Nazi” and directed associates

to send harassing, intimidating, and threatening phone calls, and Tweets to the Daily News’s

Twitter username @NYDailyNews, to extort D’Ambly’s termination. See Exhibit C, Exoo’s First

Dox of D’Ambly October 29, 2018.

49. Exoo’s dox directed:

a. Inthe 19" Tweet, @AntiFashGordon directed his associates “stay on top of this,

too. If you don’t hear back from @NYDailyNews, keep tweeting at them.” Call
their printing facilities in Jersey City at (201) ***-**** (number provided in

original Tweet) and warn them about Daniel D’Ambly...”

18
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 231 of 275 PagelD: 2645
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 19 of 63 PagelD: 2188

   
   

4

   

33

Here’s what you can do for me-- let & fe know that
one Of their printers in Jersey City, Daniel D’amibty, is the
feacder of 4 Nate group.

Get him fired.

Hate has no place in qur communities.

AntiFash Gordo

BLE ees

 

 

mary
CRY

19.) Stay on top of this, too. If you don't hear back from
jews, Keep tweeting at them.

Cali their printing facilities in Jersey City at (201) 946-
6000 to warn them about Daniel D'Ambly, teader of the
New Jersey European Heritage Association.

b. A follow up Tweet included a second telephone number for the Daily News and a

Cc.

subsequent Tweet included the direct telephone number to D’Ambly’s print shop.

   
 

AntiFash Gordon

Ve TS

   

4

 

 
 

B.S. Some people heve reported the

posted above drans the call when you press

This numbers works fust fine. Call them: 272-210-2100

AntiFash Gordon

284

   

P.P.S, One of my awesome Twitter friends-- who may or
nay not want to be tagged here, Iol-- just gave mea
direct fine to the print shop: 201-356-6923

Give them a call and tell them to fire white nationalist
Dan D'Ambly.

 

foe
Nod

Exoo associates dogpiled @NYDailyNews and @Teamsters.

19
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page

    

Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 232 of 275 PagelD: 2646

20 of 63 PagelD: 2189

This is fucking bullshit that scab needs to go ! It flys in

the face of Teamster anti rac

 

Hey @NYDailyNews . Do you know that one of your

ist history.

New Jersey printers, Daniel D'Ambly, is a neo-nazi Wis, g@EMEMGER 193g. “PE

running a hate group advocating for extermination of
Jews? He could he the next #iviagaSnooter or

#MagaBomber. You don't want that kind of attention,
do you? Pozdrawiam i dziekuj¢ eas E

& AntiFash Gordon @AntitasnGordon - Oct 29, 2018

18.) need your help, everyone.

Here's what you can do for me-- te!
ersey City, Daniel D’An
Get him fired,

 

   

ate group.

Se ek te
Hate has no place in our communities. perinnnpennnnnanindl

 

‘o

1:20 PM - Oot 28, 2018 - Twitter Web Client

 

AntiFash Gordon g

    
 

Hey, s can you haul this white
supremacist's ass to the garbage?

Hate has no place in our unions.

 

ee |
* Unian ongantees and atrher lender

 

d. Upon information and belief, from October 29, 2018, to January 11, 2019, the

Exoo Enterprise directed no less than one-hundred and ninety-one (191) Tweets

to @DailyNews plus an unknown number of phone calls.

e. D’Ambly was never told of the threats or warned to take safety precautions.

50. On October 30, 2018, without warning D’Ambly of the threats, Tribune engaged

Insite Risk Management (“Insite”) to investigate D’Ambly. Insite submitted its “Private

20
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 233 of 275 PagelD: 2647
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 21 of 63 PagelD: 2190

Investigation Report” (“Report”) to the Tribune on December 4, 2018. The Report
acknowledged @AntiFashGordon’s doxing was the impetus for the investigation. The Report
included videos of D’Ambly and others using imprudent language during political rallies.

51. On or before January 8, 2019, EHA posted flyers on public bulletin boards in
Princeton, New Jersey that announced an “It’s okay to be white” protest march purportedly
scheduled for January 12, 2019.

52. On January 9, 2019, @AntiFashGordon re-Tweeted the “It’s okay to be white”
march to his associates and doxed D’Ambly again by Tweeting, “If anyone wants their leaders
name, it’s Dan D’Ambly.”

53. On January 10, 2019, @AntiFashGordon published a Tweet that referenced
EHA’s purported march and directed his associates to “show up and shut down” the purported

march “And please say hi to their leader, Dan D’Ambly for me.”

AntiFash Gordon
Dans

FashGordor

  

Jersey friends— if you can, show up and shut dawn the
New Jersey European Heritage Association on
Saturday.

And please say hi to their leader, Dan D’Ambly far me.

   

54, On January 10, 2019, D’Ambly was called to an interview with Jean Nechvatal

(“Nechvatal), Tribune’s Vice President, Talent Management & Learning and James R. Brill

2]
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 234 of 275 PagelD: 2648
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 22 of 63 PagelD: 2191

(“Brill”), Daily News’s Sr. Vice President of Operations. D’Ambly was accompanied at the

meeting by Union Steward Pete Cairnie. During the meeting, D’Ambly was confronted with

content of the Report, but not informed of the report’s existence. D’Ambly acknowledged using

imprudent language in a private conversation during a protest.

55. On January 11, 2019, at 10:14 a.m., Exoo reiterated “show up and show these

pricks that we don’t tolerate hate in our streets” to stop D’Ambly’s purported march. Exoo also

stated that he had not gotten official word of that D’Ambly was terminated.

  
  

AntiFash Gordon
miFashGordon

6/ \f you can, show up and show these pricks that we
don't tolerate hate in our streets.

If you can't make it, feel free to contact the
@WNYDallyNews and ask if white supremacist leader
Dan D'Ambly is still working for their press in Jersey
City.

10014 AM Jan 11, 2019 - Twitter Web Client

      

AntiFash Gordon @
4/ At the time, Dan was w
printer in Jersey City.

idon- Jani,

ing for the

    
   

& a8 a Newspaner

i still haven't heard any official comment from the Daily News about
whether or not they're still emplaying him.

56. Exoo reminded his associates to prepare for conflict, “Remember that the police

won’t protect us here.”

   

AntiFash Gordon

fa.

ruFashGordon

7/ Remember that the police won't protect us here.

It's up to us to show Nazis that they can't organize a
genocide in our streets.

iNo pasaran!
OG

104 AM) Jan 11, 2019 - Twitter Web Cllent

 

 

 

That's really fucked up, @ spleenter . This is
what's wrong with the nonprofit industrial
complex. Liberal orgs like the SPLC disown us
because we fight in the streets to protect our
communities. Then you turn around and steal
our work anyway.

Ye It's going down &

     
  
 

& NoCARA says SPLC plagiarized their
vork. “SPLC directly copied an entire paragraph .. This strikes us as
xtremely lazy on the part of an organization that enjoys over 300
“1 millica in endowments .,. while our collective’s made up of

Antéfascist research colie

 

57. The morning of January 11, 2019, after Exoo’s Tweet, Edward Bushey, Sr. Vice

President, General Manager, Manufacturing and Distribution at Tribune delivered recordings of

threats to the Daily News. The callers stated if they continued to employ D’Ambly the Daily

22
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 235 of 275 PagelD: 2649
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 23 of 63 PagelD: 2192

News was responsible for “any violence or blood spilled is also on your hands.” Upon

information and belief, the call was received from phone number (732) 744-4937. '°

a oe varded message +--+...
Fron: George" Buoydaily o >
To: “ Etsi u >

Ce:

Bee:

Date: Mon. 14 Jan 2619 19:33:44 +0000
Subject: FW: Voicemail from 7327444937

   

Ed.
This is the second message looks like the phone number is there.

George

From: Cisco Unity Connection Messaging System [mailto: =i i
Sent: nd January 11, 2019 10:21 AM

To: =.
Subject: Voicemail from 7327444937

58. On January 11, 2019, at 3:30 p.m., D’Ambly was called to a second meeting with
Brill, wherein Brill issued D’Ambly a “Last and Final Warning” that stated the “ONLY reason
that you are not being terminated immediately is because, thus far, we have not determined that
your activities with NJEHA has occurred at work and/or derogatory comments were made about
any co-workers.” The warning continued “should we learn that you engaged in any
inappropriate speech or behavior in the workplace or with regard to any other employee, or if the
Company or any of its employees suffer any backlash as a result of your association with the
NJEHA, your conduct will be considered “work-related” and you will be terminated
immediately.”

59. The meeting occurred five (5) hours after threats were received, but Brill did not
inform or warn D’ Ambly of the threats.

60.  At4:34 p.m. on January 11, 2019, @AntiFashGordon threatened D’ Ambly by

stating “Regardless, I’m gonna spend the next week wrecking your fucking life, Dan D’Ambly.”

 

'9 Electronic media copies of the threats will be submitted to the Court and all defendants on a USB thumb drive.

23
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 236 of 275 PagelD: 2650
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 24 of 63 PagelD: 2193

 

Regardless, I’m gonna spend the next week wrecking
your fucking life, Dan D’Ambly.

Jan 1t, 2019 - Twitter for iPhone

61. On or about the evening of January 11, 2019, D’Ambly’s vehicle was “keyed”
(scratched) and tires slashed while it was parked outside of his home on private property. After
his vehicle was damaged, D’Ambly received a text message from unknown phone number (732)
744-4937, that stated “So your thing went well today? Did you guys get there ok?” A police
report for a bias incident, criminal mischief, and harassment was filed with the South Brunswick
Police Department. The phone number (732) 744-4937 is cited in South Brunswick Police
Department incident report image below. See also Exhibit E, South Brunswick Police
Department Incident Report, Case No.: I-2019-002817.

DAMBLY STATED THAT HE MAY HAVE BEEN TARGETED BY "ANTIFA" DUE TO HIS AFFILIATION WITH THE "EUROPEAN
HERITAGE ASSOCIATION." HE STATED THAT A PRINCETON SCHOOL TEACHER, MARTHA FRIEND, HAD POSTED A PICTURE
OF HIS VEHICLE ON TWITTER THIS PAST NOVEMBER. HE ALSO STATED THAT ANOTHER TWITTER USER, KNOWN AS
"ANTIFASHGORDON", DOXXED HIM A FEW MONTHS AGO BY RELEASING HIS HOME ADDRESS, EMPLOYMENT DETAILS,
PICTURES OF HIS VEHICLE, AND A SATELLITE IMAGE OF HIS HOUSE TO TWITTER. HE BELIEVES THAT THE ACTOR USED
THIS INFORMATION TO FIND HIS VEHICLE AND SLASH HIS TIRES TO PREVENT HIM FROM DRIVING TO A SCHEDULED
PROTEST IN PRINCETON ON SATURDAY.

HE ALSO STATED THAT HE RECEIVED A TEXT THIS WEEKEND FROM AN UNKNOWN SUBJECT (732-744-4937) ASKING HIM,
"SO YOUR THING WENT WELL TODAY? DID YOU GUYS GET THERE OK?" HE BELIEVES THIS SUBJECT MAY HAVE BEEN
INVOLVED WITH DAMAGING HIS TIRES.

62. Upon information and belief, on January 11, 2019, cellular phone number (732)
744-4937) described above in J 63 left the message “any violence or blood spilled is also on your
hands,” that was captured by the New York Daily News as described in J 58 above.

63. | Upon information and belief, cellular phone number (732) 744-4937 belongs to
the person who controls and publishes Twitter account @Nstricklanded, who sent the below
message to Exoo after the message described in § 58 above was captured and sent D’ Ambly the

text message described at { 63 above.

24
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 237 of 275 PagelD: 2651
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 25 of 63 PagelD: 2194

           
  
 

Stricklanded

I'm seeing these posted all over. | hate
ett they kick

   

   

64. On Sunday, January 13, 2019, Exoo, who had no connection to D’ Ambly or Daily

News, announced D’Ambly’s termination to his associates twenty-four (24) hours before the
Daily News claimed they learned of the threats that caused D’ Ambly’s termination.

AntiFash Gordon

f ying fo

  
 

    

AntiFash Gordon

 

Daryle Lamont Jenkins & : nlins « Jan 13, 2078

he heerhenmen “| gota message this morning that he's been fired, but |
_ haven't had time to confirm yet.

 

...fow Ifyou excuse me, | need to find out why the hel! is Richard Spencer
trending... 6:24 PAY Jan 13, 2009 - Twrtier for Phone

65. On January 16, 2019, during a phone conference with Brill, Nechvatal, and a

Union representative, D’Ambly was played the recorded death threats and asked to identify the

25
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 238 of 275 PagelD: 2652
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 26 of 63 PagelD: 2195

caller. D’Ambly was unable to identify the caller, but said it was the behavior of “Antifa types.”
D’Ambly was terminated during this phone conference.

66. On January 23, 2019, Patrick LoPresti, President of Local One-L informed the
Daily News that they were appealing D’Ambly’s termination pursuant to terms of the Contract.

67. On or about January 25, 2019, D’Ambly received his “Termination of
Employment” letter, signed by Brill, and dated January 22, 2019. The letter informed D’Ambly
his termination was effective January 18, 2019. In the letter, Brill stated you “are being targeted
by this group...” and “now our workplace and employees [are] at risk of counter attacks by

Antifa.” See Exhibit D, Termination of Employment letter dated January 22, 2019.

You are being targeted by this group
has now put our workplace and employees at

risk of counter attacks by Antifa.
68. The termination letter falsely stated the Daily News learned of the death threats

on January 14, 2019, contrary to emails that confirm the Daily News learned of the threats on
January 11, 2019.

On Monday, January 14, 2019, we learned that two threatening voice-mails had been left
on a Company voice-mail box on Friday, January 11, 2019, which caused our company
to have serious concern for the safety of our employees.

eee rarded message +--+.
From: George" ~ Gy dai is =
To: a" Syd > =

Ce:

Bec:

Date: Mon. 14.Jan 2019 19:33:44 +0000
Subject: FW: Voicemail from 7327444937

   

Ed.
This is the second message looks like the phone number is there.
George

From: Cisco Unity Connection Messaging System [mailto: —T i
Sent: an. January 11, 2019 10:21 AM

To: x
Subject: Voicemail from 7327444937

69. In the termination letter, Brill claimed the death threats received on January 11,

2019, were the “cause” of D’Ambly’s termination, because the death threats meant D’ Ambly

26
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 239 of 275 PagelD: 2653
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 27 of 63 PagelD: 2196

“brought his activities” into the workplace, therefore, “we deem your actions to be work related
and are terminating your employment for cause.”

70. At some point after January 23, 2019, the Union on behalf of D’Ambly filed a
grievance with the American Arbitration Association, case number 01-19-0000-7178. The
Union retained attorneys Thomas Kennedy (“Kennedy”) and Kate M. Swearengen
(“Swearengen”) of Cohen, Weiss, and Simon, LLP (collectively Kennedy, Swearengen and
Cohen, Weiss and Simon, LLP shall be referred to as “CWS”) to represent D’Ambly.

71. Thereafter, D’Ambly had a phone conference with Kennedy to discuss the case.
D’Ambly was acquainted with Kennedy for approximately twenty years due to his Union
activities. D’Ambly explained the threats he received, property damage, and that his tires were
slashed. D’Ambly stated “Tom, this Antifa are terrorists...” Kennedy angrily responded, “I do
not consider Antifa to be terrorists and if you are going to continue referring to them (Antifa) as
terrorists we are going to end this call.” Kennedy scoffed at D’Ambly’s desire to have his
employment reinstated at the Daily News.

72. At some point thereafter, D’ Ambly had his first case discussion phone
conference with Kate Swearengen, who assumed representation. Without prompting,
Swearengen explicitly informed D’Ambly that “she doesn’t agree with his politics, and she
doesn’t want to discuss them any further.” Like Kennedy, Swearengen dismissed D’ Ambly’s
wish to have his employment reinstated.

73. Kennedy and Swearengen’s revulsion of D’Ambly directed their representation
and they failed to adequately research basic facts favorable to D’ Ambly’s wish to be reinstated.
CWS ignored Brill’s misrepresentation and veracity of the claimed “cause” of their client’s

termination.

27
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 240 of 275 PagelD: 2654
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 28 of 63 PagelD: 2197

74, CWS failed to adequately investigate the sources of the doxing campaign. Had
CWS engaged in reasonable investigation of the source of the dox they would have discovered
@AntiFashGordon’s January 13, 2019, announcement that D’Ambly was terminated, which was
one day before the Daily News claimed they learned of the “cause” of D’Ambly’s termination.

75. On or about July 15, 2019, D’Ambly executed the “Separation Agreement and
Mutual General Release” negotiated by CWS that paid D’Ambly a lump sum payment in
exchange the Union would withdraw the pending arbitration case with prejudice.

76.  Asaresult of Defendants’ misconduct D’Ambly has suffered substantial personal
and property damage and been severely financially harmed.

ZACHARY REHL

77. Rehl repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs | through 76 with the same force and effect as if set forth in detail herein again.

78. Exoo worked with Torch Antifa members to acquire Rehl’s true personal identity
and doxed him on or about August 2, 2017. Rehl was labeled a fascist and white supremacist,
because he organized a “Back the Blue” rally to support Philadelphia police officers.

79. As inall cases, associates dogpiled Rehl’s employer with calls, emails, and
Tweets, and Rehl was terminated in or about September 2017.

80. On or about October 1, 2018, Rehl was doxed a second time when he organized

the “We the People” rally that occurred in Philadelphia on November 17, 2018.

  

AntiFash Gordon
iFashGordon

THREAD: Far-right groups are organizing a "We the
People" rally in Philadelphia for Saturday, 11/17.

28
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 241 of 275 PagelD: 2655
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 29 of 63 PagelD: 2198

81. On November 14, 2018, Exoo followed up Rehl’s dox and incited his associates

to disrupt the We the People rally, because “fascism is coming and only we can stop it.”

  
 

AntiFash Gordon @AntFashGordon - Nov 4, 9018
20) The police won't protect us.

We need to stand up and defend our communities.

If you've ever wondered what you would during the fascists’ se to power,
you're doing it now.

Fascism is coming, and only we can stop it.

iNo pasarant GY ©
</thread>

82. On November 16, 2018, Exoo further incited his followers against the We the

People rally, by stating “the city granted rally permits to fascists, and the cops will be there to

protect them” and reminded “Who protects us? We protect us.”

   

AntiFash Gordon @ArntiFashiGordon - Nov 16, 2018
7) The state won't protect us.

The city granted relly permits ta fascists, and the cops will be there to
protect them.

Who protects?

We protect us.

The rally starts at 11:00, Protesters will be getting there early.
Come join us.

It's going to take all of us.

83. As a result of Exoo’s incitement, November 17, 2018, at 12:41 a.m., the night

before the rally, Torch Antifa took “direct action” against Rehl and threw a brick through the

front window of Rehl’s home and spray painted the word “‘Nazi” on his home as seen below.

 

29
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 242 of 275 PagelD: 2656
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 30 of 63 PagelD: 2199

84.  Exoo acknowledged media reports of the brick being thrown through Rehl’s

window.

   

AntiFash Gordon

nAntiFashGardon

actually they're my criminal family-of-choice

Big Leaque Politics @bigleaque... a
= Ve The People Rally Organizer’s Home
Vandalized After Antifa Doxxed Him if@.4

This guy and his criminal friends are
doing the doxxing

 

2:22 AM - Nov 28, 2018 - Twitter Web Cllent

85. The day of the We the People rally Torch Antifa attacked two Marine Reservists

that Torch Antifa they participated in the rally.

city

Marines Were Attacked 5 The Philadelphia Police Department is asking for the public’s help to
Robbed Near “We the People” identify a group of people accused of attacking multiple Marine Corps

. . reservists last Saturday afternoon down the street from the the “We the
Rally in Philly People rally.
Police say these guys maced, punched, kicked, and robbed a group
of Marine Corps reservists after calling them “Nazis” and “white It happened around 3:20 p.m. on November 17th on the 100 block of South
supremacists.” Front Street. According to police, the reservists were approached by a

group of males and females, who called the reservists “Nazis” and “white

be VICTOR FIORILLO - ::/20/20 o32p.. a] supremacists.”

30
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 243 of 275 PagelD: 2657
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 31 of 63 PagelD: 2200

USKEWS erry
Philly Antifa Activist Tom

Antifa Member Charged in Assault of US Marines Near‘ We  %Keenan Charged in Assault on

‘ome Marines
the People’ Rally in Philly: Reports The alleged attack occurred on Nevember 17th near the “We the

Novenher 2 ZG 184), Lat Updv ed flere 26,2018 1048 People” rally.
ty WECKTOR FPIORILLO © vecwrm exch. ss gin ghee
By Jack Phitps
Tom Keenan, 95, of Mount Airy, turned himself into the police department several days ago after
Police arrested and charged a man believed to be the leader of an Antifa group in Philadelphia investigators released a ideo that appeared o show him and to others yling ata eroup

aftera group of U.S, Marine reservists were assaulted on Nov, 17, folloving a ally n Padelhia, Fox Nas reported
86. | Three members of Torch Antifa were arrested and have been charged with various

felonies, including aggravated assault, ethnic intimidation, and conspiracy related to the attack.

city

“ , The Philadelphia District Attorney’s Office has charged 37-year-old
D.C. “Antifa Leader” Is Third Washington, D.C., resident Joseph Alcoff with aggravated assault, ethnic

Man Charged in Marine intimidation, and conspiracy —all felonies — among other charges. He
Atta ck in Philad e Ip hia has pleaded not guilty and is currently out on bail

Joseph Alcoff has been charged with aggravated assault, ethnic Alcoff pins codefendants Tom Keenan and Thomas Massey in the case.
intimidation, and conspiracy, among other offenses.

Both Keenan and Massey were arrested at the end of November and are

by VICTOR FIORILLO « 20:2 6 also out on bail awaiting trial.

 

AMANDA REHL

87. AmRehl repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 86 with the same force and effect as if set forth in detail herein again.

88. On or about August 2, 2017, Exoo conspired with Torch Antifa to dox AmRehl’s
home address when he doxed her husband, Zachary Rehl.

89. On or about October 1, 2018, AmRehl’s home address was doxed a second time
when Exoo doxed her husband Zachary Rehl, because he organized the “We the People” march
in Philadelphia that occurred on November 17, 2018.

90. On November 14, 2018, Exoo directed his associates to counter protest and

disrupt the We the People the event, because “fascism is coming and only we can stop it.”

31
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 244 of 275 PagelD: 2658
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 32 of 63 PagelD: 2201

91. At 12:41 a.m. on November 17, 2018, AmRehl’s safety was endangered when she
was assaulted by Torch Antifs who threw a brick through the front window of AmRehl’s home

and spray painted the word “Nazi” on the front of her home as seen below with a copy of the

Philadelphia Police Incident Report.

 

K.R., a minor, by and through her father ZACHARY REHL and mother AMANDA
REHL

92. _K.R. repeats and realleges the facts pertinent to al] plaintiffs as alleged above in
paragraphs | through 92 with the same force and effect as if set forth in detail herein again.
93. On or about August 2, 2017, Exoo and Torch Antifa doxed K.R.’s home address

when he doxed her father, Zachary Rehl.

32
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 245 of 275 PagelD: 2659
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 33 of 63 PagelD: 2202

94, On or about October 1, 2018, K.R.’s home address was doxed a second time when
Exoo doxed K.R.’s father Zachary Rehl, because he organized the “We the People” march in
Philadelphia that occurred on November 17, 2018.

95. On November 14, 2018, Exoo directed his associates to counter protest and
disrupt the We the People event, because “fascism is coming and only we can stop it.”

96. At 12:41 a.m. on November 17, 2018, K.R.’s safety was endangered when she

was assaulted by Torch Antifa who threw a brick through the front window of her home and

spray painted the word Nazi on the front of her home.

 

AARON WOLKIND
97. | Aaron Wolkind repeats and realleges the facts pertinent to all plaintiffs as alleged
above in paragraphs | through 96 with the same force and effect as if set forth in detail herein
again.
98. | Exoo conspired with members of Torch Antifa to obtain Wolkind’s true personal
identity and doxed him on or about June 21, 2019. Wolkind was called a fascist, white

supremacist, and Nazi, which is an idiotic assertion, because Aaron’s a Jew.

AntiFash Gordon @AntiFashGordon - Jun 21, 2079
Philly Proud Boy Sgt-at-arms Aaron Wolkind is employed as a Technical
Support Specialist at & A, in Coatesville, PA.

  

33
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 246 of 275 PagelD: 2660

Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 34 of 63 PagelD: 2203

99. On July 3, 2019, Exoo re-posted Wolkind’s dox and associates dogpiled
Wolkind’s employer Aerzen USA (“Aerzen’”) social media accounts and internet profiles and
dogpiled his employer and co-workers with phone calls and emails.

100. To their credit, Aerzen did not immediately terminate Wolkind, but when
enterprise associates discovered Wolkind was not terminated, Exoo and associates dogpiled
Aerzen’s clients demanding they stop doing business Aerzen and dogpiled Aerzen’s subsidiaries

101. Onor about November 17, 2019, Torch Antifa became angered that a tavern in
Philadelphia allegedly owned by a family member of Zach Rehl allegedly allowed Wolkind to

distribute literature inside the tavern, so they encouraged dogpiling on Wolkind’s employer.

AntiFash Gordo! orgon 23m wy
Philly Proud Bay Aaron Welkind set up a table to distribute literature and recruit
for his hate group at a neighborhood bar on Saturday

City Antifa

    

**A Re-Post**

: . He works as a Technica! Support Specialist for Aerzen USA

Not feeling too good about the fucking Ppon™P

proud boys tabling in west ? Aaron You can call Aerzen at 610-380-0244. (Use *67 to black your number.)
Wolkind (aka Aaron wolkind-whallon, Ses

aka Aaron Kitchell aka AaronOfTheWest),
their de facto leader it seems at this
point, admitted to leading the charge.

Vi how 289

Liberty City Antifa &
“A Re-Post™

Not feeling tca good adcut the fucking proud boys tabling in west ? Aaron
Wioikind (aka Aaron wolkind-whalion, aka Aaron Kitchell aka
AaronOfTheWest), their de facto feader it seems at this point, admitted

 

Sh me thread

 

102. On November 18, 2019, Exoo published Wolkind’s dox and reminded associates

to “Use *67 to block your number.”

  

AntiFash Gordon wy Gm, Liberty City Antifa & ian
@AaniPashGordon Maybe tomorrow you car ing his company Aerzen USA at 670-380-0244
and ask why they're employing our boy Aaron, the de facte leader of the focal

Philly Proud Boy Aaron Wolkind set upa chapter of a hate group whe just admitted to leading a tabling event
table to distribute literature and recruit ot 8 o

for his hate group at a neighborhood bar
on Saturday.

vw

  

$s;

 

Last time people called they tried to
sweep it under the rug and delete their
social media. They haven’t been

bothered about it in a bit peopie should
You can call Aerzen at 610-380-0244, try again!

(Use *67 to block your number.)

He works as a Technical Support
Specialist for Aerzen USA.

 

SQ t.co/SYZMSvS2CA This is the company, maybe leave them
some reviews too:
This Tweet is unavailable facebook.com/AerzenUSA/

12:33 PM. Nov 16,2019 -

 

34
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 247 of 275 PagelD: 2661
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 35 of 63 PagelD: 2204

103. Torch Antifa dogpiled a tavern, because they believed Wolkind distributed
literature at the tavern.

Q&A Noticer & Bont “ Man On! ow
furge everyone te not de this bul instead te frequent the bar and see that this 5 ae on. ung { Pollow
normal establishment wath normal peopte int ~ “ ees open nne

    

G3. a © Piss Boys with a meet and greet event at a
a Liberty City Antifa bar on 43rd and Chester. Millcreek Tavern.
a Spend your money where it's not going into
R yet Bg en the pocket of chauvinists.

Can see if he didn't know the proudboys or 427 PM TT Now 2018

was the first time they did sketchy things, but
if you look at facebook the owner is still

    

  
 

PHL Aim we

, Gwen Snyder is uncivil 3 ycert
ass report telegram channel trying te get

, Of look, it's the Proud Bay:

   

54 in trouble for telling fclks to cali Millcreek Tavern & compiain about

 

justifying his actions. Fuck this bar and the how they let nazis table at karaoke,
owners.. ACAB -

Also, cal Milcreek at 218-222-1255 & complain abaut now they fet nazis table at
VST PM 18 Nov 2028 karaoke

104. On or about November 19, 2018, based on Torch Antifa’s belief that Wolkind

was affiliated with the tavern, the tavern “got the smash,” which meant its windows were broken.

 

Nazi bar in West Philly got the smash.
You love to see it.

 

105. Torch Antifa vandalized the tavern a second time on January 1, 2021, based on
their belief that Wolkind was affiliated with the tavern and their damage derogatorily referenced

the Proud Boys.

35
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 248 of 275 PagelD: 2662
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 36 of 63 PagelD: 2205

  
 

Gwen Snyder fs uncivil ¢
Lots of art appreciators in
Creek Tavern Nazi Recruitment HQ

 

 

@ Dia Triose @tiistriosa - jan 1, 2020
nsnyderPHL came here to present you with

 

 

 
 

Man On!
oe Replying to

Mill Creek Tavern at 42nd and Cheste:

Qo tl Oo 5
7, Nat

 
 

ee Replying io

mill creek tavern

 

ei Ses oe

Millereck Tavern vandalived on New Wear’s Day

 

January 3, 2020

 

Millereek Tavern, located at 42nd and Chester, was sprayed with graffiti overnight on
also broken. Owner Jack

   

January 1. according to reports. A few windows we
Gillespie told the Washington Cxaminer that the damage wap estimated at

approximately $20,000.

 

The graffiti reads “FCK Piss Boys” and the vandalism is likely related to the backlash
the restaurant received after a November incident when the management was accused
allowing the Proud Boys. a right-wing group. to have a gathering at the restaurant,

denied that any recruitment

 

reportedly for recruitment purposes, The owner, howev
Was going on at the restaurant and also said that he believed it was members of a
different group, Turning Point USA, who gathered at his restaurant, according to his
post on Millereck Tavern’s Facchook page.

Gillespie believes local Antifa members are responsible for the vandalism. which has
oceurred for the second time sinee the November incident.

106. As aresult, Wolkind’s November 18, 2019, dox and subsequent dogpiling, his

employer blocked Twitter users and temporarily shut down their social media and internet

profiles, and closes a Coatesville, Pa. facility for one day.

 

Uncle Tifa nithasyive - Now 16, 201

They got mad the last time | reported Aaron.

     

Bernie2020 @

   
 

 

Aerzen USA @

You're blocked

  

 

107. Wolkind continues to receive threatening and harassing phone calls due to the

dox, which identifies him as a white supremacist and a Nazi, but as stated above Aaron’s a Jew.

36
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 249 of 275 PagelD: 2663
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 37 of 63 PagelD: 2206

STEVE HARTLEY
108. Hartley repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 107 with the same force and effect as if set forth in detail herein again.

e AntiFash Gordon GAntiF

THREAD: This is Steve Hartiey, President of the 7/ Fundamentally, anti-fascism is about a community stepaing up to protect
Philadephia Proud Boys. an g s-designated itself,
hate group.

He's Logistics Manager for Rs a same- And that's exactly what @GrtttyisWatchin is,

day courler service.

EE «13. you reatty wart to give a hate group
A es o ’

member access ta people's home addresses? vt ul Wo Pa

ée2iFash Gordon

     

   

be

ordon - Cec 6, 2018

   

Ga follow that account now.

  

AntiFash Gordon @Anti ordon - Dee 6, 208
8/ Starting next week, @GrittylsWatchin will be posting the names and

employment information of Philadelphia Proud Bays.

 

But we need your help to get them fired.
Follow @GrittyisWatchin, and wait for the action alerts next week,

Don't let fascists stay employed. @

 

109. Hartley’s employer information and home address were doxed and dogpiled on

November 29, 2018, and labeled a Nazi, racist, terrorist and a threat to women and minorities.

 

AntiFash Gordon @AntiFashGordon - Dec 2, 2018
Replying to {
idx the other day when Prilly Proud Boys Steve Hartley got siiitcanned in
ike an hour {laughed so hard i cried a iittie b't

 

danakingart360

auingsO

  

 

 

Repiving ta

| just called the Philly office and was told Steve Hartley va a v7 &
has been fired!

 

Coyot

   

 

S40 PM - Nov 28, 2018 - Twitter for iPhon How dogs Vietor Finnegan, “Most Admired CEO”, fee! about an employee
who is a member of an FBI dasignated hate group? American Expediting
1 @AntiFashGordon - Dee 6. 9018 wee teas +S eaate sed tarrarie? namart
AntiFash Gordon G/ntirasnGordon Dec 6, 2015 Company's violent nazi white supremacist terrorist named Steve Hartley.

Raniying to @ fi
3/ Remember last week, when
President Steve Hartley and go

Your paycheck supports his hate & terrorism

 

we exposed Philadelphia Proud Bays

Ae nunder an hour?

  
 

oe set

Again, that was my team-up with @GrittyisWatchin.

110. Exoo partnered with Torch Antifa to dox Hartley, who dogpiled Hartley’ employer

and co-workers with negative posts and reviews.

37
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 250 of 275 PagelD: 2664
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 38 of 63 PagelD: 2207

   
 

AntiFash Gordon @AntiFashGordon - Dec 6, 2018
THREAD: Folks-- go follow @GrittyisWatchin.

 

I've been working with some great peopie in Philadeiphia, and they just set
up an account specifically for keeping track of PA-area fascists.

In fact, you're already familiar with some of their work, Let's recap.

   

 

This Tweet is from a suspended account. Leal

 

111. Following his dox Torch Antifa members caused damage to Hartley’s home,

which is what they consider to be self-protection.
MARK ANTONY TUCCI

112. Tucci repeats and realleges the facts pertinent to all plaintiffs as alleged above in
paragraphs | through 112 with the same force and effect as if set forth in detail herein again.

113. Exoo worked with Torch Antifa members to dox Tucci on December 10, 2018.
Associates called Tucci’s employer more than 600 times and shut it down.

114. In real time you can see the enterprise’s conspiracy play out in their Tweets, Exoo

picked up when his Torch Antifa partner got temporarily banned.

aotiFasa Geréon

   

SHARE THIS: Comrades, © ty fst Caught a
12-hour shadowban for posting a Proud ‘Bay'* 3
eriployment info.

This is Proud Bay Mark Anthony Tucci. He works at

Call them at 215 Een ask why they are

amplaying a proud member of a hate grou

 

 

a. Enterprise associates who called Tucci’s employer, Tweeted confirmation.

38
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 251 of 275 PagelD: 2665
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 39 of 63 PagelD: 2208

.. .coot*PinskyZinsk"++e0 ,.% G@PinskyZinek - Dec 10, 2018

oe ¥ He is not going to make a public statement, | just spoke to him on the

hits ye phone. The guy has not worked there for a couple weeks and we are
destroying the owner's business. He is an immigrant and would not of hired
him if he knew this was the kind of person he was.

uy Oi mR os as

 

AntiFash Gordon @AntifashGordon - Dec 10, 2018
He's lying to you.

 

Mark literally went live on Facebook from Aldo’s fess than four hours before
the dox went live.

 

2 tu 12 Oy
*.. ,cged*PinskyZinsk=+:n4 ,. @PinskyZinsk » Dec 16, 2018

  

7 Well he sounded very sincere. Said the guy nas always been respectiul ta
him. 1 said wet! of course he was, that’s common sense. Okay, | feel like ve
done my part, carry on.

Thanks for calling! As soon as | see a public statement O% 8 9 &
from them, I'll update the thread. OD ievsswnnesiiaayon

115. Exoo would not let his associates relent until Tucci’s employer publicly

announced his termination.

  
  

AntiFash Gordon

pAntiFashGordon

 

Thanks for calling! As soon as | see a public statement
from them, Ill update the thread.

In the meantime, it’s very likely they’re just hoping this
blows over, so keep calling, folks! 9 @

 

T:07 Pha - Dec 10, 2018 » Twdtter for iPhone

116. The following day Exoo directed associates to continue dogpiling.

AntiFash Gordon @Anti
Replying to
Yeah, they were fying about it last nig
ina month.

 

 
  

 

, too, saying he hadn't worked there

But he iive-streamed himself making pizzas there yesterday morning, just
hours before the dox went live.

Keep calling, folks.

Let them know that supporting hate has consequences.

RICHARD SCHWETZ
117. Schwetz repeats and realleges the facts pertinent to all plaintiffs as alleged above

in paragraphs | through 116 with the same force and effect as if set forth in detail herein again.

39
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 252 of 275 PagelD: 2666
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 40 of 63 PagelD: 2209

118. The enterprise targeted Schwetz after he volunteered to clean up debris and litter
at a Clean Up America event that occurred in Philadelphia on May 23, 2020.

119. Schwetz was doxed in June 2020 by an Exoo associate, but it failed to deliver as
intended.
We Will Be Ruthless @RuthiessWe - Jun 19, 2020 eee

Meet Richard Schwetz of Lancaster PA. Member o
nate group the "Proud Boys” and empioyee at @)

      
 

120. Exoo doxed Schwetz on September 21, 2020, with detailed information and a

statement that we do not cry to cops or the courts.

  
  

AntiFash Gordon

+ DbntiCankfnein ma any s DAnPash Gordo
AntiFash Gordon @AntiFashGordon Sep 24, 2020 ae ee NS

Moat Divlagalnh : . “Dati rvtatet 8/ If you're a regular follower of mine, you know what's
1 Meet Paitadelphia Proud Boy Richard Schwetz, aka "PnilyDick” aka coming next.
"Dick Sweats.”

 

We contact @inovaPayrol! to get this hate group
. | . member fired.
He was at the Proud Boys “rally” in West Philly on Saturday, threatening to

dox protesters Given their feelings about the death of George Floyd, it

group member.
He works fo

  

4
aang
eading, PA, @ Inova Payroll GinovaPayroll « jun G, 2020

“With a heavy but hopeful heart, i stand with those calling for justice for George
Flayd, and for sweeping systemic change, so that every American can live and
Sy hata o a i pursue without fear or hindrance the dream that brought me to this country.” A
3 why do you employ hate group members? note from our CEO Farsheed Ferdowsi.

Hey,

 

2:58 PM - Sep 21, 2026 - Twitter Web App

AntiFash Gordon @AntiFashGordon - Sep 21, 2020
1i/ We don't run crying to the cops or the courts.

 

Who protects us?

We protect us.

 

MATTHEW REIDINGER
121. Reidinger repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 120 with the same force and effect as if set forth in detail herein again.

122. Exoo and Torch Antifa conspired to dox Reidinger.

40
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 253 of 275 PagelD: 2667
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 41 of 63 PagelD: 2210

AntiFash Gordon ¢
THREAD: Let's get another Proud Bay fred.

   

y AntiFash Gordon @AntFashGordon Dee 6, 2018 a
4] Exposing Harisoure PA Proud Bay Matt Reidinger?

 
 

Tas is Harrisburg PA Proud Boys Sergeant-at-Arms att Reidinger.

He came to Providence to attack protesters on 10/6. Vig
HU

,

He ‘sti worst he
You can call them or

123.

=

 

That vias ae and GrtivleWat

As is the case with all victims, Exoo and associates dogpiled Reidinger’s

employer.

AntiFash Gordon

   
  
  
  
  

 

They fad thet: Yelp page locked dawn, too.

  

o fram here?

UPDATE: The store Matt works at just took down their

[Ce | So Facebook page, which is weird, since they could just
o—O leave it up and announce that they won't be employing
Unusual Activity Alert hate group members like Matt Reidinger.

But go ahead and let them know on their Yelp page.

 

124.  Inhis instructions Exoo instructed associates to dogpile Reidinger’s employer in

order to cause his termination as they successfully had done to a Comcast employee.

4}
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 254 of 275 PagelD: 2668
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 42 of 63 PagelD: 2211

 
  
   

   

J ahen we gat Proud Boy |
He from [En a nations siage.

12) We just need to keen tne

a:
You can cal them (70) | |

eRevew teling the wor

pelongs toa hate gown,

  

   

a

         

S Employes

yee

Targeted Over Reported Ties

o Haté Group

 

JOBEL BARBOSA
125. Barbosa repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs 1 through 124 with the same force and effect as if set forth in detail herein again.
126. Exoo conspired with Torch Antifa to dox Barbosa’s identity and employer’s

information on June 22, 2019, which dox was promoted by comedienne Kathy Griffin.

 

AntiFash Gordon

Geant PaahGercan

 

1/ This is Jobel Barbosa.

He's a member of the Proud Boys, an <
Gesignated hate group.

 

He's also mechanic 2 ia PD Ac ee

in Wilew Grove, PA. etch zoe y minded good people!
Looks like these here nazis are planning

You can call them at QE o Jet them know on harassing you at various

that their employee belongs to a violent hate group. events across the US of A. They done
sg, messed with the WRONG bunch. Gays,
let‘s make thern online famou 7?

   

 

; AntiFash Gordon @,
1/ This is Jobel Barbosa.

He's a member of the Proud Boys, an
@splcenter-designated hate group.

He's also mechanic at Jaguar Land
Rover Willow Grove in Willow Grove,
an

You can call them at 215-443-5900
to let them know that their employee
belongs to a violent hate group.

42
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 255 of 275 PagelD: 2669
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 43 of 63 PagelD: 2212

127. Barbosa is an olive-skinned Puerto Rican, who was immediately called into a
meeting with a company executive and a human resource’s representative and interrogated about
being a white supremacist.

128. Exoo and associates did not know Barbosa was terminated on June 27, 2019, so

they reposted his information on July 1, 2019, with his employer’s corporate office contacts.

No Justice, No Peace

      

| !
employee Jobel Barbosa is a member of the Proud Bays, ¢ violent hate

aichers, thal numnan | |

 

  

 

129. As is the custom, associates Tweeted confirmation of contacts with Barbosa’s

employer to Exoo.

  

Jastcaled (9/19 12:30 pm ET} are they said he ne longs: wor thee,

ed a

 

 

  
  

 

a kd Bo ok ul
wy They told me the same thing a few ninutes aga. They de to
“the word, Asparentiy thelr phone nas beer ringing off the hook &

130. Associates’ confirmation to Exoo included implied violence against Barbosa.

43
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 256 of 275 PagelD: 2670
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 44 of 63 PagelD: 2213

 

Twit!

 
  

live within three hours of Willow Grove. Consider this ass on b--blast |
Every one | kn now thin ks these jerks deserve whataver thay get. ( nit
condoning or urging Volgnce in any way |

 

131. | Barbosa’s home address and cell phone numbers for him and his wife were
posted to phonezapp.noblog.org (no longer available) and Barbosa’s wife received threatening
calls on her personal cell phone.

SEAN-MICHAEL DAVID SCOTT
132. Scott repeats and realleges the facts pertinent to all plaintiffs as alleged above in

paragraphs | through 131 with the same force and effect as if set forth in detail herein again.

      

De. AntiFash Gordon @ 3 sf eee
Say helio to Sean Michael David Scott, a raging entisemite and member of

   

the Proud Boys.

for an upcoming caii to action te hold Scott

  

2 Ls CO 48 *
© WANaziWatch @WANaziWatch - Sep 16, 2019 QO 2 los OO aa a
NEW! This article expases Sean-Michael David Scott as a dangerous . . .
anti-Semite. In addition to organizing with the Proud Boys, Seanis hulk hogan ro din - Sep 19, 2019
frequent contributes to some of the darkest Nazi chat groups on Replying to <
Telegram. pugetsoundanarchists.ore/community-ater... Hey hey hey

  

American Leak Detection of Western
Washington

Thank you for sharing your
concerns. Effective Tuesday
(9/17/19), Sean-Michael David
Scott is no longer one of our
employees. We apologize for the
delay in making a public
notification.

 

D2 ts 0

WANaziWatch 2\ANaziWvatch - Sep 19, 2019
Thanks. Been waiting for something official.

fo

 

44
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 257 of 275 PagelD: 2671
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 45 of 63 PagelD: 2214

134. On the same day as the dox was published, Torch Antifa posted flyers near
Scott’s home and caused property damage and painted it with graffiti. As a result of the property
damage, Scott’s property manager forced him to break his lease and immediately vacate in order
to avoid further property damage that was threatened by Torch Antifa dogpilers.

WANaziWatch @

   

Match - Sep

Last night, neighbors af Sean-Michael David Scott were made aware of
his presence, Read all about this Ballard resident here:

 

     
 

rion - Sep 16, 26
Proud Boy and antis Sean-Michael David Scott works for American
Leak Detection in Seattle, WA.

 

The national number is
thelr ernplovee’s hate 2

 

@® WANaziWatch GiWwaANaziwa
Sean-Michae! David Scott works for American Leak Detection, Piz cali

135. Exoo and Torch Antifa caused Scott’s termination from a second employer.

WANaziWatch
GOA Masiatan

We have received word that Seattle Proud Boy Sean-
Michael David Scott is no longer employed by Gu-Wi
Gutters and Windows. Bravo to them for doing the right
thing.

Gu-Wi Gutters & Windows GCawvitiutters + Oot 4, SOR
ing fo GAARA ZNatoh

 
 

Sean-Michae! David Scott is no longer employed by or affiliated with Gu-Wi
Gutters & Windows. Gu-Wi has always promoted inctusivity and we value the
diversity of our employees, customers and community. in every way we seek 10
promote these vaiues in our business and operations.

ST PRA - Cook 4. BO? - Teyither for iP beans

BS Retreats 10 Guote Tweets 520 tikes

 

Oo ta ~o ts

 

Tweet your reply

WANaziWatch
Ropiying to 4

Any info on Sean or neo-Nazis in the PNV¥ can be sent to
WaNaziWatch@nrotonmail.com,.

 

 

45
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 258 of 275 PagelD: 2672
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 46 of 63 PagelD: 2215

136. Onor before April 15, 2020, Torch Antifa identified Scott’s car and his tires were

slashed, and although not seen in photo below, his passenger windows were broken. Torch

Antifa mocked Scott’s damaged car as seen in photos below.

 

WANaziWatch aw: Watch - Apr 1G, 2090
ICs areal shame what happened to Sean-Michae! David Scott’s car.

CascadianGroyperRadar
WAFrogHunt

   

 

  

What did you say ¢

Couldn't hear you from the tire shop Fuh wonder if the Proud Boy/Aryan Nations

graffiti in Ballard slows down for a bit?

 

WANaziWatch @V/ANaziVaich

_ t's areal shame what happened to Sean-Michael David Scott's car.
pugetsoundanarchists.org/community-aler...

& te 4
Show ins nreac

 

 

JOHN HUGO

137. Hugo repeats and realleges the facts pertinent to all plaintiffs as alleged above in

paragraphs | through 136 with the same force and effect as if set forth in detail herein again.

138. Hugo was doxed by Exoo on January 2, 2020, and Exoo has admitted he threatens

Boston area “fash” like Hugo.

  

1¢ This is John Fuge, former GOP Congressional

i . i . Lol. Don’t tell anyone, but I'm actually in upstate New York. lol.
candidate and arganizer of the Goston Straight Pride

Parada, an crereant with hate prec§dp tian.

of SGomerviltar, WA,

You can email
omar

How | got involved in Boston organizing 1s kind of a long story--
M[tell you over a beer sometime-- but basically | live in a rural
area and just likec the people in Boston.

yahoo.com to

 

& Your CONGcerns.

| started this account a few manths ago because we were
helping Providence organize for 10/6 and needed somewhere to
put qué doxxes and generally threaten fash, fol, (| normally pass

dossiers to jaurnalists, but all our national-level contacts were
busy.)

  

van

46
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 259 of 275 PagelD: 2673
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 47 of 63 PagelD: 2216

139. A second dox occurred in February 2020 that led to Hugo being terminated in

March 2020.

Stik mek (hc rdeary
PORE cede beware,
as

UPDATE: The:
mMianagers Cirect Ne iS _—___

Cad thers and tell them that an anti-cBTOis hate
group feader hovirgg access to their customers’ phone
mumbers and hame acidresses is a lability for which
they are legally resprarrsiiles.

 

140. Hugo continues to receive harassing phone calls from enterprise associates on a
. . 20
near daily basis.

SUPPLEMENTAL PLEADING TO ADD PLAINTIFF THOMAS LOUDEN WHO WAS
INJURED BY THE ENTERPRISE AFTER THE COMPLAINT WAS FILED

141. Louden repeats and realleges the facts pertinent to all plaintiffs as alleged above
in paragraphs | through 140 with the same force and effect as if set forth in detail herein again.

142. The original Complaint in this action was filed on September 21, 2020, and
Louden was injured after the Complaint was filed in the same series of occurrences or
transactions.

143. Louden was employed as the Director of Managed Care at Thomas Jefferson

University Hospital in Philadelphia.

 

20 Voicemail recordings are provided on thumb drive that was submitted to the Court and defendants.

47
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 260 of 275 PagelD: 2674
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 48 of 63 PagelD: 2217

144. During a global health emergency and pandemic Exoo doxed and dogpiled
Louden’s hospital employer on November 2, 2020, because of the employer’s decision
concerning an illegal alien’s immigration status.

AntiFash Gordon 2AntiFashGordon - No. O20

24/ Maybe | shouldn't be surprised that € sspital has the leader of a
far-right militia working as their Director of Managed Care, given that they
tried to deport one of their own patients, as @a © reported in June.

 
    
 
 

   

 

© Aura Bogado & @aurabogado - jun 23, 2020

On May 11, Claudia got a call. Her uncle was involved in an accident:
could she come identify him? Yes, it was him, He sustained brain injury
and will not walk again. When asked, Claudia disclosed her uncle is
undocumented. Now, @TJUHospital wants to depart him to Guatemala.

 

 

145. Louden does not have a Twitter account was unaware of Exoo’s dox until he was
called to a Zoom meeting with his employer’s Vice-President and a human resources
representative on November 2, 2020. Louden was quizzed about his membership in a right-wing
extremist group. Louden is a 30-year volunteer firefighter and the appointed Deputy Emergency
Management Coordinator for Hilltown Township, Pa.

146. On November 3, 2020, Louden learned that Exoo posted photos of his home.

147. On November 10, 2020, Exoo re-posted Louden’s personal information with
explicit directions, including photographs of his home and local street signs, the name of the city,
and longitude and latitude coordinates.

AntiFesh Gordan & >No
15/ Hacker voices: Computer, enhance.

    

ae. AntiFash Gordon @AntiFashGordon - Nov 2, 2020

M 13/ A quick Google search of “fireeagie” and “Pennsylvania” brought me to
a Corvette stingray forum, where a user with that screen name (who also
claimed to be a volunteer firefighter) posted a picture with a house number
visibie, but no town.

    
 

sisn fora cross atieat. The top sign is legible, but the bottom
oe ”

  

48
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 261 of 275 PagelD: 2675
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 49 of 63 PagelD: 2218

CLAIMS FOR RELIEF
COUNTI

Violation of New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 to — 49
(as to D’Ambly against Tribune Publishing Company and the New York Daily News)

148. D’Ambly realleges and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 147 with the same force and effect as if set forth in
detail herein again.

149. Defendants Tribune and Daily News are employers as defined in N.J.S.A. 10:5-5.

150. D’Ambly is older than forty years (40) old and was an employee as defined in
N.J.S.A. 10:5-5.

151. Defendants Tribune and Daily News discharged D’Ambly due to their enmity
towards D’Ambly’s racially identifiable associations, whereas, non-white Tribune and Daily
News employees who participate in racially identifiable associations, are not punished, or
terminated, violated N.J.S.A. 10:5-12.

152. Defendants Tribune and Daily News undertook several pre-textual steps to mask
D’Ambly’s discriminatory termination:

a. Tribune hired a private investigation firm to invade D’ Ambly’s privacy in an
unsuccessful effort to catch D’ Ambly engaged in unlawful activity.

b. Inthe morning of January 11, 2019, the Daily News received death threats
intended to extort D’Ambly’s termination that they did not immediately disclose,
because they intended to use the threats pre-textually as the “cause” of D’ Ambly’s
termination.

c. In the afternoon of January 11, 2019, the Daily News issued D’Ambly a “Last and

Final Warning,” that warned D’Ambly he would be immediately terminated if it

49
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 262 of 275 PagelD: 2676
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 50 of 63 PagelD: 2219

were discovered he brought his political activities into the workplace, but they did
not inform or warn D’Ambly of the death threats earlier received.

d. D’Ambly was informed he was terminated on January 16, 2019.

e. Subsequently, D’Ambly received a “Termination of Employment” letter dated
January 22, 2019, whereby, the Daily News falsely stated they discovered the
death threats on January 14, 2019, contrary to indisputable evidence they received
the death threats on January 11, 2019, which meant he “brought his activities into
the workplace” after he was warned. Daily News cited this fabrication as the
“cause” of D’Ambly’s termination.

153. Asa direct and proximate result of defendants Tribune Publishing Company and
the New York Daily News racially discriminatory termination, D’Ambly has suffered adverse
consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,
equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an
amount to be determined at trial, but which is in excess of $75,000.00.

COUNT II

Tortious Interference with Prospective Economic Benefit
(as to all Plaintiffs except K.R. against defendant Christian Exoo a/k/a “AntiFashGordon”)

154. Plaintiffs reallege and incorporate herein by reference each and every one of the
allegations contained in paragraphs | through 153 with the same force and effect as if set forth in
detail herein again.

155. Plaintiffs were rightfully entitled to pursue lawful employment.

156. Plaintiffs reasonably expected their employment to continue into the future and to

benefit economically from his employment.

50
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 263 of 275 PagelD: 2677
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 51 of 63 PagelD: 2220

157. Defendant Exoo knew Plaintiffs were employed and intentionally interfered with
their prospective economic benefits to be gained from continued employment.

158. Defendant Exoo intentionally and unjustifiably interfered with Plaintiffs rights to
pursue lawful business.

159. Defendant Exoo’s interference caused Plaintiffs’ employers to terminate their
employment.

160. Plaintiffs have suffered and will continue to suffer irreparable harm in the form of
damage to his reputation, loss of income and financial hardship as a result of Exoo’s
interference.

161. Asadirect and proximate result of defendant Exoo’s interference with Plaintiffs
prospective economic benefits, Plaintiffs have suffered adverse consequences and continue to be
damaged. Plaintiffs are entitled to compensatory damages, equitable and declaratory relief,
punitive damages, costs, and reasonable attorneys’ fees in an amount to be determined at trial,
but which is in excess of $75,000.00.

COUNT
Employer’s Breach of its Duty to Warn
(as to D’Ambly against defendants Tribune Publishing Company and the New York Daily
News)

162. D’Ambly realleges and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 161 with the same force and effect as if set forth in
detail herein again.

163. Defendants Tribune and Daily News received a stream of death threats directed at

D’Ambly over a two and one-half month period, but they never warned D’Ambly.

51
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 264 of 275 PagelD: 2678
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 52 of 63 PagelD: 2221

164. Defendants Tribune and Daily News never warned D’Ambly to take
precautionary measures as he entered or exited the workplace.

165. Defendants Tribune and Daily News did not take steps to increase the safety of
D’Ambly and other employees as they entered and exited the workplace.

166. Defendants Tribune and Daily News did not secure the workplace in order to
protect D’Ambly and others.

167. As he was not aware of the threats, D’Ambly could not take steps to protect
himself and his property and as a result his property was damaged on January 11, 2019.

168. Defendants Tribune and Daily News had a duty to warn their employee he was
the direct target of the death threats they received.

169. As adirect and proximate result of defendants Tribune and Daily News’ failure to
warn D’Ambly has suffered adverse consequences and continues to be damaged. D’ Ambly is
entitled to compensatory damages, equitable and declaratory relief, punitive damages, costs, and
reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of
$75,000.00.

COUNT IV
Violations of 18 U.S.C. §§ 1962(c) — Racketeering
Multiple violations of RICO predicates 18 U.S.C. §§ 1951 and 1952
(as to all Plaintiffs against defendants Christian Exoo a/k/a “AntiFashGordon,” St.
Lawrence University, Vijaya Gadde, and Twitter, Inc., the “Exoo Enterprise”)
170. Plaintiffs reallege and incorporates herein by reference each and every one of the

allegations contained in paragraphs | through 169 with the same force and effect as if set forth in

detail herein again.

52
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 265 of 275 PagelD: 2679
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 53 of 63 PagelD: 2222

171. Each of the individuals and entities is a “person” within the meaning of 18 U.S.C.
§ 1961(3) who conducted the affairs of the enterprise, through a pattern of racketeering activity
in violation of 18 U.S.C. § 1962(c).

172. Defendant Christian Exoo leads and conspires with associates, including
Defendant Torch Antifa Network in an enterprise as defined by 18 U.S.C. 1961(4).

173. At all times relevant, Gadde was the only Twitter employee authorized to
permanently ban Twitter users.?!

174. Upon information and belief, Exoo’s activities are well known to his employer St.
Lawrence University, who have not taken steps to prevent their employee from harming others

from his place of employment, because their share his goals.

beeauseo theres our student and facut bing tothe tbl, White

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an seeks to ceatea concent of Ametica that isbuilt on white supremacy and the ds mantin
hstor—whte atonal, The Southern Povey Law Center, New YorkSateand ms
ofthe work of sociale an quay ha hve een the l-nak of this couty or

telat ot yeas. New stand up forthe its fou student faulty and staf

175. Exoo uses his employment and lecturing at St. Lawrence to recruit.

 

21 Meet Vijaya Gadde, an Indian-born Twitter head who decides on blocking tweets, users, The
Economic Times, (Jan. 16, 2020) https://economictimes.indiatimes.com/tech/internet/meet-
vijaya-gadde-an-indian-born-twitter-head-who-decides-on-blocking-
tweets/articleshow/73281445.cms, (last accessed September 12, 2020). See also, Twitter’s Top
Lawyer Is Final Word On Blocking Tweets — Even Donald Trump’s, Bloomberg.com,(Jan. 15,
2020) https:/Awww.bloomberg.com/news/articles/2020-0 1-1 S/witter-s-gadde-is-final-word-on-
blocking-tweets-even-trump-s, last accessed September 12, 2020; Meet Twitter’s top lawyer,
who has the final word on blocking tweets — including Donald Trump’s, Fortune.com, (Jan. 15,
2020) https://fortune.com/2020/0 1/1 5/twitter-top-lawyer-vijaya-gadde-blocks-tweets-donald-
trump/, (last accessed September 12, 2020).

 

53
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 266 of 275 PagelD: 2680
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 54 of 63 PagelD: 2223

Follow i ow

  
   

& AntiFash Gordon
£ AntiPash Gorde

tianExoo on using open-source

“_ “— ™ intelligence (OSINT) to inestigate people and
| teach free OSINT workshops for vetted groups if you events! veNews id
and your AG are ever down for it. :} ;

  

 

 

176. Exoo is and was well known to Gadde and Twitter as a ban evader before and

during the time of Plaintiffs’ dox.

e Profile < Profile

@ChrisExoo @ChristianExoo

Account suspended

Account suspended
Te RUSDENS ACCOUNTS whish violate the Toittes i ABUTS while! violate the Tetiier

   

177. Upon information and belief Gadde and Twitter Support have received complaints

regarding @AntiFashGordon’s doxing and social coordination, examples below.

An update on your report

An update on your report

Thanks again for letting us know. Our
investigation found this account violated the

Thanks again for letting us know. Our
investigation found this account

 

 

violated the

AntiFash Gordon

MAntiFasnGordor

   

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Violating our rules against

  

P

We appreciate your help in improving
everyone's experience on Twitter. You

can learn more about reporting
abusive behavior |

 

 

 
 

An Fash Gordon
Oo: dc

uFashGorden

 

We appreciate your help in improving
everyone's experience on Twitter. You
more about reporting abusive behavio

 

An update on your report

Thanks again for letting us know. Our
ir tigation found this account violated the

  

 
  

AntiFash Gordon
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We appreciate your help in improving
everyone's experience on Twitter. You can learn
more about reporting abusive behavior here.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 267 of 275 PagelD: 2681
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 55 of 63 PagelD: 2224

178. In or about September 2019, Exoo was suspended for posting confidential

information of others, otherwise known as doxing, but reinstated weeks later.

An update on your report

Thanks again for letting us know. Our
investigation found this account
violated the 7 31

 

AntiFash Gordon

MAntiFashGordon

 

 

Violating our rules against

 

We appreciate your help in improving
everyone's experience on Twitter. You
can learn more about reporting
abusive behavior sere

 

 

fej September 23, 2019
Monday 4:58 AM

rashGerdars

o

  

AntiFash Gordon

{'m back, baby.
And I've got some big stuff to drop starting Monday.

Let’s do this.

  
 
 

96, 2G19 - Tediler Web Client

AntiFash Gordon @AntiFashGordon - Oct 25, 2019

 

ohn }

Thanks to everyone who reached out while | was suspended.
I'm really lucky to have so many people who care about me.

| have a million DMs to catch up on, so | beg your patience while | slowly
work my way through them, @&

179. Twitter has complete control over who is allowed an account, and as a

permanently banned user Exoo could not possess an account without Twitter’s consent or

agreement when he was allowed to change his ban evasion account username from @DoxSavage

to @AntiFashGordon.”

AntiFash Gordon
@AntifashGordon

Hey folks-- | just underwent a name change from
@DoxSavage to @AntiFashGordon.

lll be back tomorrow to expose more violent fascists
who were on the ground in Providence on 10/6.

7:47 PM. Oct 11, 2018 - Twitter Web Cent

180. Exoo is connected to Twitter through his association with the account holder of

@emilygorcenski, who has leveraged a connection to Jack Dorsey to have accounts that use

“deadnames” banned, as seen in the image below.

 

22 Video recording of Twitter executives confirming permanent Twitter bans are lifetime bans submitted to the Court

on a thumb drive.
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 268 of 275 PagelD: 2682
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 56 of 63 PagelD: 2225

Emily G @ @e 8 28 g ~
» Don't believe as hg about Twit
because they are full of shit.

   
     

“s ostensible new abuse policies

Like, the reported tweet contains an image that shaws my real name. They don't
even have ta co werk to see that this is Ceadnaming.

received.
fret: OODAGKGAS, SOO4A1Xvq3&8:re
"

Hes.

Thank you for your mcent report. Vee
apart caretuby
and fund that there was a0
violation of the Tye ules Squarest
abusive behavior fvtices!

 
 

 

(i ™,
{Fellow } «x
Nccnmeeneneenanmnanseenenneerennmecrt

  

Oh look I only had to slide into jack’s
dms to get it fixed

181. Gadde and Twitter have classified alleged white supremacists as a greater threat
than drug cartels or Islamic terrorists, and Exoo and associates doxing benefits her publicly
stated opposition to white supremacists, which she is “very, very focused on that...the KKK, the
American Nazi Party,” because that “was what my parents had to deal with” where she grew up
on the Texas-Louisiana border.”?

182. Exoo and associates conduct activities that affects interstate commerce by
threatening violence to persons and property and causing actual violence to persons and property.

183. Defendants directed and participated in patterns of racketeering activity, including

multiple acts indictable under 18 U.S.C. §§ 1951 (Interference with commerce by threats or

violence) and 1952 (use of interstate facilities to conduct unlawful activity), including using

 

3 Twitter ’s Kayvon Beykpour and Vijaya Gadde: the Code Conference interview (transcript),
Vox.com (June 27, 2019) https://www.vox.com/recode/2019/6/27/18760444/twitter-kayvon-
beykpour-vijave-gadde-kara-swisher-peter-kafka-code-conference-interview-transcript, last
accessed September 12, 2020.

56
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 269 of 275 PagelD: 2683
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 57 of 63 PagelD: 2226

interstate communications to order violent acts against all plaintiffs, specifically, D’Ambly,
Rehl, Wolkind, and Scott.

184. The conduct of the Exoo and associates described above constitutes “racketeering
activity” within the meaning of 18 U.S.C. § 1961(1). Defendants’ decisions and activity
routinely conduct its transactions in such a manner constitutes “patterns of racketeering activity”
within the meaning of 18 U.S.C. § 1961(5).

185. By virtue of these violations of 18 U.S.C. § 1962(c), Defendants are liable to
Plaintiffs for three times the damages sustained, plus the costs of this suit, including reasonable
attorneys’ fees.

186. Asadirect and proximate result of Defendants patterns of racketeering activity
Plaintiffs have suffered adverse consequences and continue to suffer adverse consequences in an
amount to be determined at trial, but which is in excess of $75,000.00. Plaintiffs are entitled to
compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable
attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

COUNT V
Violation of 18 U.S.C. § 1962(d) (Conspiracy)
(as to all Plaintiffs against defendants Christian Exoo a/k/a “AntiFashGordon,” St.
Lawrence University, Vijaya Gadde, and Twitter, Inc., the “Exoo Enterprise”)

187. Plaintiffs reallege and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 186 with the same force and effect as if set forth in
detail herein again.

188. Section 1962(d) of RICO provides “shall be unlawful for any person to conspire

to violate any provisions of subsection (a), (b), or (c) of this section.”

57
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 270 of 275 PagelD: 2684
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 58 of 63 PagelD: 2227

189. Defendants have violated 18 U.S.C. § 1962(d) by conspiring to associate and
participate in the Exoo Enterprise’s patterns of racketeering activities as defined in 18 U.S.C.
1962(c).

190. Defendants’ have engaged in overt and predicate racketeering acts in furtherance
of the conspiracy, including using interstate communications to threaten, intimidate and commit
violent acts against their targets.

191. The nature of the above-described acts of Defendants in furtherance of the
conspiracy gives rise to an inference that they not only agreed to the objective of an 18 U.S.C.
1962(d) violation, but they were aware that their ongoing acts have been, and are part of an
overall pattern through related and continuous acts.

192. Defendants sought to and have engaged in the commission of, and continue to
commit overt acts, including the following unlawful racketeering predicate acts:

a. Multiple instances of interference with commerce by threats of violence in
violation of 18 U.S.C. § 1951; and

b. Multiple instances of use of interstate facilities to conduct unlawful activity
violations of 18 U.S.C. § 1952.

193. Asa direct and proximate result of Defendants’ multiple overt acts and predicate
acts in furtherance of an enterprise in violation of 18 U.S.C. § 1962(d), by conspiring to violate
18 U.S.C. 1962(c), D’Ambly has been and continues to be injured by Defendants’ conduct.

194. By virtue of these violations of 18 U.S.C. § 1962(d), Defendants are liable to
D’Ambly for three times the damages sustained, plus the costs of this suit, including reasonable

attorneys’ fees.

58
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 271 of 275 PagelD: 2685
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 59 of 63 PagelD: 2228

195. As adirect and proximate result of Defendants patterns of racketeering activity
Plaintiffs have suffered adverse consequences and continue to suffer adverse consequences in an
amount to be determined at trial, but which is in excess of $75,000.00. Plaintiffs are entitled to
compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable
attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

COUNT VI
Legal Malpractice

(as to D’Ambly against defendant Cohen, Weiss, and Simon, L.L.P.)

196. D’Ambly repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 195 with the same force and effect as if set forth in
detail herein again.

197. Asaresult of their personal revulsion of D’Ambly and his political beliefs CWS
failed to adequately represent and protect D’ Ambly’s rights.

198. Defendant CWS neglected to perform necessary case research, legal research, and
investigation of the accusations against D’Ambly.

199. Asaresult of CWS’s inadequate legal research and investigation they failed to
protect D’Ambly from the extortionate and criminal conduct of others.

200. Asaresult of CWS’s failure to adequately investigate D’ Ambly’s doxing they
failed to learn that @AntiFashGordon publicly announced D’Ambly’s termination on January
13, 2019, which occurred five days before his official termination date, and one day before the
purported “cause” of his termination was discovered.

201. CWS failed to challenge Brill’s blatant misrepresentations regarding the timing of

the alleged ‘cause’ of D’Ambly’s termination.

59
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 272 of 275 PagelD: 2686
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 60 of 63 PagelD: 2229

202. CWS’s revulsion of D’Ambly and his political beliefs caused them to ignore an
obvious racially discriminatory pre-textual termination spotlighted by the private investigation,
last and final warning, and falsely claimed cause of D’Ambly’s termination.

203. Asa direct and proximate result of CWS’s legal malpractice that flowed from
their firmwide enmity of D’Ambly’s political beliefs D’ Ambly has suffered adverse
consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,
equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an
amount to be determined at trial, but which is in excess of $75,000.00.

COUNT VII

Deprivation of Rights under Section 610 of the Labor-Management Relationship
Disclosure Act (LMRDA), 18 U.S.C. § 530

(as to D’ Ambly against defendants Christian Exoo a/k/a “AntiFashGordon,” St. Lawrence
University, Vijaya Gadde, Twitter, Inc., “Exoo Enterprise”)

204. D’Ambly repeats and incorporates herein by reference each and every one of the
allegations contained in paragraphs | through 203 with the same force and effect as if set forth in
detail herein.

205. Under Section 610 of the Labor-Management Relationship Disclosure Act
(“EMRDA”), 18 U.S.C. $530:

It shall be unlawful for any person through the use of force or violence, or threat

of the use of force or violence, to restrain, coerce, or intimidate, or attempt to

restrain, coerce, or intimidate any member of a labor organization for the purpose

of interfering with or preventing the exercise of any right to which he is entitled

under the provisions of this Act [LMRDA].

206. Asa result of the acts described herein, D’Ambly was forced into early

unexpected retirement. He was a printing press platemaker, and his union does not have a Union

60
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 273 of 275 PagelD: 2687
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 61 of 63 PagelD: 2230

Hall where he can go shape to obtain new union printing jobs, moreover, his trade has been

significantly depressed by technology.

207. D’Ambly’s job has deprived him of his intangible property rights as a union

member, and the economic benefits that flow therefrom, for the reason that his job loss has had

the impact of an expulsion from the Teamsters.

208. On or about October 29, 2018, Exoo and associates dogpiled Daily News and the

Teamsters intending to prevent D’Ambly from exercising his rights provided by the LMRDA.

 

, AntiFash Gordon :

    
 
 

 

Hey, @7) ‘s can you haul this white
supremacist's ass to the garbage?

Hate has no place in our unions.

@

Hey @7
D'Ambly??

Hub City Antita

 
  
 
 

  

    

MASTS

rs what are you doing about Dan

OD antiFash Gordon @AniFashCueion - Oct 24. 2G
2.) As of 2016, Dan was also the chairman of the Referendum Board for the
Amaigamated Lithographers Local One.

You can contact them here to fet them know that Dan runs a white nationalist
litho.org/?q=contact

   
 
 

 

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Line of the GOCABT,
PRESIDENT Fc! ¥
EXECUTIVE VIGE PRESIGENT-
LOCAL ONE COUNCIL BOARD
Pre-Prowa~ Edward Aronaky/Abon Bonnett

    

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Raph Bronees — domaph #4

 

 

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209. Exoo and associates, such as those who caused property damage at D’Ambly’s

home, intentionally intimidated others with threats, such the phrase any “blood spilled” to

deprive D’Ambly his union member rights.

61
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 274 of 275 PagelD: 2688
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 62 of 63 PagelD: 2231

 

 

Thi fucking bullshit that scab neecis to ga ! it flys in
the face of Teamster anti racist history.

Mi; g@EMEMGBER 193q. “Gry

 

  

  

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210. On January 13, 2019, when Exoo announced D’Ambly’s termination the
Teamsters were the only party capable of telling Exoo that D’Ambly was terminated, because the
Daily News did not learn of the cause of D’Ambly’s termination until January 14, 2019.

211. Asa direct and proximate result of Exoo and associates’ dogpiling that threatened
violence, use of force, and “any blood spilled” D’ Ambly has been deprived of his intangible
property rights provided to him under the LMRDA. D’Ambly has suffered adverse
consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,
equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an
amount to be determined at trial, but which is in excess of $75,000.00.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray for relief as follows:
1, Demands judgment against Defendants, jointly and severally, in an amount to be

determined at trial plus interest, including, but not limited to, all emotional distress, back pay,

62
Case 2:20-cv-12880-JMV-JSA Document 106 Filed 12/06/21 Page 275 of 275 PagelD: 2689
Case 2:20-cv-12880-JMV-JSA Document 103 Filed 11/30/21 Page 63 of 63 PagelD: 2232

punitive damages, liquidated damages, statutory damages, attorneys’ fees, costs, and
disbursements, and for such relief as the Court deems just and proper.

2. On Plaintiffs’ RICO claims: compensatory damages and enhancement of damages
Plaintiffs have sustained as a result of Defendants’ conduct as may be permitted under the
relevant statutes, such amount to be determined at trial, plus Plaintiffs costs in this suit, including
reasonable attorneys’ fees.

3. On Plaintiffs’ tortious interference, intrusion upon seclusion, stalking and
harassment claims: compensatory and punitive damages in an amount to be determined at trial.

4, On D’Ambly’s State claims against the Tribune and Daily News: compensatory
damages and enhancement of damages he sustained as a result of the Tribune and Daily News’
conduct as may be permitted under the relevant statutes, such amount to be determined at trial,
plus Plaintiffs costs in this suit, including reasonable attorneys’ fees.

5. On D’Ambly’s legal malpractice claim: compensatory damages to be determined
at trial.

JURY DEMAND

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand trial by
jury on all issues so triable.

Respectfully Submitted,

LAW OFFICE OF PATRICK TRAINOR
Attorney for Plaintiffs

 

 

Dated: November 30, 2021 Patrick Trainor
19 Union Avenue, Suite 201
Rutherford, New Jersey 07070
(201) 777-3327

pt@ptesq.com

63
